Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34   Desc:
               Exhibit A - Schedule of Claims - English Page 1 of 99



                                 EXHIBIT A
                                     Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                    Exhibit A - Schedule of Claims - English Page 2 of 99

                                                                            Thirty-First Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
1 ABREU RIVERA, DIANA           04/20/18   Employees Retirement            7927                $ 71,022.34* ABREU RIVERA, DIANA    04/20/18   Employees Retirement           8753           $ 71,022.34
  URB JADINES DE                           System of the Government of                                      M                                 System of the Government of
  NARANJITO                                the Commonwealth of Puerto                                       154 CALLE TRINITARIA              the Commonwealth of Puerto
  NUM 82 CALLE                             Rico                                                             NARANJITO, PR 00719               Rico
  BEGONIA                                  17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  NARANJITO, PR 00719
  7637

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
2 ABREU RIVERA, DIANA           04/20/18   Employees Retirement            8687                 $ 71,022.34 ABREU RIVERA, DIANA    04/20/18   Employees Retirement           8753           $ 71,022.34
  URB JARDINES DE                          System of the Government of                                      M                                 System of the Government of
  NARANJITO                                the Commonwealth of Puerto                                       154 CALLE TRINITARIA              the Commonwealth of Puerto
  NUM 154 CALLE                            Rico                                                             NARANJITO, PR 00719               Rico
  TRINITARIA                               17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  NARANJITO, PR 00719

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
3 ABREU RIVERA, DIANA           04/20/18   Employees Retirement            7873                $ 71,022.34* ABREU RIVERA, DIANA    04/20/18   Employees Retirement           8753           $ 71,022.34
  M                                        System of the Government of                                      M                                 System of the Government of
  JARDINES DE                              the Commonwealth of Puerto                                       154 CALLE TRINITARIA              the Commonwealth of Puerto
  NARANJITO                                Rico                                                             NARANJITO, PR 00719               Rico
  154 CALLE TRINITARIA                     17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  NARANJITO, PR 00719

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
4 ABREU RIVERA, DIANA           04/20/18   Employees Retirement            7815                 $ 71,022.34 ABREU RIVERA, DIANA    04/20/18   Employees Retirement           8753           $ 71,022.34
  M                                        System of the Government of                                      M                                 System of the Government of
  URB. JARDINES DE                         the Commonwealth of Puerto                                       154 CALLE TRINITARIA              the Commonwealth of Puerto
  NARANJITO                                Rico                                                             NARANJITO, PR 00719               Rico
  #82 CALLE BEGONIA                        17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  NARANJITO, PR 00719

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
5 ABREU RIVERA, DIANA           04/20/18   Employees Retirement            7857                $ 71,022.34* ABREU RIVERA, DIANA    04/20/18   Employees Retirement           8767           $ 71,022.34
  M                                        System of the Government of                                      M                                 System of the Government of
  JARDINES DE                              the Commonwealth of Puerto                                       JARDINES DE                       the Commonwealth of Puerto
  NARANJITO                                Rico                                                             NARANJITO                         Rico
  154 CALLE TRINITARIA                     17 BK 03566-LTS                                                  154 CALLE TRINITARIA              17 BK 03566-LTS
  NARANJITO, PR 00719                                                                                       NARANJITO, PR 00719

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



            * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 1 of 98
                                     Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                    Exhibit A - Schedule of Claims - English Page 3 of 99

                                                                            Thirty-First Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
6 ABREU RIVERA, DIANA           04/20/18   Employees Retirement            7952                $ 71,022.34* ABREU RIVERA, DIANA    04/20/18   Employees Retirement           8753           $ 71,022.34
  M                                        System of the Government of                                      M                                 System of the Government of
  URB JARDINES DE                          the Commonwealth of Puerto                                       154 CALLE TRINITARIA              the Commonwealth of Puerto
  NARANJITO                                Rico                                                             NARANJITO, PR 00719               Rico
  #82 CALLE BEGONIA                        17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  NARANJITO, PR 00719

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
7 ACEVEDO PEREZ,                07/02/18   Employees Retirement           116748               $ 75,000.00* ACEVEDO PEREZ,         07/02/18   Employees Retirement           142548        $ 75,000.00*
  ABDIEL                                   System of the Government of                                      ABDIEL                            System of the Government of
  PO BOX 452                               the Commonwealth of Puerto                                       1525 CARR. 108                    the Commonwealth of Puerto
  ANASCO, PR 00610                         Rico                                                             MAYAGUEZ, PR 00682                Rico
                                           17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
8 ACEVEDO PEREZ,                07/02/18   Employees Retirement           141266               $ 75,000.00* ACEVEDO PEREZ,         07/02/18   Employees Retirement           142548        $ 75,000.00*
  ABDIEL                                   System of the Government of                                      ABDIEL                            System of the Government of
  P.O. BOX 452                             the Commonwealth of Puerto                                       1525 CARR. 108                    the Commonwealth of Puerto
  ANASCO, PR 00610                         Rico                                                             MAYAGUEZ, PR 00682                Rico
                                           17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
9 ACEVEDO RIOS, LOIDA           05/24/18   Employees Retirement           30649                 $ 1,000.00* ACEVEDO RIOS, LOIDA    05/24/18   Employees Retirement           35426          $ 1,000.00*
  357 C/ VILLA CASTIN                      System of the Government of                                      357 C/ VILLA CASTIN               System of the Government of
  SAN JUAN, PR 00924                       the Commonwealth of Puerto                                       SAN JUAN, PR 00924                the Commonwealth of Puerto
                                           Rico                                                                                               Rico
                                           17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
10 ACEVEDO RODRIGUEZ,           07/02/18   Employees Retirement           138307                $ 40,366.08 ACEVEDO RODRIGUEZ,     07/02/18   Employees Retirement           152887        $ 40,366.08*
   MOISES                                  System of the Government of                                      MOISES                            System of the Government of
   HC 69 BOX 16155                         the Commonwealth of Puerto                                       HC-69 BOX 16155                   the Commonwealth of Puerto
   BAYAMON, PR 00956                       Rico                                                             BAYAMON, PR 00956                 Rico
                                           17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 2 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                            Desc:
                                                     Exhibit A - Schedule of Claims - English Page 4 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
11 ADAMES ROMERO,                03/17/18   Employees Retirement            2936              Undetermined* ADAMES ROMERO,        03/21/18   Employees Retirement           3650         Undetermined*
   DAVID                                    System of the Government of                                     DAVID                            System of the Government of
   HC 4 BOX 44303                           the Commonwealth of Puerto                                      BO. NARANJITO,                   the Commonwealth of Puerto
   HATILLO, PR 00659                        Rico                                                            SECTOR VERDUM                    Rico
                                            17 BK 03566-LTS                                                 CARR. 130 RAMAL 491              17 BK 03566-LTS
                                                                                                            KM. 6.0 INT.
                                                                                                            HC-04 BOX 44303
                                                                                                            HATILLO, PR 00659

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
12 ADAMES ROMERO,                03/20/18   Employees Retirement            9582              Undetermined* ADAMES ROMERO,        03/21/18   Employees Retirement           3650         Undetermined*
   DAVID                                    System of the Government of                                     DAVID                            System of the Government of
   HC 4 BOX 44303                           the Commonwealth of Puerto                                      BO. NARANJITO,                   the Commonwealth of Puerto
   HATILLO, PR 00659                        Rico                                                            SECTOR VERDUM                    Rico
                                            17 BK 03566-LTS                                                 CARR. 130 RAMAL 491              17 BK 03566-LTS
                                                                                                            KM. 6.0 INT.
                                                                                                            HC-04 BOX 44303
                                                                                                            HATILLO, PR 00659

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
13 ADORNO CRUZADO,               06/05/18   Employees Retirement           46227              Undetermined* ADORNO CRUZADO,       06/11/18   Employees Retirement           78700        Undetermined*
   CARMEN R                                 System of the Government of                                     CARMEN R                         System of the Government of
   HC 33 BOX 5329                           the Commonwealth of Puerto                                      HC 33 BOX 5329                   the Commonwealth of Puerto
   DORADO, PR 00646                         Rico                                                            DORADO, PR 00646                 Rico
                                            17 BK 03566-LTS                                                                                  17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
14 ADORNO IRIZARRY,              06/05/18   Employees Retirement           32322                $ 18,167.16* ADORNO IRIZARRY,     06/29/18   Employees Retirement           75866          $ 18,167.16*
   JOSE ROBERTO                             System of the Government of                                      JOSE ROBERTO                    System of the Government of
   CALLE 49 GB-8                            the Commonwealth of Puerto                                       CALLE 49 GB-8                   the Commonwealth of Puerto
   URB SANTA JUANITA                        Rico                                                             SANTA JUANITA                   Rico
   BAYAMON, PR 00956                        17 BK 03566-LTS                                                  BAYAMON, PR 00856               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
15 ADORNO NEGRON,                06/28/18   Employees Retirement           68234              Undetermined* ADORNO NEGRON,        06/28/18   Employees Retirement           72212        Undetermined*
   MIRIAM                                   System of the Government of                                     MIRIAM                           System of the Government of
   C/AGUILA #136                            the Commonwealth of Puerto                                      CALLE AGUILA #136                the Commonwealth of Puerto
   URB. LA INMACULADA                       Rico                                                            URB. LA INMACULADA               Rico
   VEGA ALTA, PR 00692                      17 BK 03566-LTS                                                 VEGA ALTA, PR 00692              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 3 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 5 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
16 ADORNO OCASIO,                05/30/18   Employees Retirement           24669              Undetermined* ADORNO OCASIO,          05/30/18   Employees Retirement           29546        Undetermined*
   MARITZA                                  System of the Government of                                     MARITZA                            System of the Government of
   HC 01 BOX 7072                           the Commonwealth of Puerto                                      HC 1 BOX 7072                      the Commonwealth of Puerto
   GURABO, PR 00778                         Rico                                                            GURABO, PR 00778                   Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
17 ALBERTY VELEZ,                06/05/18   Employees Retirement           46182                 $ 17,472.19 ALBERTY VELEZ,         06/05/18   Employees Retirement           47963           $ 17,472.19
   VICTORIA L                               System of the Government of                                      VICTORIA L                        System of the Government of
   UNIVERSITY GARDEN                        the Commonwealth of Puerto                                       URB UNIVERSITY                    the Commonwealth of Puerto
   901 GEORGETOWN                           Rico                                                             GARDENS                           Rico
   SAN JUAN, PR 00927                       17 BK 03566-LTS                                                  901 CALLE                         17 BK 03566-LTS
                                                                                                             GEORGETOWN
                                                                                                             SAN JUAN, PR 00927

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
18 ALBINO TORRES,                06/29/18   Employees Retirement           89705                 $ 9,154.00* ALBINO TORRES,         06/29/18   Employees Retirement           94258            $ 9,154.00
   ANIBAL E                                 System of the Government of                                      ANIBAL E                          System of the Government of
   HC 02 BOX 5008                           the Commonwealth of Puerto                                       HC 02 BOX 5008                    the Commonwealth of Puerto
   GUAYANILLA, PR 00656                     Rico                                                             GUAYANILLA, PR 00656              Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
19 ALDANONDO                     06/26/18   Employees Retirement           51851                 $ 51,910.62 ALDANONDO              06/26/18   Employees Retirement           65671           $ 51,910.62
   MARCANO, YARITZA                         System of the Government of                                      MARCANO, YARITZA                  System of the Government of
   BAYAMONTE 1704                           the Commonwealth of Puerto                                       BAYAMONTE 1704                    the Commonwealth of Puerto
   BAYAMON, PR 00956                        Rico                                                             BAYAMON, PR 00956                 Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
20 ALEQUIN MALAVE,               06/05/18   Employees Retirement           37153                $ 56,153.12* ALEQUIN MALAVE,        06/05/18   Employees Retirement           48533          $ 56,153.12*
   ROSALIA                                  System of the Government of                                      ROSALIA                           System of the Government of
   PUEBLO NUEVO                             the Commonwealth of Puerto                                       PUEBLO NUEVO BOX 1                the Commonwealth of Puerto
   BUZON 1 CALLE 5                          Rico                                                             CALLE 5                           Rico
   MARICAO, PR 00606                        17 BK 03566-LTS                                                  MARICAO, PR 00606                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 4 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 6 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
21 ALEQUIN MALAVE,               06/05/18   Employees Retirement           48517                $ 56,153.12* ALEQUIN MALAVE,        06/05/18   Employees Retirement           48533         $ 56,153.12*
   ROSALIA                                  System of the Government of                                      ROSALIA                           System of the Government of
   BO PUEBLO NUEVO                          the Commonwealth of Puerto                                       PUEBLO NUEVO BOX 1                the Commonwealth of Puerto
   1 CALLE 5                                Rico                                                             CALLE 5                           Rico
   MARICAO, PR 00606                        17 BK 03566-LTS                                                  MARICAO, PR 00606                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
22 ALEQUIN MALAVE,               06/05/18   Employees Retirement           53196                $ 56,153.12* ALEQUIN MALAVE,        06/25/18   Employees Retirement           52574         $ 56,153.12*
   ROSALIA                                  System of the Government of                                      ROSALIA                           System of the Government of
   PUEBLO NUEVO                             the Commonwealth of Puerto                                       PUEBLO NUEVO                      the Commonwealth of Puerto
   BUZON 1 CALLE 5                          Rico                                                             CALLE 5 BOX 1                     Rico
   MARICAO, PR 00606                        17 BK 03566-LTS                                                  MARICAO, PR 00606                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
23 ALFARO ALAS,                  06/28/18   Employees Retirement           48206                 $ 59,932.71 ALFARO ALAS,           07/24/18   Employees Retirement           133615        $ 59,932.71*
   MARTHA C.                                System of the Government of                                      MARTHA C.                         System of the Government of
   73 C BLOQUE 115 A #17                    the Commonwealth of Puerto                                       73C BLOQUE 115 A #17              the Commonwealth of Puerto
   URB. VILLA CAROLINA                      Rico                                                             VILLA CAROLINA                    Rico
   CAROLINA, PR 00985                       17 BK 03566-LTS                                                  CAROLINA, PR 00985                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
24 ALICEA CARDONA,               03/26/18   Employees Retirement            4722                 $ 10,834.78 ALICEA CARDONA,        04/11/18   Employees Retirement           5707           $ 10,834.78
   ALEX J                                   System of the Government of                                      ALEX J                            System of the Government of
   #237 CALLE SAUCE                         the Commonwealth of Puerto                                       #237 CALLE SAUCE                  the Commonwealth of Puerto
   VALLE ARRIBA                             Rico                                                             VALLE ARRIBA                      Rico
   COAMO, PR 00769                          17 BK 03566-LTS                                                  COAMO, PR 00769                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
25 ALICEA DE JESUS ,             06/27/18   Employees Retirement           58683                 $ 40,000.00 ALICEA DE JESUS ,      06/28/18   Employees Retirement           166601         $ 40,000.00
   AUREA E.                                 System of the Government of                                      AUREA E.                          System of the Government of
   HC 1 BOX 4312                            the Commonwealth of Puerto                                       HC 1 BOX 4312                     the Commonwealth of Puerto
   ARROYO, PR 00714                         Rico                                                             ARROYO, PR 00714                  Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 5 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 7 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
26 ALICEA FLYNN, LINDA           06/06/18   Employees Retirement           76995                 $ 32,601.09 ALICEA FLYNN, LINDA   06/08/18   Employees Retirement           70991           $ 32,601.09
   ST SAN ALEJANDRO                         System of the Government of                                      STA TERESITA                     System of the Government of
   6052 URB. STA                            the Commonwealth of Puerto                                       6052 ST SAN                      the Commonwealth of Puerto
   .TERESITA                                Rico                                                             ALEJANDRO                        Rico
   PONCE, PR 00730                          17 BK 03566-LTS                                                  PONCE, PR 00731                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
27 ALICEA ROMAN, JANET           06/29/18   Employees Retirement           53282                 $ 75,000.00 ALICEA ROMAN, JANET   06/29/18   Employees Retirement           85647           $ 75,000.00
   RR 11 BOX 5559 BO.                       System of the Government of                                      RR 11 BOX 5559                   System of the Government of
   NUEVO                                    the Commonwealth of Puerto                                       BO. NUEVO                        the Commonwealth of Puerto
   BAYAMON, PR 00956                        Rico                                                             BAYAMON, PR 00956                Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
28 ALICEA ROMAN, JANET           06/28/18   Employees Retirement           65538                 $ 75,000.00 ALICEA ROMAN, JANET   06/29/18   Employees Retirement           85647           $ 75,000.00
   RR11 BOX 5559                            System of the Government of                                      RR 11 BOX 5559                   System of the Government of
   BO.NUEVO                                 the Commonwealth of Puerto                                       BO. NUEVO                        the Commonwealth of Puerto
   BAYAMON, PR 00956                        Rico                                                             BAYAMON, PR 00956                Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
29 ALLEN, ESTEBAN                03/07/18   Employees Retirement            1865              Undetermined* ALLEN, ESTEBAN         03/07/18   Employees Retirement           1873         Undetermined*
   URB LAS CUMBRE I                         System of the Government of                                     URB LA CUMBRE I                   System of the Government of
   267 SIERRA MORENA                        the Commonwealth of Puerto                                      267 SIERRA MORENA                 the Commonwealth of Puerto
   PMB 298                                  Rico                                                            PMB 298                           Rico
   SAN JUAN, PR 00926                       17 BK 03566-LTS                                                 SAN JUAN, PR 00926                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
30 ALMODOVAR                     06/29/18   Employees Retirement           79988                 $ 12,570.82 ALMODOVAR             06/29/18   Employees Retirement           133021          $ 12,570.82
   MAYSONET, SAMUEL                         System of the Government of                                      MAYSONET, SAMUEL                 System of the Government of
   HC-3 BOX 16229                           the Commonwealth of Puerto                                       HC-3 BOX 16229                   the Commonwealth of Puerto
   LAJAS, PR 00667                          Rico                                                             LAJAS, PR 00667                  Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 6 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 8 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
31 ALVARADO                      06/29/18   Employees Retirement           129881             Undetermined* ALVARADO                 06/29/18   Employees Retirement           148211       Undetermined*
   ALVARADO, REYITA                         System of the Government of                                     ALVARADO, REYITA                    System of the Government of
   G 20 URB SANTIAGO                        the Commonwealth of Puerto                                      URB SANTIAGO                        the Commonwealth of Puerto
   APOSTOL                                  Rico                                                            APOSTOL                             Rico
   SANTA ISABEL, PR 00757                   17 BK 03566-LTS                                                 G20                                 17 BK 03566-LTS
                                                                                                            SANTA ISABEL, PR 00757
                                                                                                            -0000

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
32 ALVARADO                      06/29/18   Employees Retirement           147904             Undetermined* ALVARADO                 06/29/18   Employees Retirement           148211       Undetermined*
   ALVARADO, REYITA                         System of the Government of                                     ALVARADO, REYITA                    System of the Government of
   URB SANTIAGO                             the Commonwealth of Puerto                                      URB SANTIAGO                        the Commonwealth of Puerto
   APOSTOL                                  Rico                                                            APOSTOL                             Rico
   G20                                      17 BK 03566-LTS                                                 G20                                 17 BK 03566-LTS
   SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757
   -0000                                                                                                    -0000

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
33 ALVARADO RIVERA,              05/29/18   Employees Retirement           30612                $ 168,412.00 ALVARADO RIVERA,        05/29/18   Employees Retirement           39522         $ 168,412.00*
   MARITZA                                  System of the Government of                                      MARITZA                            System of the Government of
   COND RIVER PARK                          the Commonwealth of Puerto                                       COND. RIVER PARK                   the Commonwealth of Puerto
   APT R-303                                Rico                                                             APT R-303                          Rico
   BAYAMON, PR 00961                        17 BK 03566-LTS                                                  BAYAMON, PR 00961                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
34 ALVARADO TORRES,              06/28/18   Employees Retirement           44073                $ 24,748.40* ALVARADO TORRES,        06/29/18   Employees Retirement           75082          $ 24,748.40*
   JACQUELINE                               System of the Government of                                      JACQUELINE                         System of the Government of
   P.O. BOX 1633                            the Commonwealth of Puerto                                       PO BOX 1633                        the Commonwealth of Puerto
   OROCOVIS, PR 00720                       Rico                                                             OROCOVIS, PR 00720                 Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
35 ALVAREZ MARTINEZ,             06/22/18   Employees Retirement           83417                $ 54,000.00* ALVAREZ MARTINEZ,       06/22/18   Employees Retirement           85728          $ 54,000.00*
   GLENDA I.                                System of the Government of                                      GLENDA I.                          System of the Government of
   EXT. JARDINES DE                         the Commonwealth of Puerto                                       EXT JARDINES DE                    the Commonwealth of Puerto
   COAMO                                    Rico                                                             COAMO                              Rico
   CALLE 18 # K-2                           17 BK 03566-LTS                                                  K 2 CALLE 18                       17 BK 03566-LTS
   COAMO, PR 00769                                                                                           COAMO, PR 00769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 7 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 9 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
36 ALVAREZ SANCHEZ,              06/28/18   Employees Retirement           62359                 $ 40,000.00 ALVAREZ SANCHEZ,        07/06/18   Employees Retirement           159976          $ 40,000.00
   CARMEN M.                                System of the Government of                                      CARMEN M.                          System of the Government of
   PMB 122, PO BOX 3000                     the Commonwealth of Puerto                                       PMB 122, PO BOX 3000               the Commonwealth of Puerto
   COAMO, PR 00769                          Rico                                                             COAMO, PR 00769                    Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
37 ALVERIO CINTRON,              07/06/18   Employees Retirement           153189             Undetermined* ALVERIO CINTRON,         07/06/18   Employees Retirement           155051       Undetermined*
   JUANITA                                  System of the Government of                                     JUANITA                             System of the Government of
   PO BOX 873                               the Commonwealth of Puerto                                      PO BOX 873                          the Commonwealth of Puerto
   CIDRA, PR 00739                          Rico                                                            CIDRA, PR 00739                     Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
38 ALVERIO CINTRON,              07/06/18   Employees Retirement           153434             Undetermined* ALVERIO CINTRON,         07/06/18   Employees Retirement           155051       Undetermined*
   JUANITA                                  System of the Government of                                     JUANITA                             System of the Government of
   PO BOX 873                               the Commonwealth of Puerto                                      PO BOX 873                          the Commonwealth of Puerto
   CIDRA, PR 00739                          Rico                                                            CIDRA, PR 00739                     Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
39 ALVERIO CINTRON,              07/06/18   Employees Retirement           153928             Undetermined* ALVERIO CINTRON,         07/06/18   Employees Retirement           155051       Undetermined*
   JUANITA                                  System of the Government of                                     JUANITA                             System of the Government of
   PO BOX 873                               the Commonwealth of Puerto                                      PO BOX 873                          the Commonwealth of Puerto
   CIDRA, PR 00739                          Rico                                                            CIDRA, PR 00739                     Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
40 ALVERIO CINTRON,              07/06/18   Employees Retirement           154743             Undetermined* ALVERIO CINTRON,         07/06/18   Employees Retirement           155051       Undetermined*
   JUANITA                                  System of the Government of                                     JUANITA                             System of the Government of
   PO BOX 873                               the Commonwealth of Puerto                                      PO BOX 873                          the Commonwealth of Puerto
   CIDRA, PR 00739                          Rico                                                            CIDRA, PR 00739                     Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
41 AMARO CRUZ, IVELISSE          05/30/18   Employees Retirement           41855              Undetermined* AMARO CRUZ, IVELISSE     05/30/18   Employees Retirement           43151        Undetermined*
   ESTANCIAS DE LA                          System of the Government of                                     URB ESTS DE LA CEIBA                System of the Government of
   CEIBA                                    the Commonwealth of Puerto                                      141 CALLE CAOBA                     the Commonwealth of Puerto
   141 CALLE CAOBA                          Rico                                                            HATILLO, PR 00659-2862              Rico
   HATILLO, PR 00659                        17 BK 03566-LTS                                                                                     17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 8 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                    Exhibit A - Schedule of Claims - English Page 10 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
42 ANDINO AYALA, JOSE            06/29/18   Employees Retirement           144354             Undetermined* ANDINO AYALA, JOSE       06/29/18   Employees Retirement           150297       Undetermined*
   ALBERTO                                  System of the Government of                                     ALBERTO                             System of the Government of
   30 VILLA ESPERANZO                       the Commonwealth of Puerto                                      BO. VILLA ESPERANZA                 the Commonwealth of Puerto
   1529 CARR 874                            Rico                                                            1529 CAR. 874                       Rico
   CAROLINA, PR 00985-                      17 BK 03566-LTS                                                 CAROLINA, PR 00985-                 17 BK 03566-LTS
   4372                                                                                                     4372

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
43 ANDINO PAGÁN,                 06/13/18   Employees Retirement           40384                 $ 37,390.79 ANDINO PAGÁN,           06/14/18   Employees Retirement           37436           $ 37,390.79
   ILEANA                                   System of the Government of                                      ILEANA                             System of the Government of
   365 COLTÓN                               the Commonwealth of Puerto                                       CALLE COLTÓN #365                  the Commonwealth of Puerto
   SAN JUAN, PR 00915                       Rico                                                             VILLA PALMERAS                     Rico
                                            17 BK 03566-LTS                                                  SAN JUAN, PR 00915                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
44 APONTE PAGAN,                 06/28/18   Employees Retirement           146521               $ 350,000.00 APONTE PAGAN,           06/28/18   Employees Retirement           118494         $ 350,000.00
   MILAGROS                                 System of the Government of                                      MILAGROS                           System of the Government of
   PO BOX 1486                              the Commonwealth of Puerto                                       PO BOX 1486                        the Commonwealth of Puerto
   OROCOVIS, PR 00720-                      Rico                                                             OROCOVIS, PR 00720-                Rico
   1486                                     17 BK 03566-LTS                                                  1486                               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
45 APONTE ROSA, NIDIA M.         06/11/18   Employees Retirement           39185                 $ 80,189.29 APONTE ROSA, NIDIA M.   06/11/18   Employees Retirement           39762           $ 80,189.29
   APARTADO 878                             System of the Government of                                      APARTADO 878                       System of the Government of
   JAYUYA, PR 00664                         the Commonwealth of Puerto                                       JAYUYA, PR 00664                   the Commonwealth of Puerto
                                            Rico                                                                                                Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
46 APONTE TORRES,                06/11/18   Employees Retirement           38966                $ 31,219.31* APONTE TORRES,          06/11/18   Employees Retirement           39026          $ 31,219.31*
   FERMIN                                   System of the Government of                                      FERMIN                             System of the Government of
   HC-01 BOX 8035                           the Commonwealth of Puerto                                       HC-01 BOX 8035                     the Commonwealth of Puerto
   TOA BAJA, PR 00949                       Rico                                                             TOA BAJA, PR 00949                 Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 9 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                    Exhibit A - Schedule of Claims - English Page 11 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
47 APONTE URBINA, LUIS           05/21/18   Employees Retirement           32602              Undetermined* APONTE URBINA, LUIS        05/21/18   Employees Retirement           34652        Undetermined*
   O                                        System of the Government of                                     O                                     System of the Government of
   L-22 CALLE COA                           the Commonwealth of Puerto                                      URB CAGUAX                            the Commonwealth of Puerto
   URB. CAGUAX                              Rico                                                            L22 CALLE COA                         Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                 CAGUAS, PR 00725                      17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
48 AQUINO TORRES,                04/24/18   Employees Retirement            8467                $ 51,510.45* AQUINO TORRES,            04/24/18   Employees Retirement           8486           $ 51,510.45*
   NICOLAS A                                System of the Government of                                      NICOLAS A                            System of the Government of
   URB JARDINES DE                          the Commonwealth of Puerto                                       URB JARDINES DE                      the Commonwealth of Puerto
   NARANJITO                                Rico                                                             NARANJITO 154 CALLE                  Rico
   154 CALLE TRINITARIA                     17 BK 03566-LTS                                                  TRINITARIA                           17 BK 03566-LTS
   NARANJITO, PR 00719                                                                                       NARANJITO, PR 00719

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
49 ARACENA QUINONES,             05/26/18   Employees Retirement           23787                   $ 6,377.06 ARACENA QUINONES,        05/26/18   Employees Retirement           23670            $ 6,377.06
   JOHAN I                                  System of the Government of                                       JOHAN I                             System of the Government of
   VILLAS DE LOIZA                          the Commonwealth of Puerto                                        VILLAS DE LOIZA                     the Commonwealth of Puerto
   DD 21 CALLE 45 A                         Rico                                                              DD 21 CALLE 45 A                    Rico
   CANOVANAS, PR 00729                      17 BK 03566-LTS                                                   CANOVANAS, PR 00729                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
50 ARIAS AGUEDA, EDGAR           05/28/18   Employees Retirement           24339                 $ 50,000.00 ARIAS AGUEDA, EDGAR       05/28/18   Employees Retirement           24814           $ 50,000.00
   PO BOX 1045                              System of the Government of                                      PO BOX 1045                          System of the Government of
   ISABELA, PR 00662-1045                   the Commonwealth of Puerto                                       ISABELA, PR 00662-1045               the Commonwealth of Puerto
                                            Rico                                                                                                  Rico
                                            17 BK 03566-LTS                                                                                       17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
51 ARIAS RIOS, ELSA D            06/06/18   Employees Retirement           56192                $ 86,381.77* ARIAS RIOS, ELSA D.       06/06/18   Employees Retirement           58867          $ 86,381.77*
   PO BOX 16180                             System of the Government of                                      PO BOX 16180                         System of the Government of
   SAN JUAN, PR 00908-6180                  the Commonwealth of Puerto                                       SAN JUAN, PR 00908-6180              the Commonwealth of Puerto
                                            Rico                                                                                                  Rico
                                            17 BK 03566-LTS                                                                                       17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 10 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                    Exhibit A - Schedule of Claims - English Page 12 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
52 ARIAS RIOS, ELSA D.           06/06/18   Employees Retirement           49284                $ 86,381.77* ARIAS RIOS, ELSA D.       06/06/18   Employees Retirement           58867         $ 86,381.77*
   PO BOX 16180                             System of the Government of                                      PO BOX 16180                         System of the Government of
   SAN JUAN, PR 00908-6180                  the Commonwealth of Puerto                                       SAN JUAN, PR 00908-6180              the Commonwealth of Puerto
                                            Rico                                                                                                  Rico
                                            17 BK 03566-LTS                                                                                       17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
53 ARILL TORRES, IDA             05/29/18   Employees Retirement           30614                 $ 44,923.22 ARILL TORRES, IDA         06/28/18   Employees Retirement           89497          $ 44,923.22
   3 CALLE VALERIANO                        System of the Government of                                      3 CALLE VALERIANO                    System of the Government of
   MUNOZ                                    the Commonwealth of Puerto                                       MUNOZ                                the Commonwealth of Puerto
   SAN LORENZO, PR 00754                    Rico                                                             SAN LORENZO, PR 00754                Rico
                                            17 BK 03566-LTS                                                                                       17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
54 ARMENTEROS,                   06/29/18   Employees Retirement           58520                $ 75,000.00* ARMENTEROS,               06/29/18   Employees Retirement           84549         $ 75,000.00*
   CIPRIANO                                 System of the Government of                                      CIPRIANO                             System of the Government of
   2021 CALLE                               the Commonwealth of Puerto                                       2021 CALLE                           the Commonwealth of Puerto
   ASOCIACION                               Rico                                                             ASOCIACIÓN                           Rico
   SAN JUAN, PR 00918                       17 BK 03566-LTS                                                  SAN JUAN, PR 00918                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
55 ARMENTEROS,                   06/29/18   Employees Retirement           72555                 $ 75,000.00 ARMENTEROS,               06/29/18   Employees Retirement           84549         $ 75,000.00*
   CIPRIANO                                 System of the Government of                                      CIPRIANO                             System of the Government of
   2021 CALLE                               the Commonwealth of Puerto                                       2021 CALLE                           the Commonwealth of Puerto
   ASOCIACION                               Rico                                                             ASOCIACIÓN                           Rico
   SAN JUAN, PR 00918                       17 BK 03566-LTS                                                  SAN JUAN, PR 00918                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
56 ARMENTEROS,                   06/29/18   Employees Retirement           76203                 $ 75,000.00 ARMENTEROS,               06/29/18   Employees Retirement           84549         $ 75,000.00*
   CIPRIANO                                 System of the Government of                                      CIPRIANO                             System of the Government of
   C/O RICHARD L                            the Commonwealth of Puerto                                       2021 CALLE                           the Commonwealth of Puerto
   NEGRON COLON                             Rico                                                             ASOCIACIÓN                           Rico
   2021 CALLE                               17 BK 03566-LTS                                                  SAN JUAN, PR 00918                   17 BK 03566-LTS
   ASOCIACION
   SAN JUAN, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 11 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                    Exhibit A - Schedule of Claims - English Page 13 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
57 ARMENTEROS,                   06/29/18   Employees Retirement           82208                 $ 75,000.00 ARMENTEROS,           06/29/18   Employees Retirement           84549         $ 75,000.00*
   CIPRIANO                                 System of the Government of                                      CIPRIANO                         System of the Government of
   2021 CALLE                               the Commonwealth of Puerto                                       2021 CALLE                       the Commonwealth of Puerto
   ASOCIACION                               Rico                                                             ASOCIACIÓN                       Rico
   SAN JUAN, PR 00918                       17 BK 03566-LTS                                                  SAN JUAN, PR 00918               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
58 ARMENTEROS,                   06/29/18   Employees Retirement           82848                 $ 75,000.00 ARMENTEROS,           06/29/18   Employees Retirement           84549         $ 75,000.00*
   CIPRIANO                                 System of the Government of                                      CIPRIANO                         System of the Government of
   2021 CALLE                               the Commonwealth of Puerto                                       2021 CALLE                       the Commonwealth of Puerto
   ASOCIACION                               Rico                                                             ASOCIACIÓN                       Rico
   SAN JUAN, PR 00918                       17 BK 03566-LTS                                                  SAN JUAN, PR 00918               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
59 ARMENTEROS,                   06/29/18   Employees Retirement           127709                $ 75,000.00 ARMENTEROS,           06/29/18   Employees Retirement           84549         $ 75,000.00*
   CIPRIANO                                 System of the Government of                                      CIPRIANO                         System of the Government of
   2021 CALLE                               the Commonwealth of Puerto                                       2021 CALLE                       the Commonwealth of Puerto
   ASOCIACION                               Rico                                                             ASOCIACIÓN                       Rico
   SAN JUAN, PR 00918                       17 BK 03566-LTS                                                  SAN JUAN, PR 00918               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
60 ARMENTEROS,                   06/29/18   Employees Retirement           155033               $ 75,000.00* ARMENTEROS,           06/29/18   Employees Retirement           84549         $ 75,000.00*
   CIPRIANO                                 System of the Government of                                      CIPRIANO                         System of the Government of
   2021 CALLE                               the Commonwealth of Puerto                                       2021 CALLE                       the Commonwealth of Puerto
   ASOCIACION                               Rico                                                             ASOCIACIÓN                       Rico
   SAN JUAN, PR 00918                       17 BK 03566-LTS                                                  SAN JUAN, PR 00918               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
61 AROCHO MEDINA,                06/07/18   Employees Retirement           38591                 $ 16,781.80 AROCHO MEDINA,        06/13/18   Employees Retirement           60340          $ 16,781.80
   MARANGELY                                System of the Government of                                      MARANGELY                        System of the Government of
   CALLE J K-18                             the Commonwealth of Puerto                                       CALLE J K-18                     the Commonwealth of Puerto
   URB. ALTURAS DE                          Rico                                                             URB. ALTURAS DE                  Rico
   VEGA BAJA                                17 BK 03566-LTS                                                  VEGA BAJA                        17 BK 03566-LTS
   VEGA BAJA, PR 00693                                                                                       VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 12 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                    Exhibit A - Schedule of Claims - English Page 14 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
62 ARROYO CRUZ, NILSA            03/19/18   Employees Retirement            3685              Undetermined* ARROYO CRUZ, NILSA         03/20/18   Employees Retirement           2729         Undetermined*
   HC 02 BOX 5859                           System of the Government of                                     HC 2 BOX 5672                         System of the Government of
   PENUELAS, PR 00624-                      the Commonwealth of Puerto                                      PENUELAS, PR 00624-                   the Commonwealth of Puerto
   9607                                     Rico                                                            9697                                  Rico
                                            17 BK 03566-LTS                                                                                       17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
63 ARROYO SALAS,                 06/21/18   Employees Retirement           45442                 $ 40,000.00 ARROYO SALAS,             06/29/18   Employees Retirement           112726         $ 40,000.00*
   PATRICIA M.                              System of the Government of                                      PATRICIA M.                          System of the Government of
   BOX 221                                  the Commonwealth of Puerto                                       BOX 221                              the Commonwealth of Puerto
   ISABELA, PR 00662                        Rico                                                             ISABELA, PR 00662                    Rico
                                            17 BK 03566-LTS                                                                                       17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
64 ARROYO VELEZ,                 03/13/18   Employees Retirement            2433              Undetermined* ARROYO VELEZ,              03/13/18   Employees Retirement           2659         Undetermined*
   MARLYN                                   System of the Government of                                     MARLYN                                System of the Government of
   URB BORINQUEN                            the Commonwealth of Puerto                                      URB BORINQUEN                         the Commonwealth of Puerto
   B5 CALLE MARIANA                         Rico                                                            B5 CALLE MARIANA                      Rico
   BRACETTI                                 17 BK 03566-LTS                                                 BRACETTI                              17 BK 03566-LTS
   CABO ROJO, PR 00623-                                                                                     CABO ROJO, PR 00623-
   3349                                                                                                     3349

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
65 ASTACIO CARRERA,              05/22/18   Employees Retirement           17262                 $ 52,913.08 ASTACIO CARRERA,          05/22/18   Employees Retirement           17264           $ 52,913.08
   MILITZA                                  System of the Government of                                      MILITZA                              System of the Government of
   352 AVE SAN CLAUDIO                      the Commonwealth of Puerto                                       PMB 154                              the Commonwealth of Puerto
   PMB 154                                  Rico                                                             352 AVE SAN CLAUDIO                  Rico
   SAN JAUN, PR 00926                       17 BK 03566-LTS                                                  SAN JUAN, PR 00926-4114              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
66 ASTACIO SEPULVEDA,            06/22/18   Employees Retirement           46286              Undetermined* ASTACIO SEPULVEDA,         07/09/18   Employees Retirement           165231       Undetermined*
   GLORIMAR                                 System of the Government of                                     GLORIMAR                              System of the Government of
   URB SANTA TERESITA                       the Commonwealth of Puerto                                      URB SANTA TERESITA                    the Commonwealth of Puerto
   #5021 CALLE SAN                          Rico                                                            5021 CALLE SAN PEDRO                  Rico
   PEDRO                                    17 BK 03566-LTS                                                 PONCE, PR 00730                       17 BK 03566-LTS
   PONCE, PR 00730

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 13 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                    Exhibit A - Schedule of Claims - English Page 15 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
67 AULET MALDONADO,              06/29/18   Employees Retirement           101738               $ 63,865.50* AULET MALDONADO,         07/11/18   Employees Retirement           130096          $ 63,865.50
   OLVIN                                    System of the Government of                                      OLVIN                               System of the Government of
   HC 1 BOX 2455                            the Commonwealth of Puerto                                       HC 1 BOX 2455                       the Commonwealth of Puerto
   FLORIDA, PR 00650                        Rico                                                             FLORIDA, PR 00650                   Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
68 AVILES FRED, ISMAEL           06/27/18   Employees Retirement           98658              Undetermined* AVILES FRED, ISMAEL       06/27/18   Employees Retirement           120031       Undetermined*
   PO BOX 1801                              System of the Government of                                     P.O. BOX 1801                        System of the Government of
   MAYOGUEZ, PR 00681-                      the Commonwealth of Puerto                                      MAYAGUEZ, PR 00681-                  the Commonwealth of Puerto
   1801                                     Rico                                                            1801                                 Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
69 AVILES GONZALEZ,              06/28/18   Employees Retirement           141621               $ 87,093.07* AVILES GONZALEZ,         07/02/18   Employees Retirement           125215         $ 87,093.07*
   PEDRO E.                                 System of the Government of                                      PEDRO E.                            System of the Government of
   PO BOX 1506                              the Commonwealth of Puerto                                       APORTADO 1506                       the Commonwealth of Puerto
   SAN SEBASTIAN, PR                        Rico                                                             SAN SEBASTIAN, PR                   Rico
   00685                                    17 BK 03566-LTS                                                  00685                               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
70 AVILES NEGRON,                06/07/18   Employees Retirement           49476                 $ 13,369.66 AVILES NEGRON,           07/06/18   Employees Retirement           105054          $ 13,369.66
   MARIA DE LOS                             System of the Government of                                      MARIA DE LOS                        System of the Government of
   ANGELES                                  the Commonwealth of Puerto                                       ANGELES                             the Commonwealth of Puerto
   HC 8 BOX 67806                           Rico                                                             HC 8 BOX 67806                      Rico
   ARECIBO, PR 00612-8009                   17 BK 03566-LTS                                                  ARECIBO, PR 00612-8009              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
71 AVILES RODRIGUEZ,             06/27/18   Employees Retirement           59012               $ 150,000.00* AVILES RODRIGUEZ,        06/29/18   Employees Retirement           120762        $ 150,000.00*
   WILSON                                   System of the Government of                                      WILSON                              System of the Government of
   CALLE 25 DD-7                            the Commonwealth of Puerto                                       DD-7 CALLE 25 URB.                  the Commonwealth of Puerto
   URB. RIVERVIEW                           Rico                                                             RIVERVIEW                           Rico
   BAYAMON, PR 00961                        17 BK 03566-LTS                                                  BAYAMON, PR 00953                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
72 AVILES VAZQUEZ,               06/28/18   Employees Retirement           60506                 $ 50,181.10 AVILES VAZQUEZ,          06/29/18   Employees Retirement           80599           $ 50,181.10
   AWILDA                                   System of the Government of                                      AWILDA                              System of the Government of
   HC 07 BOX 38506                          the Commonwealth of Puerto                                       HC 7 BOX 38506                      the Commonwealth of Puerto
   AGUADILLA, PR 00603                      Rico                                                             AGUADILLA, PR 00603                 Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 14 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                            Desc:
                                                    Exhibit A - Schedule of Claims - English Page 16 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME         FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
73 AVILES, DENISE                07/06/18   Employees Retirement           109907                      $ 95.62 AVILES, DENISE     07/06/18   Employees Retirement           160054              $ 95.62
   PO BOX 1225                              System of the Government of                                        PO BOX 1225                   System of the Government of
   SABANA HOYOS, PR                         the Commonwealth of Puerto                                         SABANA HOYOS, PR              the Commonwealth of Puerto
   00688                                    Rico                                                               00688-1225                    Rico
                                            17 BK 03566-LTS                                                                                  17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
74 AYALA BAEZ, MIRIAM            06/29/18   Employees Retirement           83266              Undetermined* AYALA BAEZ, MIRIAM    06/29/18   Employees Retirement           88747        Undetermined*
   HC-04 BOX 8697                           System of the Government of                                     HC-04 BOX 8697                   System of the Government of
   CANOVANAS, PR 00729                      the Commonwealth of Puerto                                      CANOVANAS, PR 00729              the Commonwealth of Puerto
                                            Rico                                                                                             Rico
                                            17 BK 03566-LTS                                                                                  17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
75 AYALA CASTRODAD,              06/29/18   Employees Retirement           147346             Undetermined* AYALA CASTRODAD,      06/29/18   Employees Retirement           165279       Undetermined*
   EDWIN                                    System of the Government of                                     EDWIN                            System of the Government of
   30 BALDORIOTY DE                         the Commonwealth of Puerto                                      30 BALDERIOTY DE                 the Commonwealth of Puerto
   CASTRO ST                                Rico                                                            CASTRO                           Rico
   CIDRA, PR 00739                          17 BK 03566-LTS                                                 CIDRA, PR 00739                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
76 AYALA CASTRODAD,              06/29/18   Employees Retirement           153724             Undetermined* AYALA CASTRODAD,      06/29/18   Employees Retirement           165279       Undetermined*
   EDWIN                                    System of the Government of                                     EDWIN                            System of the Government of
   30 CALLE BALDORIOTY                      the Commonwealth of Puerto                                      30 BALDERIOTY DE                 the Commonwealth of Puerto
   DE CASTRO                                Rico                                                            CASTRO                           Rico
   CIDRA, PR 00739                          17 BK 03566-LTS                                                 CIDRA, PR 00739                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
77 AYALA FERREIRA,               06/28/18   Employees Retirement           63497              Undetermined* AYALA FERREIRA,       06/28/18   Employees Retirement           64754        Undetermined*
   NILDA E                                  System of the Government of                                     NILDA E                          System of the Government of
   CALLE 11 C13 URB.                        the Commonwealth of Puerto                                      CALLE 11 J20                     the Commonwealth of Puerto
   SANTA CATALINA                           Rico                                                            MAGNOLIA GARDENS                 Rico
   BAYAMON, PR 00957                        17 BK 03566-LTS                                                 BAYAMON, PR 00956                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
78 AYALA HERNANDEZ,              05/26/18   Employees Retirement           22570                $ 92,579.99* AYALA HERNANDEZ,     05/26/18   Employees Retirement           23772          $ 92,579.99*
   JUAN M                                   System of the Government of                                      JUAN M                          System of the Government of
   HC 03 BOX 15643                          the Commonwealth of Puerto                                       HC 03 BOX 15643                 the Commonwealth of Puerto
   YAUCO, PR 00698                          Rico                                                             YAUCO, PR 00698                 Rico
                                            17 BK 03566-LTS                                                                                  17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 15 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                    Exhibit A - Schedule of Claims - English Page 17 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
79 AYALA MELENDEZ,               05/24/18   Employees Retirement           31088                 $ 55,964.73 AYALA MELENDEZ,           05/24/18   Employees Retirement           31119          $ 55,964.73
   DIMARIS                                  System of the Government of                                      DIMARIS                              System of the Government of
   CIUDAD JARDIN                            the Commonwealth of Puerto                                       272 SIEMPREVIVA                      the Commonwealth of Puerto
   CANOVANAS                                Rico                                                             CIUDAD JARDIN II                     Rico
   272 CALLE                                17 BK 03566-LTS                                                  CANOVANAS, PR 00729                  17 BK 03566-LTS
   SIEMPREVIVA
   CANOVANAS, PR 00729

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
80 AYALA MORALES,                06/29/18   Employees Retirement           86321                 $ 75,000.00 AYALA MORALES,            06/29/18   Employees Retirement           142770         $ 75,000.00
   SARIELIS                                 System of the Government of                                      SARIELIS                             System of the Government of
   URB. RIO PLANTATION                      the Commonwealth of Puerto                                       56 CALLE 2 ESTE                      the Commonwealth of Puerto
   56 CALLE 2 ESTE                          Rico                                                             URB. RIO PLANTATION                  Rico
   BAYAMON, PR 00961                        17 BK 03566-LTS                                                  BAYAMON, PR 00961                    17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
81 AYALA RIVERA, DORIS J         06/29/18   Employees Retirement           108360                $ 77,875.06 AYALA RIVERA, DORIS J     06/29/18   Employees Retirement           164715         $ 77,875.06
   PO BOX 191262                            System of the Government of                                      PO BOX 191262                        System of the Government of
   SAN JUAN, PR 00919-1262                  the Commonwealth of Puerto                                       SAN JUAN, PR 00919-1262              the Commonwealth of Puerto
                                            Rico                                                                                                  Rico
                                            17 BK 03566-LTS                                                                                       17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
82 AYALA-RAMIREZ,                06/28/18   Employees Retirement           69426                $ 50,953.10* AYALA-RAMIREZ,            06/28/18   Employees Retirement           70704          $ 50,953.10
   JANISE                                   System of the Government of                                      JANISE                               System of the Government of
   LOS ROSALES III AVE 4                    the Commonwealth of Puerto                                       LOS ROSALES III AVE 4                the Commonwealth of Puerto
   #26                                      Rico                                                             #26                                  Rico
   MANATI, PR 00674                         17 BK 03566-LTS                                                  MANATI, PR 00674                     17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
83 BADIA DE HERNANDEZ,           07/04/18   Employees Retirement           68487                 $ 21,600.00 BADIA DE HERNANDEZ,       07/06/18   Employees Retirement           160023         $ 21,600.00
   GLORIA E                                 System of the Government of                                      GLORIA E                             System of the Government of
   2101 PORTAL DE SOFIA                     the Commonwealth of Puerto                                       2101 PORTAL DE SOFIA                 the Commonwealth of Puerto
   111 CECILIO URBINA                       Rico                                                             111 CECILIO URBINA                   Rico
   GUAYNABO, PR 00969                       17 BK 03566-LTS                                                  GUAYNABO, PR 00969                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 16 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                    Exhibit A - Schedule of Claims - English Page 18 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
84 BADIA DE HERNANDEZ,           07/04/18   Employees Retirement           68490               $ 1,428,768.00 BADIA DE HERNANDEZ,    07/06/18   Employees Retirement           158436       $ 1,428,768.00
   GLORIA E                                 System of the Government of                                       GLORIA E                          System of the Government of
   2101 PORTAL DE SOFIA                     the Commonwealth of Puerto                                        2101 PORTAL DE SOFIA              the Commonwealth of Puerto
   111 CECILIO URBINA                       Rico                                                              111 CECILIO URBINA                Rico
   GUAYNABO, PR 00969                       17 BK 03566-LTS                                                   GUAYNABO, PR 00969                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
85 BADILLO RIOS,                 05/29/18   Employees Retirement           42432              Undetermined* BADILLO RIOS,            05/29/18   Employees Retirement           42485        Undetermined*
   ALFREDO                                  System of the Government of                                     ALFREDO                             System of the Government of
   HC-01 BOX 5084                           the Commonwealth of Puerto                                      HC-01 BOX 5084                      the Commonwealth of Puerto
   RINCON, PR 00677                         Rico                                                            RINCON, PR 00677                    Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
86 BAEZ ACABA, BRENDA            06/08/18   Employees Retirement           63156                 $ 37,041.36 BAEZ ACABA, BRENDA      06/08/18   Employees Retirement           63489           $ 37,041.36
   COND PARK GARDENS                        System of the Government of                                      COND PARK GARDENS                  System of the Government of
   TOWN HOUSES                              the Commonwealth of Puerto                                       TOWN HOUSE 105                     the Commonwealth of Puerto
   105 CALLE ACADIA APT                     Rico                                                             CALLE ACADIA APT.                  Rico
   315                                      17 BK 03566-LTS                                                  315                                17 BK 03566-LTS
   SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
87 BARREIRO MAYMI,               05/23/18   Employees Retirement           33595              Undetermined* BARREIRO MAYMI,          05/23/18   Employees Retirement           35121        Undetermined*
   MARIBEL                                  System of the Government of                                     MARIBEL                             System of the Government of
   PO BOX 78                                the Commonwealth of Puerto                                      PO BOX 78                           the Commonwealth of Puerto
   CAGUAS, PR 00726-0078                    Rico                                                            CAGUAS, PR 00726                    Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
88 BARRETO MARTINEZ,             07/03/18   Employees Retirement           114524                  $ 5,000.00 BARRETO MARTINEZ,      07/03/18   Employees Retirement           154542           $ 5,000.00
   LUZ ELENIA                               System of the Government of                                       LUZ ELENIA                        System of the Government of
   3623 AVE MILITAR                         the Commonwealth of Puerto                                        3623 AVE MILITAR                  the Commonwealth of Puerto
   CARR #2 PMB 173                          Rico                                                              CARR #2 P.MB 173                  Rico
   ISABELA, PR 00662                        17 BK 03566-LTS                                                   ISABELA, PR 00662                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 17 of 98
                                     Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                            Desc:
                                                   Exhibit A - Schedule of Claims - English Page 19 of 99

                                                                            Thirty-First Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
89 BARRETO MARTINEZ,            07/03/18   Employees Retirement           126885                  $ 5,000.00 BARRETO MARTINEZ,   07/03/18   Employees Retirement           154542          $ 5,000.00
   LUZ ELENIA                              System of the Government of                                       LUZ ELENIA                     System of the Government of
   3623 AVE MILITAR                        the Commonwealth of Puerto                                        3623 AVE MILITAR               the Commonwealth of Puerto
   CARR #2 PMB 173                         Rico                                                              CARR #2 P.MB 173               Rico
   ISABELA, PR 00662                       17 BK 03566-LTS                                                   ISABELA, PR 00662              17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
90 BARRETO MARTINEZ,            07/03/18   Employees Retirement           129275                  $ 5,000.00 BARRETO MARTINEZ,   07/03/18   Employees Retirement           154542          $ 5,000.00
   LUZ ELENIA                              System of the Government of                                       LUZ ELENIA                     System of the Government of
   3623 AVE MILITAR                        the Commonwealth of Puerto                                        3623 AVE MILITAR               the Commonwealth of Puerto
   CARR #2 PMB 173                         Rico                                                              CARR #2 P.MB 173               Rico
   ISABELA, PR 00662                       17 BK 03566-LTS                                                   ISABELA, PR 00662              17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
91 BARRETO MARTINEZ,            07/03/18   Employees Retirement           150946                  $ 5,000.00 BARRETO MARTINEZ,   07/03/18   Employees Retirement           154542          $ 5,000.00
   LUZ ELENIA                              System of the Government of                                       LUZ ELENIA                     System of the Government of
   3623 AVE MILITAR                        the Commonwealth of Puerto                                        3623 AVE MILITAR               the Commonwealth of Puerto
   CARR #2 PMB 173                         Rico                                                              CARR #2 P.MB 173               Rico
   ISABELA, PR 00662                       17 BK 03566-LTS                                                   ISABELA, PR 00662              17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
92 BARRETO MARTINEZ,            07/03/18   Employees Retirement           154157                  $ 5,000.00 BARRETO MARTINEZ,   07/03/18   Employees Retirement           154542          $ 5,000.00
   LUZ ELENIA                              System of the Government of                                       LUZ ELENIA                     System of the Government of
   3623 AVE. MILTAR                        the Commonwealth of Puerto                                        3623 AVE MILITAR               the Commonwealth of Puerto
   CARR#2 P.M.B 173                        Rico                                                              CARR #2 P.MB 173               Rico
   ISABELA, PR 00662                       17 BK 03566-LTS                                                   ISABELA, PR 00662              17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
93 BARRETO MARTINEZ,            07/03/18   Employees Retirement           154455                  $ 5,000.00 BARRETO MARTINEZ,   07/03/18   Employees Retirement           154542          $ 5,000.00
   LUZ ELENIA                              System of the Government of                                       LUZ ELENIA                     System of the Government of
   3623 AVE MILITAR                        the Commonwealth of Puerto                                        3623 AVE MILITAR               the Commonwealth of Puerto
   CARR #2 PMB 173                         Rico                                                              CARR #2 P.MB 173               Rico
   ISABELA, PR 00662                       17 BK 03566-LTS                                                   ISABELA, PR 00662              17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 18 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                    Exhibit A - Schedule of Claims - English Page 20 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
94 BARRETO RODRIGUEZ,            06/28/18   Employees Retirement           67589                $ 75,000.00* BARRETO RODRIGUEZ,      06/28/18   Employees Retirement           69602          $ 75,000.00*
   YOLANDA                                  System of the Government of                                      YOLANDA                            System of the Government of
   URB. SIERRA BAYAMON                      the Commonwealth of Puerto                                       CALLE 20 B 20 NUM. 2               the Commonwealth of Puerto
   53-4                                     Rico                                                             URB. SIERRA BAYAMON                Rico
   CALLE 48                                 17 BK 03566-LTS                                                  BAYAMON, PR 00961                  17 BK 03566-LTS
   BAYAMON, PR 00961

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
95 BARRIOS MAS,                  06/28/18   Employees Retirement           132823             Undetermined* BARRIOS MAS,             06/28/18   Employees Retirement           147664       Undetermined*
   FRANCISCO                                System of the Government of                                     FRANCISCO                           System of the Government of
   CALLE GEF 10                             the Commonwealth of Puerto                                      CALLE GEF 10                        the Commonwealth of Puerto
   URB. SAN ANTONIO                         Rico                                                            URB. SAN ANTONIO                    Rico
   ANASCO, PR 00610                         17 BK 03566-LTS                                                 ANASCO, PR 00610                    17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
96 BATIZ CORNIER, JUAN           06/28/18   Employees Retirement           124333                  $ 6,000.00 BATIZ CORNIER, JUAN    06/29/18   Employees Retirement           145135           $ 6,000.00
   C.                                       System of the Government of                                       C.                                System of the Government of
   HILLCREST VILLAGES                       the Commonwealth of Puerto                                        HILLCREST VILLAGES                the Commonwealth of Puerto
   5025 PASEO DE LA                         Rico                                                              5025 PASEO DE LA                  Rico
   SIERRA                                   17 BK 03566-LTS                                                   SIERRA                            17 BK 03566-LTS
   PONCE, PR 00716-7030                                                                                       PONCE, PR 00716-7030

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
97 BATIZ SERRANO,                06/29/18   Employees Retirement           129837             Undetermined* BATIZ SERRANO,           06/29/18   Employees Retirement           138574       Undetermined*
   OSVALDO                                  System of the Government of                                     OSVALDO                             System of the Government of
   PONCE, PR 00731                          the Commonwealth of Puerto                                      PONCE, PR 00731                     the Commonwealth of Puerto
                                            Rico                                                                                                Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
98 BELTRAN GERENA,               06/28/18   Employees Retirement           112177                $ 53,678.42 BELTRAN GERENA,         06/28/18   Employees Retirement           117284          $ 53,678.42
   JANICE I                                 System of the Government of                                      JANICE I                           System of the Government of
   HC 02 7365                               the Commonwealth of Puerto                                       HC 02 7365                         the Commonwealth of Puerto
   LARES, PR 00669                          Rico                                                             LARES, PR 00669                    Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 19 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 21 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
99 BENABE GARCIA, ANA             06/27/18   Employees Retirement           56878                 $ 70,255.26 BENABE GARCIA, ANA      06/27/18   Employees Retirement           57290          $ 70,255.26
   G.                                        System of the Government of                                      G.                                 System of the Government of
   VILLAS DE LOIZA                           the Commonwealth of Puerto                                       VILLAS DE LOIZA                    the Commonwealth of Puerto
   AN 6 CALLE 32B                            Rico                                                             AN6 CALLE 32                       Rico
   CANOVANAS, PR 00729                       17 BK 03566-LTS                                                  CANOVANAS, PR 00729                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
100 BENITEZ COLON,                05/29/18   Employees Retirement           30686                $ 31,322.84* BENITEZ COLON,          05/29/18   Employees Retirement           39530         $ 31,322.84*
    ZINDIA I                                 System of the Government of                                      ZINDIA I                           System of the Government of
    PO BOX 194712                            the Commonwealth of Puerto                                       BO.CAPETILLO                       the Commonwealth of Puerto
    SAN JUAN, PR 00919-4712                  Rico                                                             CALLE 13 # 1013                    Rico
                                             17 BK 03566-LTS                                                  RIO PIEDRAS, PR 00923              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
101 BENITEZ GONZALEZ,             06/14/18   Employees Retirement           34265                 $ 49,880.02 BENITEZ GONZALEZ,       06/22/18   Employees Retirement           80949          $ 49,880.02
    MARIA                                    System of the Government of                                      MARIA                              System of the Government of
    HC 2 BOX 15426                           the Commonwealth of Puerto                                       HC 2 BOX 15426                     the Commonwealth of Puerto
    CAROLINA, PR 00987                       Rico                                                             CAROLINA, PR 00987                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
102 BERMUDEZ DIAZ, JOSE           05/25/18   Employees Retirement           21092                 $ 50,000.00 BERMUDEZ DIAZ, JOSE     05/25/18   Employees Retirement           21316          $ 50,000.00
    M                                        System of the Government of                                      M                                  System of the Government of
    HC 5 BOX 9602                            the Commonwealth of Puerto                                       HC 5 BOX 9602                      the Commonwealth of Puerto
    COROZAL, PR 00783                        Rico                                                             COROZAL, PR 00783                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
103 BERMUDEZ SANCHEZ,             05/24/18   Employees Retirement           14606                $ 80,000.00* BERMUDEZ SANCHEZ,       05/24/18   Employees Retirement           34066         $ 80,000.00*
    CARMEN L                                 System of the Government of                                      CARMEN L                           System of the Government of
    JARDINES DE                              the Commonwealth of Puerto                                       JARDINES DE                        the Commonwealth of Puerto
    BORINQUEN L 35                           Rico                                                             BORINQUEN L 35                     Rico
    CALLE LIRIO                              17 BK 03566-LTS                                                  CALLE LIRIO                        17 BK 03566-LTS
    CAROLINA, PR 00985                                                                                        CAROLINA, PR 00985

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 20 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 22 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
104 BERRIOS FIGUEROA,             06/05/18   Employees Retirement           47055                 $ 75,000.00 BERRIOS FIGUEROA,      06/05/18   Employees Retirement           61123           $ 75,000.00
    GABRIEL                                  System of the Government of                                      GABRIEL                           System of the Government of
    AVE LEYA BAD.                            the Commonwealth of Puerto                                       AVE. FEJA                         the Commonwealth of Puerto
    PATOGONIA #3                             Rico                                                             BAD. PATAGONIA #3                 Rico
    HUMACA, PR 00791                         17 BK 03566-LTS                                                  HUMACA, PR 00791                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
105 BERRIOS PADILLA,              06/12/18   Employees Retirement           40373                 $ 53,899.81 BERRIOS PADILLA,       06/13/18   Employees Retirement           61979           $ 53,899.81
    GERARDO                                  System of the Government of                                      GERARDO                           System of the Government of
    HC 01 BOX 20502                          the Commonwealth of Puerto                                       HC 01 BOX 20502                   the Commonwealth of Puerto
    COMERIO, PR 00782                        Rico                                                             COMERIO, PR 00782                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
106 BERRIOS RIVERA, AIXA          06/27/18   Employees Retirement           58091                 $ 39,218.38 BERRIOS RIVERA, AIXA   07/06/18   Employees Retirement           144606          $ 39,218.38
    #88 ZORZAL BO.                           System of the Government of                                      #88 ZOZAL BO.                     System of the Government of
    CUCHILLAS                                the Commonwealth of Puerto                                       CUCHILLAS                         the Commonwealth of Puerto
    MOROVIS, PR 00687                        Rico                                                             MOROVIS, PR 00687                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
107 BERRIOS RODRIGUEZ,            05/31/18   Employees Retirement           29923                 $ 58,455.66 BERRIOS RODRIGUEZ,     06/14/18   Employees Retirement           64325           $ 58,455.66
    NELLY ROSA                               System of the Government of                                      NELLY ROSA                        System of the Government of
    RR 3 BUZON 4382                          the Commonwealth of Puerto                                       RR 3 BUZON                        the Commonwealth of Puerto
    CAIMITO BAJO                             Rico                                                             4382 CAIMITO BAJO                 Rico
    SAN JUAN, PR 00926                       17 BK 03566-LTS                                                  SAN JUAN, PR 00926                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
108 BERRIOS ROJAS, IVETTE         07/02/18   Employees Retirement           68415              Undetermined* BERRIOS ROJAS, IVETTE   07/06/18   Employees Retirement           134660       Undetermined*
    RR 5 BOX 7983                            System of the Government of                                     RR 5 BOX 7983                      System of the Government of
    BAYAMON, PR 00956                        the Commonwealth of Puerto                                      BAYAMON, PR 00956                  the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
109 BERRIOS VAZQUEZ,              06/27/18   Employees Retirement           47974              Undetermined* BERRIOS VAZQUEZ,        06/27/18   Employees Retirement           55728        Undetermined*
    VICTOR M                                 System of the Government of                                     VICTOR M                           System of the Government of
    CALLE 12 W 6 SANTA                       the Commonwealth of Puerto                                      CALLE 12 W6 SANTA                  the Commonwealth of Puerto
    MONICA                                   Rico                                                            MONICA                             Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                 BAYAMON, PR 00957                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 21 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                     Exhibit A - Schedule of Claims - English Page 23 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
110 BERRIOS VEGA, ROSA            05/25/18   Employees Retirement           27151              Undetermined* BERRIOS VEGA, ROSA        05/25/18   Employees Retirement           31765        Undetermined*
    COND CARRIBEAN SEA                       System of the Government of                                     COND CARRIBEAN SEA                   System of the Government of
    105 MARGINAL AVE FD                      the Commonwealth of Puerto                                      105 MARGINAL AVE FD                  the Commonwealth of Puerto
    ROOSEVELT APT 504                        Rico                                                            ROOSEVELT                            Rico
    SAN JUAN, PR 00917-2739                  17 BK 03566-LTS                                                 APT 504                              17 BK 03566-LTS
                                                                                                             SAN JUAN, PR 00917-2739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
111 BETANCOURT CRUZ,              06/14/18   Employees Retirement           44658                $ 37,564.78* BETANCOURT CRUZ,         06/19/18   Employees Retirement           83190          $ 37,564.78*
    ENNIR J                                  System of the Government of                                      ENNIR J                             System of the Government of
    PO BOX 610                               the Commonwealth of Puerto                                       PO BOX 610                          the Commonwealth of Puerto
    SAINT JUST, PR 00978-                    Rico                                                             SAINT JUST, PR 00978-               Rico
    0610                                     17 BK 03566-LTS                                                  0610                                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
112 BETANCOURT                    05/24/18   Employees Retirement           24623                 $ 18,199.92 BETANCOURT               05/23/18   Employees Retirement           30210           $ 18,199.92
    DELGADO, JOSE R                          System of the Government of                                      DELGADO, JOSE R                     System of the Government of
    URB HIGHLAND PARK                        the Commonwealth of Puerto                                       URB HIGHLAND PARK                   the Commonwealth of Puerto
    719 CALLE CIPRES                         Rico                                                             719 CALLE CIPRES                    Rico
    SAN JUAN, PR 00924                       17 BK 03566-LTS                                                  SAN JUAN, PR 00924                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
113 BETANCOURT DIAZ,              04/24/18   Employees Retirement            6834                $ 100,600.24 BETANCOURT DIAZ,         04/27/18   Employees Retirement           7098           $ 100,600.24
    ELIEZER                                  System of the Government of                                      ELIEZER                             System of the Government of
    HC 646 BOX 8172                          the Commonwealth of Puerto                                       HC 645 BOX 8172                     the Commonwealth of Puerto
    TRUJILLO ALTO, PR                        Rico                                                             TRUJILLO ALTO, PR                   Rico
    00760                                    17 BK 03566-LTS                                                  00976                               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
114 BETANCOURT GARCIA,            05/23/18   Employees Retirement           19217                 $ 75,000.00 BETANCOURT GARCIA,       05/24/18   Employees Retirement           24993           $ 75,000.00
    JUAN D                                   System of the Government of                                      JUAN D                              System of the Government of
    207 PORTALES DE                          the Commonwealth of Puerto                                       207 PORTALES DE                     the Commonwealth of Puerto
    CAROLINA                                 Rico                                                             CAROLINA                            Rico
    CAROLINA, PR 00986                       17 BK 03566-LTS                                                  CAROLINA, PR 00986                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 22 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 24 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
115 BETANCOURT                    04/12/18   Employees Retirement            6581              Undetermined* BETANCOURT               04/13/18   Employees Retirement           7348         Undetermined*
    SANTIAGO, JULIO                          System of the Government of                                     SANTIAGO, JULIO                     System of the Government of
    HC 6 BOX 94528                           the Commonwealth of Puerto                                      HC 6 BOX 94528                      the Commonwealth of Puerto
    ARECIBO, PR 00612-9652                   Rico                                                            ARECIBO, PR 00612-9652              Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
116 BIGIO BENITEZ,                06/26/18   Employees Retirement           42861                 $ 44,034.63 BIGIO BENITEZ,          06/27/18   Employees Retirement           39677           $ 44,034.63
    GLENDA Y.                                System of the Government of                                      GLENDA Y.                          System of the Government of
    COND PUERTA DE LA                        the Commonwealth of Puerto                                       PUERTA DE LA BAHIA                 the Commonwealth of Puerto
    BAHIA                                    Rico                                                             1050 AVE LAS PALMAS                Rico
    1050 AVE LAS PALMAS                      17 BK 03566-LTS                                                  APT 513                            17 BK 03566-LTS
    APT 513                                                                                                   SAN JUAN, PR 00907
    SAN JUAN, PR 00907

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
117 BLANCO MARTE,                 05/25/18   Employees Retirement           22591                $ 71,175.37* BLANCO MARTE,           05/25/18   Employees Retirement           23153          $ 71,175.37*
    MARIA A                                  System of the Government of                                      MARIA A                            System of the Government of
    CALLE CORDOVA 376-C                      the Commonwealth of Puerto                                       CALLE CORDOVA 376-C                the Commonwealth of Puerto
    URBANIZACION                             Rico                                                             URBANIZACION                       Rico
    VISTAMAR                                 17 BK 03566-LTS                                                  VISTAMAR                           17 BK 03566-LTS
    CAROLINA, PR 00983-                                                                                       CAROLINA, PR 00983-
    1415                                                                                                      1415

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
118 BONILLA ORTIZ,                06/28/18   Employees Retirement           65491                 $ 56,000.00 BONILLA ORTIZ,          06/28/18   Employees Retirement           67946           $ 56,000.00
    MARITZA                                  System of the Government of                                      MARITZA                            System of the Government of
    BOX 205                                  the Commonwealth of Puerto                                       BOX 205                            the Commonwealth of Puerto
    BARRANQUITAS, PR                         Rico                                                             BARRANQUITAS, PR                   Rico
    00794                                    17 BK 03566-LTS                                                  00794                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
119 BRAVO LOPEZ, EDITH            07/05/18   Employees Retirement           129577                $ 10,107.35 BRAVO LOPEZ, EDITH      07/05/18   Employees Retirement           155750          $ 10,107.35
    AVE LULIO E                              System of the Government of                                      AVE. LULIO SOAVEDRA                System of the Government of
    SAAVEDRA 339                             the Commonwealth of Puerto                                       339                                the Commonwealth of Puerto
    ISABELA, PR 00662                        Rico                                                             ISABELA, PR 00662                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 23 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 25 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT               NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
120 BURGOS APONTE,                05/24/18   Employees Retirement           36231                 $ 71,064.00 BURGOS APONTE,         10/03/18   Employees Retirement           167606          $ 71,064.00
    CARMEN                                   System of the Government of                                      CARMEN                            System of the Government of
    URB LOMAS VERDES                         the Commonwealth of Puerto                                       URB LOMAS VERDES                  the Commonwealth of Puerto
    CALLE DRAGON X44                         Rico                                                             X44 CALLE DRAGON                  Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                  BAYAMON, PR 00956                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
121 BURGOS FERMAINT,              05/29/18   Employees Retirement           37957              Undetermined* BURGOS FERMAINT,        06/28/18   Employees Retirement           154652       Undetermined*
    NITZA G.                                 System of the Government of                                     NITZA G.                           System of the Government of
    URB PARQUE ECUESTRE                      the Commonwealth of Puerto                                      URB PARQUE ECUESTRE                the Commonwealth of Puerto
    CALLE IMPERIAL                           Rico                                                            CALLE IMPERIAL                     Rico
    BLOQUE S12                               17 BK 03566-LTS                                                 BLOQUE S12                         17 BK 03566-LTS
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
122 BURGOS FERMAINT,              06/28/18   Employees Retirement           129897             Undetermined* BURGOS FERMAINT,        06/28/18   Employees Retirement           154652       Undetermined*
    NITZA G.                                 System of the Government of                                     NITZA G.                           System of the Government of
    URB PARQUE ECUESTRE                      the Commonwealth of Puerto                                      URB PARQUE ECUESTRE                the Commonwealth of Puerto
    CALLE IMPERIAL                           Rico                                                            CALLE IMPERIAL                     Rico
    BLOQUE S12                               17 BK 03566-LTS                                                 BLOQUE S12                         17 BK 03566-LTS
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
123 BURGOS MILLAN,                04/05/18   Employees Retirement            4593                $ 55,140.68* BURGOS MILLAN,         04/05/18   Employees Retirement           4623           $ 55,140.68*
    RAQUEL                                   System of the Government of                                      RAQUEL                            System of the Government of
    VILLAS DE RIO GRANDE                     the Commonwealth of Puerto                                       VILLAS DE RIO GRANDE              the Commonwealth of Puerto
    H8 CALLE FRANCISCO                       Rico                                                             H 8 CALLE FRANCISCO               Rico
    MOJICA                                   17 BK 03566-LTS                                                  MOJICA                            17 BK 03566-LTS
    RIO GRANDE, PR 00745-                                                                                     RIO GRANDE, PR 00745
    2803

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
124 BURGOS RIVERA,                05/23/18   Employees Retirement           19135              Undetermined* BURGOS RIVERA,          05/23/18   Employees Retirement           19159        Undetermined*
    MAGALY                                   System of the Government of                                     MAGALY                             System of the Government of
    URB. EL CORTIJO                          the Commonwealth of Puerto                                      URB EL CORTIJO                     the Commonwealth of Puerto
    0028 CALLE 3                             Rico                                                            0028 CALLE 3                       Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                 BAYAMON, PR 00956                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 24 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 26 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
125 BURGOS RIVERA,                05/23/18   Employees Retirement           19161              Undetermined* BURGOS RIVERA,         05/23/18   Employees Retirement           19159        Undetermined*
    MAGALY                                   System of the Government of                                     MAGALY                            System of the Government of
    URB. EL CORTIJO                          the Commonwealth of Puerto                                      URB EL CORTIJO                    the Commonwealth of Puerto
    0028 CALLE 3                             Rico                                                            0028 CALLE 3                      Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                 BAYAMON, PR 00956                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
126 CABAN AVILES, NOEL            07/05/18   Employees Retirement           156300               $ 56,239.03* CABAN AVILES, NOEL    07/05/18   Employees Retirement           156942         $ 56,239.03*
    HC 3 BOX 29042-7                         System of the Government of                                      HC-60 BOX 29042-7                System of the Government of
    AGUADA, PR 00602                         the Commonwealth of Puerto                                       AGUADA, PR 00602                 the Commonwealth of Puerto
                                             Rico                                                                                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
127 CABAN CORTES,                 05/29/18   Employees Retirement           38043                   $ 3,081.32 CABAN CORTES,        05/29/18   Employees Retirement           38358            $ 3,081.32
    GLORIA                                   System of the Government of                                       GLORIA                          System of the Government of
    381 AVE FELISA                           the Commonwealth of Puerto                                        381 AVE FELISA                  the Commonwealth of Puerto
    GAUTIER PASEOMONTE                       Rico                                                              GAUTIER PASEOMONTE              Rico
    APT 505                                  17 BK 03566-LTS                                                   APT. 505                        17 BK 03566-LTS
    SAN JUAN, PR 00926                                                                                         SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
128 CAICOYA ORTIZ,                06/22/18   Employees Retirement           46494              Undetermined* CAICOYA ORTIZ,         06/26/18   Employees Retirement           84018        Undetermined*
    LOURDES INES                             System of the Government of                                     LOURDES INES                      System of the Government of
    URB. VILLA DEL                           the Commonwealth of Puerto                                      URB. VILLA DEL                    the Commonwealth of Puerto
    CARMEN                                   Rico                                                            CARMEN                            Rico
    #3311 CALLES                             17 BK 03566-LTS                                                 #3311 CALLE TOSCANIA              17 BK 03566-LTS
    TOSCANIA                                                                                                 PONCE, PR 00716
    PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
129 CALDERON FRADERA,             06/29/18   Employees Retirement           80927                $ 35,330.07* CALDERON FRADERA,     06/29/18   Employees Retirement           87270           $ 35,330.07
    RICARDO L.                               System of the Government of                                      RICARDO L.                       System of the Government of
    URB. BRASILIA                            the Commonwealth of Puerto                                       URB. BRASILIA                    the Commonwealth of Puerto
    M - 9 CALLE 6                            Rico                                                             M -9 CALLE 6                     Rico
    VEGA BAJA, PR 00693                      17 BK 03566-LTS                                                  VEGA BAJA, PR 00693              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 25 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                    Exhibit A - Schedule of Claims - English Page 27 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
130 CALO BIRRIEL, NANCY          06/26/18   Employees Retirement           52651                 $ 43,063.10 CALO BIRRIEL, NANCY   06/26/18   Employees Retirement           98084          $ 43,063.10
    HC03 BOX 12565                          System of the Government of                                      HC 03 BOX 12565                  System of the Government of
    CAROLINA, PR 00987                      the Commonwealth of Puerto                                       CAROLINA, PR 00987               the Commonwealth of Puerto
                                            Rico                                                                                              Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
131 CAMACHO MONTALVO,            05/29/18   Employees Retirement           24937                 $ 45,326.25 CAMACHO MONTALVO,     05/29/18   Employees Retirement           27450          $ 45,326.25
    ANNETTE                                 System of the Government of                                      ANNETTE                          System of the Government of
    VILLA FONTANA                           the Commonwealth of Puerto                                       VILLA FONTANA                    the Commonwealth of Puerto
    VIA 58 3 ES 13                          Rico                                                             3ES 13 VIA 58                    Rico
    CAROLINA, PR 00983                      17 BK 03566-LTS                                                  CAROLINA, PR 00983               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
132 CAMACHO MONTALVO,            05/29/18   Employees Retirement           26051                 $ 45,326.25 CAMACHO MONTALVO,     05/29/18   Employees Retirement           27450          $ 45,326.25
    ANNETTE                                 System of the Government of                                      ANNETTE                          System of the Government of
    VILLA FONTANA                           the Commonwealth of Puerto                                       VILLA FONTANA                    the Commonwealth of Puerto
    3 ES - 13 VIA 58                        Rico                                                             3ES 13 VIA 58                    Rico
    CAROLINA, PR 00983                      17 BK 03566-LTS                                                  CAROLINA, PR 00983               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
133 CAMACHO MONTALVO,            05/29/18   Employees Retirement           26466                 $ 45,326.25 CAMACHO MONTALVO,     05/29/18   Employees Retirement           27450          $ 45,326.25
    ANNETTE                                 System of the Government of                                      ANNETTE                          System of the Government of
    VILLA FONTANA                           the Commonwealth of Puerto                                       VILLA FONTANA                    the Commonwealth of Puerto
    3ES 13 VIA 58                           Rico                                                             3ES 13 VIA 58                    Rico
    CAROLINA, PR 00983                      17 BK 03566-LTS                                                  CAROLINA, PR 00983               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
134 CAMACHO MONTALVO,            05/29/18   Employees Retirement           26847                 $ 45,326.25 CAMACHO MONTALVO,     05/29/18   Employees Retirement           27450          $ 45,326.25
    ANNETTE                                 System of the Government of                                      ANNETTE                          System of the Government of
    VILLA FONTANA                           the Commonwealth of Puerto                                       VILLA FONTANA                    the Commonwealth of Puerto
    3ES 13 VIA 58                           Rico                                                             3ES 13 VIA 58                    Rico
    CAROLINA, PR 00983                      17 BK 03566-LTS                                                  CAROLINA, PR 00983               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 26 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 28 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
135 CAMACHO QUINONES,             06/26/18   Employees Retirement           50050              Undetermined* CAMACHO QUINONES,       06/27/18   Employees Retirement           95670        Undetermined*
    LILLIAN Z.                               System of the Government of                                     LILLIAN Z.                         System of the Government of
    URB EL VALLE                             the Commonwealth of Puerto                                      URB EL VALLE                       the Commonwealth of Puerto
    ROSALES A-14                             Rico                                                            ROSALES A-14                       Rico
    LAJAS, PR 00667                          17 BK 03566-LTS                                                 LAJAS, PR 00667                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
136 CAMACHO REYES,                04/09/18   Employees Retirement            6473                $ 87,273.00* CAMACHO REYES,         04/17/18   Employees Retirement           7587           $ 87,273.00*
    ROSA                                     System of the Government of                                      ROSA                              System of the Government of
    CALLE BARONESA 4004                      the Commonwealth of Puerto                                       CALLE BARONESA 4004               the Commonwealth of Puerto
    URB. MONTE BELLO                         Rico                                                             URB. MONTE BELLO                  Rico
    HORMIGUEROS, PR                          17 BK 03566-LTS                                                  HORMIGUEROS, PR                   17 BK 03566-LTS
    00660                                                                                                     00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
137 CAMACHO SOTO,                 05/18/18   Employees Retirement           14007              Undetermined* CAMACHO SOTO,           05/18/18   Employees Retirement           16069        Undetermined*
    MARIBEL                                  System of the Government of                                     MARIBEL                            System of the Government of
    AVE LAS PALMAS                           the Commonwealth of Puerto                                      AVE LAS PALMAS                     the Commonwealth of Puerto
    NUM 1051 PDA 15                          Rico                                                            NUM 1051 PDA 15                    Rico
    SAN JUAN, PR 00907                       17 BK 03566-LTS                                                 SAN JUAN, PR 00907                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
138 CAMINERO RAMOS,               05/09/18   Employees Retirement           12679               $ 100,000.00* CAMINERO RAMOS,        05/09/18   Employees Retirement           12738         $ 100,000.00*
    CESAR                                    System of the Government of                                      CESAR                             System of the Government of
    URB. HACIENDA                            the Commonwealth of Puerto                                       URB HACIENDA                      the Commonwealth of Puerto
    FLORIDA, CALLE                           Rico                                                             FLORIDA                           Rico
    TAMAIMA 358                              17 BK 03566-LTS                                                  358 C TAMAIMA                     17 BK 03566-LTS
    YAUCO, PR 00698                                                                                           YAUCO, PR 00698-4530

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
139 CAMPOS THODE,                 06/11/18   Employees Retirement           63843                $ 105,263.16 CAMPOS THODE,          06/11/18   Employees Retirement           78511          $ 105,263.16
    LOURDES D.                               System of the Government of                                      LOURDES D.                        System of the Government of
    URB FLORAL PARK                          the Commonwealth of Puerto                                       URB FLORAL PARK                   the Commonwealth of Puerto
    420 CALLE FRANCIA                        Rico                                                             420 CALLE FRANCIA                 Rico
    SAN JUAN, PR 00917                       17 BK 03566-LTS                                                  SAN JUAN, PR 00917                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 27 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 29 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
140 CAMPOS THODE,                 06/11/18   Employees Retirement           77386                $ 105,263.16 CAMPOS THODE,           06/11/18   Employees Retirement           78511          $ 105,263.16
    LOURDES D.                               System of the Government of                                      LOURDES D.                         System of the Government of
    URB FLORAL PARK                          the Commonwealth of Puerto                                       URB FLORAL PARK                    the Commonwealth of Puerto
    420 CALLE FRANCIA                        Rico                                                             420 CALLE FRANCIA                  Rico
    SAN JUAN, PR 00917                       17 BK 03566-LTS                                                  SAN JUAN, PR 00917                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
141 CANA RIVERA, JUAN             05/24/18   Employees Retirement           14441                $ 82,531.84* CANA RIVERA, JUAN       05/24/18   Employees Retirement           28476          $ 82,531.84*
    CALLE AMPARO 4-A                         System of the Government of                                      CALLE AMPARO 4-A                   System of the Government of
    CATANO, PR 00962                         the Commonwealth of Puerto                                       CATANO, PR 00962                   the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
142 CANCEL BERMUDEZ,              06/26/18   Employees Retirement           93936                $ 77,807.82* CANCEL BERMUDEZ,        06/26/18   Employees Retirement           167772         $ 77,807.82*
    YOLANDA                                  System of the Government of                                      YOLANDA                            System of the Government of
    RR 1 BOX 41375                           the Commonwealth of Puerto                                       RR1 BOX 41375                      the Commonwealth of Puerto
    SAN SEBASTIAN, PR                        Rico                                                             SAN SEBASTIAN, PR                  Rico
    00685                                    17 BK 03566-LTS                                                  00685                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
143 CANCEL CUEVAS,                06/27/18   Employees Retirement           104397             Undetermined* CANCEL CUEVAS,           06/27/18   Employees Retirement           107929       Undetermined*
    NILBIA E.                                System of the Government of                                     NILBIA E.                           System of the Government of
    CALLE 12 C21                             the Commonwealth of Puerto                                      CALLE 12 C-21                       the Commonwealth of Puerto
    URB VISTA AZUL                           Rico                                                            URB. VISTA AZUL                     Rico
    ARECIBO, PR 00612-2545                   17 BK 03566-LTS                                                 ARECIBO, PR 00612-2545              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
144 CANCEL CUEVAS,                06/27/18   Employees Retirement           99657              Undetermined* CANCEL CUEVAS,           06/27/18   Employees Retirement           122707       Undetermined*
    NILBIA E.                                System of the Government of                                     NILBIA E.                           System of the Government of
    CALLE-12-C-21-URB.                       the Commonwealth of Puerto                                      CALLE 12 - C21 - URB.               the Commonwealth of Puerto
    VISTA AZUL                               Rico                                                            VISTA AZUL                          Rico
    ARECIBO, PR 00612-2545                   17 BK 03566-LTS                                                 ARECIBO, PR 00612                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 28 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 30 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
145 CANCEL CUEVAS,                06/27/18   Employees Retirement           104164             Undetermined* CANCEL CUEVAS,           06/27/18   Employees Retirement           104881       Undetermined*
    NILBIA E.                                System of the Government of                                     NILBIA E.                           System of the Government of
    CALLE 12 C-21                            the Commonwealth of Puerto                                      CALLE 12-C-21- URB.                 the Commonwealth of Puerto
    URB. VISTA AZUL                          Rico                                                            VISTA AZUL                          Rico
    ARECIBO, PR 00612-2545                   17 BK 03566-LTS                                                 ARECIBO, PR 00612-2545              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
146 CANDELARIA ROSARIO,           06/29/18   Employees Retirement           160307             Undetermined* CANDELARIA ROSARIO,      06/28/18   Employees Retirement           80163        Undetermined*
    DAMARIS                                  System of the Government of                                     DAMARIS                             System of the Government of
    URB MADRID CALLE-2                       the Commonwealth of Puerto                                      URBANIZACION                        the Commonwealth of Puerto
    B-9                                      Rico                                                            MADRID                              Rico
    HUMACAO, PR 00791                        17 BK 03566-LTS                                                 CALLE-2 B-9                         17 BK 03566-LTS
                                                                                                             HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
147 CARABALLO DE JESUS,           07/05/18   Employees Retirement           112324             Undetermined* CARABALLO DE JESUS,      07/05/18   Employees Retirement           157059       Undetermined*
    FELICITA                                 System of the Government of                                     FELICITA                            System of the Government of
    URB HACIENDA                             the Commonwealth of Puerto                                      AM-20 CALLE 53                      the Commonwealth of Puerto
    AM20 CALLE 53                            Rico                                                            GUAYAMA, PR 00784                   Rico
    GUAYAMA, PR 00784                        17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
148 CARABALLO                     06/29/18   Employees Retirement           82589              Undetermined* CARABALLO                07/26/18   Employees Retirement           161492       Undetermined*
    QUINONES, JIMMY                          System of the Government of                                     QUINONES, JIMMY                     System of the Government of
    URB HILL VIEW                            the Commonwealth of Puerto                                      URB. HILL VIEW                      the Commonwealth of Puerto
    CALLE LAKE NUM 328                       Rico                                                            CALLE LAKE NUM. 328                 Rico
    YAUCO, PR 00698                          17 BK 03566-LTS                                                 YAUCO, PR 00698                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
149 CARABALLO RAMIREZ,            05/25/18   Employees Retirement           34740                   $ 3,400.00 CARABALLO RAMIREZ,     05/25/18   Employees Retirement           35978            $ 3,400.00
    MARTA                                    System of the Government of                                       MARTA                             System of the Government of
    BO. MAGINAS                              the Commonwealth of Puerto                                        BO. MAGINAS                       the Commonwealth of Puerto
    162 CALLE ORQUIDEA                       Rico                                                              162 CALLE ORQUIDEA                Rico
    SABANA GRANDE, PR                        17 BK 03566-LTS                                                   SABANA GRANDE, PR                 17 BK 03566-LTS
    00637                                                                                                      00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 29 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 31 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
150 CARABALLO, VICTOR M           05/22/18   Employees Retirement           16171                 $ 43,784.82 CARABALLO, VICTOR M   05/22/18   Employees Retirement           18371           $ 43,784.82
    JARD COUNTRY CLUB                        System of the Government of                                      CALLE 35 A-E-2                   System of the Government of
    CALLE 35 AE2                             the Commonwealth of Puerto                                       CAROLINA, PR 00983               the Commonwealth of Puerto
    CAROLINA, PR 00983                       Rico                                                                                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
151 CARABALLO, VICTOR M           05/22/18   Employees Retirement           18097                 $ 43,784.82 CARABALLO, VICTOR M   05/22/18   Employees Retirement           18371           $ 43,784.82
    JARD COUNTRY CLUB                        System of the Government of                                      CALLE 35 A-E-2                   System of the Government of
    CALLE 35 AE2                             the Commonwealth of Puerto                                       CAROLINA, PR 00983               the Commonwealth of Puerto
    CAROLINA, PR 00983                       Rico                                                                                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
152 CARDONA CALBAN,               07/05/18   Employees Retirement           129799             Undetermined* CARDONA CALBAN,        07/05/18   Employees Retirement           157877       Undetermined*
    ROSA I                                   System of the Government of                                     ROSA I                            System of the Government of
    124 AVE                                  the Commonwealth of Puerto                                      124 AVE                           the Commonwealth of Puerto
    INTERAMERICANA                           Rico                                                            INTERAMERICANA                    Rico
    AGUADILLA, PR 00603                      17 BK 03566-LTS                                                 AGUADILLA, PR 00603               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
153 CARDONA MARTINO,              06/08/18   Employees Retirement           33500                $ 61,595.98* CARDONA MARTINO,      06/14/18   Employees Retirement           46079          $ 61,595.98*
    FRANCISCO J                              System of the Government of                                      FRANCISCO J                      System of the Government of
    URB LLANOS DE                            the Commonwealth of Puerto                                       LLANOS DE GURABO                 the Commonwealth of Puerto
    GURABO                                   Rico                                                             CALLE ORQUIDEA D 3               Rico
    403 CALLE ORQUIDEA                       17 BK 03566-LTS                                                  GURABO, PR 00778                 17 BK 03566-LTS
    GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
154 CARDONA PEREZ,                06/26/18   Employees Retirement           92436                 $ 65,000.00 CARDONA PEREZ,        06/26/18   Employees Retirement           122578         $ 65,000.00*
    BRENDA I.                                System of the Government of                                      BRENDA I.                        System of the Government of
    HC 1 BOX 6264                            the Commonwealth of Puerto                                       HC 1 BOX 6264                    the Commonwealth of Puerto
    MOCA, PR 00676                           Rico                                                             MOCA, PR 00676                   Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
155 CARMONA RODRIGUEZ,            06/11/18   Employees Retirement           62803              Undetermined* CARMONA RODRIGUEZ,     06/11/18   Employees Retirement           63621        Undetermined*
    NAIDA                                    System of the Government of                                     NAIDA                             System of the Government of
    PO BOX 7317                              the Commonwealth of Puerto                                      PO BOX 7317                       the Commonwealth of Puerto
    CAROLINA, PR 00986                       Rico                                                            CAROLINA, PR 00986                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 30 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 32 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
156 CARRASQUILLO                  06/29/18   Employees Retirement           50920              Undetermined* CARRASQUILLO            06/29/18   Employees Retirement           58128        Undetermined*
    RIVERA, ABIGAIL                          System of the Government of                                     RIVERA, ABIGAIL                    System of the Government of
    CALLE 3 #35 URB.                         the Commonwealth of Puerto                                      CALLE 3 #35                        the Commonwealth of Puerto
    TREASURE VALLEY                          Rico                                                            URB. TREASURE                      Rico
    CIDRA, PR 00739                          17 BK 03566-LTS                                                 VALLEY                             17 BK 03566-LTS
                                                                                                             CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
157 CARRERAS, ANA L               06/26/18   Employees Retirement           51346                $ 244,079.93 CARRERAS, ANA L        06/26/18   Employees Retirement           97201          $ 244,079.93
    URB VILLA PALMERAS                       System of the Government of                                      URB VILLA PALMERAS                System of the Government of
    313 RAFAEL CEPEDA ST                     the Commonwealth of Puerto                                       313 RAFAEL CEPEDA ST              the Commonwealth of Puerto
    SAN JUAN, PR 00915                       Rico                                                             SAN JUAN, PR 00915                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
158 CARRERO GALLOZA,              06/28/18   Employees Retirement           62980                $ 22,748.52* CARRERO GALLOZA,       06/28/18   Employees Retirement           47141          $ 22,748.52*
    IDELISA                                  System of the Government of                                      IDELISA                           System of the Government of
    URB ALTURAS DE                           the Commonwealth of Puerto                                       URB ALTURAS DE                    the Commonwealth of Puerto
    FLAMBOYÁN BB-7                           Rico                                                             FLAMBOYAN                         Rico
    CALLE 17                                 17 BK 03566-LTS                                                  BB7 CALLE 17                      17 BK 03566-LTS
    BAYAMON, PR 00959                                                                                         BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
159 CARRION GARCIA,               06/14/18   Employees Retirement           40419                $ 136,625.44 CARRION GARCIA,        06/14/18   Employees Retirement           41557         $ 136,625.44*
    CESAR I                                  System of the Government of                                      CESAR I                           System of the Government of
    PO BOX 8266                              the Commonwealth of Puerto                                       P.O. BOX 8266                     the Commonwealth of Puerto
    HUMACAO, PR 00792-                       Rico                                                             HUMACAO, PR 00792                 Rico
    8266                                     17 BK 03566-LTS                                                                                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
160 CARTAGENA                     06/06/18   Employees Retirement           61197              Undetermined* CARTAGENA               06/06/18   Employees Retirement           71323        Undetermined*
    MALDONADO, MARYLI                        System of the Government of                                     MALDONADO, MARYLI                  System of the Government of
    URB VENUS GARDENS                        the Commonwealth of Puerto                                      URB VENUS GARDENS                  the Commonwealth of Puerto
    OESTE                                    Rico                                                            OESTE                              Rico
    BB21 CALLE A                             17 BK 03566-LTS                                                 BB 21 CALLE A                      17 BK 03566-LTS
    SAN JUAN, PR 00926                                                                                       SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 31 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 33 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
161 CARTAGENA RIVERA,             05/22/18   Employees Retirement           32816                 $ 46,767.83 CARTAGENA RIVERA,      05/29/18   Employees Retirement           23903           $ 46,767.83
    MARIBEL                                  System of the Government of                                      MARIBEL                           System of the Government of
    COOP JDNS DE SAN                         the Commonwealth of Puerto                                       COOP JDNS DE SAN                  the Commonwealth of Puerto
    IGNACIO                                  Rico                                                             IGNACIO                           Rico
    APT 1801 B                               17 BK 03566-LTS                                                  APT 1801 B                        17 BK 03566-LTS
    SAN JUAN, PR 00927                                                                                        SAN JUAN, PR 00927

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
162 CASANOVA QUINONES,            06/25/18   Employees Retirement           98422                $ 60,000.00* CASANOVA QUINONES,     07/02/18   Employees Retirement           114547         $ 60,000.00*
    ALBERTO                                  System of the Government of                                      ALBERTO                           System of the Government of
    P.O. BOX 560-713                         the Commonwealth of Puerto                                       PO BOX 560-713                    the Commonwealth of Puerto
    GUAYANILLA, PR 00656                     Rico                                                             GUAYANILLA, PR 00656              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
163 CASIANO ACEVEDO,              05/30/18   Employees Retirement           33434              Undetermined* CASIANO ACEVEDO,        05/30/18   Employees Retirement           41553        Undetermined*
    CLARA L                                  System of the Government of                                     CLARA L                            System of the Government of
    PO BOX 264                               the Commonwealth of Puerto                                      PO BOX 264                         the Commonwealth of Puerto
    GUAYAMA, PR 00785-                       Rico                                                            GUAYAMA, PR 00785                  Rico
    0264                                     17 BK 03566-LTS                                                                                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
164 CASIANO IRIZARRY,             06/28/18   Employees Retirement           64541                 $ 32,000.00 CASIANO IRIZARRY,      07/03/18   Employees Retirement           149602          $ 32,000.00
    ANGEL J.                                 System of the Government of                                      ANGEL J.                          System of the Government of
    P.O. BOX 959                             the Commonwealth of Puerto                                       PO BOX 959                        the Commonwealth of Puerto
    LAJAS, PR 00667                          Rico                                                             LAJAS, PR 00667                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
165 CASTILLO MORALES,             06/28/18   Employees Retirement           79616                 $ 81,916.24 CASTILLO MORALES,      06/28/18   Employees Retirement           64211           $ 81,916.24
    MARIBEL                                  System of the Government of                                      MARIBEL                           System of the Government of
    HC 03 BOX 13426                          the Commonwealth of Puerto                                       HC 03 BOX 13426                   the Commonwealth of Puerto
    YAUCO, PR 00698                          Rico                                                             YAUCO, PR 00698                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 32 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 34 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
166 CASTRO COTTO,                 07/03/18   Employees Retirement           97880              Undetermined* CASTRO COTTO,            07/03/18   Employees Retirement           138605       Undetermined*
    GLADYS                                   System of the Government of                                     GLADYS                              System of the Government of
    CALLE J-14 BLOQUE                        the Commonwealth of Puerto                                      ALTS DE RIO GRANDE                  the Commonwealth of Puerto
    L-258                                    Rico                                                            BLQ L 258 CALLE 14 J                Rico
    ALTURAS DE RIO                           17 BK 03566-LTS                                                 RIO GRANDE, PR 00745                17 BK 03566-LTS
    GRANDE
    RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
167 CASTRO GONZALEZ,              06/29/18   Employees Retirement           151626                $ 18,274.73 CASTRO GONZALEZ,        06/29/18   Employees Retirement           138387          $ 18,274.73
    TANIA                                    System of the Government of                                      TANIA                              System of the Government of
    PO BOX 632                               the Commonwealth of Puerto                                       P O BOX 632                        the Commonwealth of Puerto
    SAINT JUST, PR 00978                     Rico                                                             SAINT JUST, PR 00978-              Rico
                                             17 BK 03566-LTS                                                  0632                               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
168 CASTRO HIRALDO,               06/20/18   Employees Retirement           87675                $ 46,184.88* CASTRO HIRALDO,         06/15/18   Employees Retirement           37892          $ 46,184.88*
    IVELISSE                                 System of the Government of                                      IVELISSE                           System of the Government of
    4 COND. METROMONTE                       the Commonwealth of Puerto                                       4 COND. METROMONTE                 the Commonwealth of Puerto
    604-B APT 124                            Rico                                                             604-B APT. 124                     Rico
    CAROLINA, PR 00987                       17 BK 03566-LTS                                                  CAROLINA, PR 00987                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
169 CASTRO MELENDEZ,              06/29/18   Employees Retirement           88454                 $ 92,794.31 CASTRO MELENDEZ,        07/06/18   Employees Retirement           138026         $ 92,794.31*
    SOL ANGEL                                System of the Government of                                      SOL ANGEL                          System of the Government of
    275 C/RIO YAGUEZ                         the Commonwealth of Puerto                                       275 C/ RIO YAGUEZ                  the Commonwealth of Puerto
    PASESOS DEL RIO                          Rico                                                             CAGUAS, PR 00725                   Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                                                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
170 CASTRO NIEVES, LUZ G          06/14/18   Employees Retirement           41625                 $ 54,129.74 CASTRO NIEVES, LUZ G    06/14/18   Employees Retirement           45769          $ 54,129.74*
    URB VENUS GARDENS                        System of the Government of                                      URB VENUS GARDENS                  System of the Government of
    753 CALLE ENEAS                          the Commonwealth of Puerto                                       753 CALLE ENEAS                    the Commonwealth of Puerto
    CUPEY                                    Rico                                                             CUPEY                              Rico
    SAN JUAN, PR 00926                       17 BK 03566-LTS                                                  SAN JUAN, PR 00926                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 33 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 35 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
171 CASTRO REYES,                 04/10/18   Employees Retirement            6745              Undetermined* CASTRO REYES,           07/06/18   Employees Retirement           157317       Undetermined*
    CLAMARIS                                 System of the Government of                                     CLAMARIS                           System of the Government of
    RR01 BOX 12765                           the Commonwealth of Puerto                                      URB. ALTURAS DE                    the Commonwealth of Puerto
    TOA ALTA, PR 00953                       Rico                                                            BUCARABONES                        Rico
                                             17 BK 03566-LTS                                                 3W3 CALLE 41                       17 BK 03566-LTS
                                                                                                             TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
172 CASTRO VERA,                  06/18/18   Employees Retirement           44520                   $ 7,232.93 CASTRO VERA,          06/19/18   Employees Retirement           44607            $ 7,232.93
    CARMEN S                                 System of the Government of                                       CARMEN S                         System of the Government of
    CALLE 227 JA-20                          the Commonwealth of Puerto                                        CALLE 227 J-A 20                 the Commonwealth of Puerto
    COUNTRY CLUB                             Rico                                                              COUNTRY CLUB                     Rico
    CAROLINA, PR 00982                       17 BK 03566-LTS                                                   CAROLINA, PR 00982               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
173 CENTENO MELENDEZ,             06/29/18   Employees Retirement           60176                 $ 19,280.40 CENTENO MELENDEZ,      06/29/18   Employees Retirement           131655          $ 19,280.40
    SONIA MARIA                              System of the Government of                                      SONIA MARIA                       System of the Government of
    P.O. BOX 1926                            the Commonwealth of Puerto                                       PO BOX 1926                       the Commonwealth of Puerto
    AIBONITO, PR 00705                       Rico                                                             AIBONITO, PR 00705                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
174 CHAPARRO ROSA,                06/29/18   Employees Retirement           115750             Undetermined* CHAPARRO ROSA,          06/29/18   Employees Retirement           157222       Undetermined*
    CARLOS A                                 System of the Government of                                     CARLOS A                           System of the Government of
    HC 61 BOX 34986                          the Commonwealth of Puerto                                      HC 61 BOX 34986                    the Commonwealth of Puerto
    AGUADA, PR 00602-9782                    Rico                                                            AGUADA, PR 00602-9782              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
175 CHEVERE MARRERO,              06/29/18   Employees Retirement           80397                 $ 40,673.91 CHEVERE MARRERO,       06/29/18   Employees Retirement           82514           $ 40,673.91
    LIZETTE                                  System of the Government of                                      LIZETTE                           System of the Government of
    CALLE ADOLFO                             the Commonwealth of Puerto                                       CALLE ADOLFO                      the Commonwealth of Puerto
    CASTRO CALDERON                          Rico                                                             CASTRO CALDERON                   Rico
    1017                                     17 BK 03566-LTS                                                  1017 TRASTALLERES                 17 BK 03566-LTS
    TRASTALLERES                                                                                              SAN JUAN, PR 00909
    SAN JUAN, PR 00907

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 34 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 36 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
176 CHEVRES DIAZ, LORNA           06/29/18   Employees Retirement           163420                $ 40,562.64 CHEVRES DIAZ, LORNA   07/03/18   Employees Retirement           149294         $ 40,562.64
    PO BOX 265                               System of the Government of                                      PO BOX 265                       System of the Government of
    BARRANQUITAS, PR                         the Commonwealth of Puerto                                       BARRANQUITAS, PR                 the Commonwealth of Puerto
    00794                                    Rico                                                             00794                            Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
177 CINTRON COLON,                06/28/18   Employees Retirement           86158                $ 34,124.64* CINTRON COLON,        06/28/18   Employees Retirement           123135        $ 34,124.64*
    YARILIZ                                  System of the Government of                                      YARILIZ                          System of the Government of
    HC 73 BOX 5781                           the Commonwealth of Puerto                                       HC 73 BOX 5781                   the Commonwealth of Puerto
    NARANJITO, PR 00719                      Rico                                                             NARANJITO, PR 00719              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
178 CINTRON NAZARIO,              06/29/18   Employees Retirement           110909                $ 39,540.00 CINTRON NAZARIO,      06/29/18   Employees Retirement           132598         $ 39,540.00
    CARMEN T                                 System of the Government of                                      CARMEN T                         System of the Government of
    PO BOX 8461                              the Commonwealth of Puerto                                       P O BOX 8461                     the Commonwealth of Puerto
    CAGUAS, PR 00726                         Rico                                                             CAGUAS, PR 00726                 Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
179 CINTRON RIVERA,               06/28/18   Employees Retirement           60965                 $ 65,042.00 CINTRON RIVERA,       06/29/18   Employees Retirement           127510         $ 65,042.00
    ELIZABETH                                System of the Government of                                      ELIZABETH                        System of the Government of
    PO BOX 1716                              the Commonwealth of Puerto                                       PO BOX 1716                      the Commonwealth of Puerto
    ARECIBO, PR 00613                        Rico                                                             ARECIBO, PR 00613                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
180 CINTRON RODRIGUEZ,            05/29/18   Employees Retirement           23050                $ 44,735.00* CINTRON RODRIGUEZ,    05/29/18   Employees Retirement           29774         $ 44,735.00*
    PABLO                                    System of the Government of                                      PABLO                            System of the Government of
    URB MANSION DEL                          the Commonwealth of Puerto                                       URB MANSION DEL                  the Commonwealth of Puerto
    NORTE                                    Rico                                                             NORTE NC 24                      Rico
    NC 24 CAMINO LOS                         17 BK 03566-LTS                                                  CAMINO LOS ABADES                17 BK 03566-LTS
    ABADES                                                                                                    TOA BAJA, PR 00949
    TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 35 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 37 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
181 CINTRON RUIZ, RAFAEL          06/27/18   Employees Retirement           56585                 $ 43,000.00 CINTRON RUIZ, RAFAEL    06/27/18   Employees Retirement           60098           $ 43,000.00
    URB. PARK GARDENS                        System of the Government of                                      URB. PARK GARDENS                  System of the Government of
    F -10 CALLE                              the Commonwealth of Puerto                                       F-10 CALLE                         the Commonwealth of Puerto
    GENERALIFE                               Rico                                                             GENERALIFE                         Rico
    SAN JUAN, PR 00926                       17 BK 03566-LTS                                                  SAN JUAN, PR 00926                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
182 CINTRON VELEZ,                05/14/18   Employees Retirement           15233                   $ 1,421.49 CINTRON VELEZ,         08/08/18   Employees Retirement           161633           $ 1,421.49
    ZARELDA M                                System of the Government of                                       ZARELDA M                         System of the Government of
    URB LAS AMERICAS                         the Commonwealth of Puerto                                        URB LAS AMERICAS                  the Commonwealth of Puerto
    973 TEGUCIGALPA                          Rico                                                              973 TEGUCIGALPA ST.               Rico
    SAN JUAN, PR 00921                       17 BK 03566-LTS                                                   SAN JUAN, PR 00921                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
183 CIRILO CASTRO, GISELA         06/05/18   Employees Retirement           48061                 $ 43,419.00 CIRILO CASTRO, GISELA   06/07/18   Employees Retirement           49461           $ 43,419.00
    URB MONTE GRANDE                         System of the Government of                                      URB MONTE GRANDE                   System of the Government of
    C27 RUBI                                 the Commonwealth of Puerto                                       C27 CALLE RUBI                     the Commonwealth of Puerto
    CABO ROJO, PR 00623                      Rico                                                             CABO ROJO, PR 00623                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
184 CLAUDIO NATER, LUZ            06/27/18   Employees Retirement           41562              Undetermined* CLAUDIO NATER, LUZ       06/27/18   Employees Retirement           110263       Undetermined*
    BELEN                                    System of the Government of                                     BELEN                               System of the Government of
    CALLE 1 F18                              the Commonwealth of Puerto                                      CALLE 1 F18                         the Commonwealth of Puerto
    URBANIZACION SANTA                       Rico                                                            URBANIZACION SANTA                  Rico
    ANA                                      17 BK 03566-LTS                                                 ANA                                 17 BK 03566-LTS
    VEGA ALTA, PR 00692                                                                                      VEGA AITA, PR 00692

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
185 COLLAZO MORALES,              07/03/18   Employees Retirement           75268                 $ 12,120.00 COLLAZO MORALES,        07/03/18   Employees Retirement           93055           $ 12,120.00
    CARMEN E.                                System of the Government of                                      CARMEN E.                          System of the Government of
    CALLE 2 F-17                             the Commonwealth of Puerto                                       CALLE 2 F-17 URB. LAS              the Commonwealth of Puerto
    URB. LAS VEGAS                           Rico                                                             VEGAS                              Rico
    CATANO, PR 00962                         17 BK 03566-LTS                                                  CATAÑO, PR 00962                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 36 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 38 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
186 COLLAZO QUILES,               10/10/18   Employees Retirement           167733                $ 10,000.00 COLLAZO QUILES,       10/10/18   Employees Retirement           167734          $ 10,000.00
    BRUNILDA                                 System of the Government of                                      BRUNILDA                         System of the Government of
    P.O. BOX 2332                            the Commonwealth of Puerto                                       P.O. BOX 2332                    the Commonwealth of Puerto
    MAYAGUEZ, PR 00681-                      Rico                                                             MAYAGUEZ, PR 00681-              Rico
    2332                                     17 BK 03566-LTS                                                  2332                             17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
187 COLON CONCEPCION,             06/26/18   Employees Retirement           36478                $ 44,968.36* COLON CONCEPCION,     06/26/18   Employees Retirement           51401          $ 44,968.36*
    WILVIA                                   System of the Government of                                      WILVIA                           System of the Government of
    DIAMOND VILLAGE A7                       the Commonwealth of Puerto                                       URB DIAMOND                      the Commonwealth of Puerto
    CALLE 1                                  Rico                                                             VILLAGE                          Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                  A7 CALLE 1                       17 BK 03566-LTS
                                                                                                              CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
188 COLON CRUZ, EFRAIN            03/12/18   Employees Retirement            2104              Undetermined* COLON CRUZ, EFRAIN     03/12/18   Employees Retirement           2180         Undetermined*
    744 PELICAN CT                           System of the Government of                                     744 PELICAN CT                    System of the Government of
    KISSIMMEE, FL 34759-                     the Commonwealth of Puerto                                      KISSIMMEE, FL 34759-              the Commonwealth of Puerto
    9862                                     Rico                                                            9862                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
189 COLON DE JESUS,               04/19/18   Employees Retirement            7677              Undetermined* COLON DE JESUS,        04/19/18   Employees Retirement           7777         Undetermined*
    EDGARDO                                  System of the Government of                                     EDGARDO                           System of the Government of
    PO BOX 7119                              the Commonwealth of Puerto                                      PO BOX 7119                       the Commonwealth of Puerto
    CAROLINA, PR 00986                       Rico                                                            CAROLINA, PR 00986                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
190 COLON DE JESUS,               04/19/18   Employees Retirement            7773              Undetermined* COLON DE JESUS,        04/19/18   Employees Retirement           7777         Undetermined*
    EDGARDO                                  System of the Government of                                     EDGARDO                           System of the Government of
    PO BOX 7119                              the Commonwealth of Puerto                                      PO BOX 7119                       the Commonwealth of Puerto
    CAROLINA, PR 00986                       Rico                                                            CAROLINA, PR 00986                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
191 COLON DE JESUS,               04/19/18   Employees Retirement            7774              Undetermined* COLON DE JESUS,        04/19/18   Employees Retirement           7777         Undetermined*
    EDGARDO                                  System of the Government of                                     EDGARDO                           System of the Government of
    PO BOX 7119                              the Commonwealth of Puerto                                      PO BOX 7119                       the Commonwealth of Puerto
    CAROLINA, PR 00986                       Rico                                                            CAROLINA, PR 00986                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 37 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 39 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
192 COLON HERNANDEZ,              06/26/18   Employees Retirement           50478                $ 75,000.00* COLON HERNANDEZ,      06/29/18   Employees Retirement           149772         $ 75,000.00*
    NANCY EMY                                System of the Government of                                      NANCY EMY                        System of the Government of
    PO BOX 30684                             the Commonwealth of Puerto                                       PO BOX 30684                     the Commonwealth of Puerto
    SAN JUAN, PR 00929                       Rico                                                             SAN JUAN, PR 00929               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
193 COLON MADERA,                 06/28/18   Employees Retirement           73751              Undetermined* COLON MADERA,          07/06/18   Employees Retirement           158113       Undetermined*
    ANGELA L                                 System of the Government of                                     ANGELA L                          System of the Government of
    1643 W OAKRIDGE RD                       the Commonwealth of Puerto                                      1643 W OAKRIDGE RD                the Commonwealth of Puerto
    APT C                                    Rico                                                            APT C                             Rico
    ORLANDO, FL 32809                        17 BK 03566-LTS                                                 ORLANDO, FL 32809                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
194 COLON MALDONADO,              06/28/18   Employees Retirement           71841              Undetermined* COLON MALDONADO,       06/28/18   Employees Retirement           122967       Undetermined*
    DENISSI                                  System of the Government of                                     DENISSI                           System of the Government of
    HC 37 BOX 3539                           the Commonwealth of Puerto                                      HC 37 BOX 3539                    the Commonwealth of Puerto
    GUANICA, PR 00653                        Rico                                                            GUANICA, PR 00653                 Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
195 COLON OYOLA,                  06/28/18   Employees Retirement           75232                   $ 6,570.46 COLON OYOLA,         07/06/18   Employees Retirement           100765           $ 6,570.46
    MYRIAM D.                                System of the Government of                                       MYRIAM D.                       System of the Government of
    URB. SAN SOUCI                           the Commonwealth of Puerto                                        URB. SAN SOUCI                  the Commonwealth of Puerto
    T-6 CALLE 15                             Rico                                                              T-6 CALLE 15                    Rico
    BAYAMON, PR 00957-                       17 BK 03566-LTS                                                   BAYAMON, PR 00957-              17 BK 03566-LTS
    4302                                                                                                       4302

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
196 COLON PADILLA,                05/30/18   Employees Retirement           38425              Undetermined* COLON PADILLA,         05/30/18   Employees Retirement           38474        Undetermined*
    RODOLFO                                  System of the Government of                                     RODOLFO                           System of the Government of
    CP-14 C/DR PADILLA                       the Commonwealth of Puerto                                      URB LEVITTOWN                     the Commonwealth of Puerto
    TOA BAJA, PR 00949                       Rico                                                            CP14 CDR PADILLA                  Rico
                                             17 BK 03566-LTS                                                 TOA BAJA, PR 00949                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 38 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                     Exhibit A - Schedule of Claims - English Page 40 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
197 COLON RAMOS,                  06/27/18   Employees Retirement           60417                 $ 82,301.23 COLON RAMOS,             06/29/18   Employees Retirement           74440           $ 82,301.23
    SANDRA ENID                              System of the Government of                                      SANDRA ENID                         System of the Government of
    HC 01 BOX 6501                           the Commonwealth of Puerto                                       HC 01 BOX6501                       the Commonwealth of Puerto
    SANTA ISABEL, PR 00757                   Rico                                                             SANTA ISABEL, PR 00757              Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
198 COLON RIVERA, JOSE J          05/18/18   Employees Retirement           11924                $ 69,136.16* COLON RIVERA, JOSE J     05/18/18   Employees Retirement           14648           $ 69,136.16
    URB VISTA AZUL                           System of the Government of                                      URB VISTA AZUL                      System of the Government of
    B22 CALLE YUISA                          the Commonwealth of Puerto                                       B22 CALLE YUISA                     the Commonwealth of Puerto
    RINCON, PR 00677                         Rico                                                             RINCON, PR 00677                    Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
199 COLON RIVERA, JOSE J          05/18/18   Employees Retirement           11952                $ 69,136.16* COLON RIVERA, JOSE J     05/18/18   Employees Retirement           14648           $ 69,136.16
    B-22 CALLE YUISA                         System of the Government of                                      URB VISTA AZUL                      System of the Government of
    RINCON, PR 00677                         the Commonwealth of Puerto                                       B22 CALLE YUISA                     the Commonwealth of Puerto
                                             Rico                                                             RINCON, PR 00677                    Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
200 COLON RODRIGUEZ,              06/19/18   Employees Retirement           75528              Undetermined* COLON RODRIGUEZ,          06/19/18   Employees Retirement           85083        Undetermined*
    JOSE RAMON                               System of the Government of                                     JOSE RAMON                           System of the Government of
    PO BOX 141472                            the Commonwealth of Puerto                                      PO BOX 141472                        the Commonwealth of Puerto
    ARECIBO, PR 00614-1472                   Rico                                                            ARECIBO, PR 00614-1472               Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
201 COLON SANTANA, AIDA           06/29/18   Employees Retirement           106011                $ 1,500.00* COLON SANTANA, AIDA      06/29/18   Employees Retirement           140374          $ 1,500.00*
    MARIA                                    System of the Government of                                      MARIA                               System of the Government of
    CALLE 19-2Q-18                           the Commonwealth of Puerto                                       CALLE 19 2Q-18                      the Commonwealth of Puerto
    CAGUAS, PR 00727                         Rico                                                             URBANIZACION                        Rico
                                             17 BK 03566-LTS                                                  MIRADOR DE BAIROA                   17 BK 03566-LTS
                                                                                                              CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 39 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                     Exhibit A - Schedule of Claims - English Page 41 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
202 COLON SANTANA, AIDA           06/29/18   Employees Retirement           112163                  $ 7,000.00 COLON SANTANA, AIDA     06/29/18   Employees Retirement           145868           $ 7,000.00
    MARIA                                    System of the Government of                                       MARIA                              System of the Government of
    CALLE 19-26-18                           the Commonwealth of Puerto                                        CALLE 19-24-18                     the Commonwealth of Puerto
    URBANIZACION                             Rico                                                              URANIZACION                        Rico
    MIRADORD BAIROE                          17 BK 03566-LTS                                                   MIRADOR DE BARRIA                  17 BK 03566-LTS
    CAGUAS, PR 00727                                                                                           CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
203 COLON SANTANA, AIDA           06/29/18   Employees Retirement           128500                  $ 7,000.00 COLON SANTANA, AIDA     06/29/18   Employees Retirement           145868           $ 7,000.00
    MARIA                                    System of the Government of                                       MARIA                              System of the Government of
    CALLESA -26-18                           the Commonwealth of Puerto                                        CALLE 19-24-18                     the Commonwealth of Puerto
    URBANIZACION                             Rico                                                              URANIZACION                        Rico
    MIRADOND BAIRAE                          17 BK 03566-LTS                                                   MIRADOR DE BARRIA                  17 BK 03566-LTS
    CAGUAS, PR 00727                                                                                           CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
204 COLON TORRES, LEIDA I         05/23/18   Employees Retirement           29368                   $ 5,007.98 COLON TORRES, LEIDA I   05/25/18   Employees Retirement           26416            $ 5,007.98
    URB LAS LOMAS                            System of the Government of                                       URB LAS LOMAS                      System of the Government of
    853 CALLE 37 SO                          the Commonwealth of Puerto                                        853 CALLE 37 SO                    the Commonwealth of Puerto
    SAN JUAN, PR 00921                       Rico                                                              SAN JUAN, PR 00921                 Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
205 CONCEPCION GARCIA,            07/06/18   Employees Retirement           115847             Undetermined* CONCEPCION GARCIA,        07/06/18   Employees Retirement           150945       Undetermined*
    NELSON                                   System of the Government of                                     NELSON                               System of the Government of
    HC-46 BOX 5424                           the Commonwealth of Puerto                                      HC 46 BOX 5424                       the Commonwealth of Puerto
    DORADO, PR 00646                         Rico                                                            DORADO, PR 00646-9608                Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
206 CONCEPCION ISERN,             06/28/18   Employees Retirement           143393             Undetermined* CONCEPCION ISERN,         06/28/18   Employees Retirement           68193        Undetermined*
    CARMEN ENEIDA                            System of the Government of                                     CARMEN ENEIDA                        System of the Government of
    BO. HIQUILLAR SAN                        the Commonwealth of Puerto                                      BO. HIGUILLAR SAN                    the Commonwealth of Puerto
    ANTONIO 2213                             Rico                                                            ANTONIO # 22B                        Rico
    DORADO, PR 00646                         17 BK 03566-LTS                                                 DORADO, PR 00646                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 40 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 42 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME          FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
207 CONCEPCION PEREZ,             06/28/18   Employees Retirement           68982              Undetermined* CONCEPCION PEREZ,      06/28/18   Employees Retirement           118216       Undetermined*
    NAYDA LUZ                                System of the Government of                                     NAYDA LUZ                         System of the Government of
    BO. HIGUILLAR SAN                        the Commonwealth of Puerto                                      BO. HIGUILLAR SAN                 the Commonwealth of Puerto
    ANTONIO #22C                             Rico                                                            ANTONIO #22C                      Rico
    DORADO, PR 00646                         17 BK 03566-LTS                                                 DORADO, PR 00646                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
208 CONTRERAS MASSA,              06/28/18   Employees Retirement           121750              $ 121,766.79* CONTRERAS MASSA,      06/29/18   Employees Retirement           92320         $ 121,766.79*
    LOURDES                                  System of the Government of                                      LOURDES                          System of the Government of
    URB TURABO GARDENS                       the Commonwealth of Puerto                                       URB LIRIOS CALA                  the Commonwealth of Puerto
    E11 CALLE 39                             Rico                                                             448 CALLE SAN LUCAS              Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                  JUNCOS, PR 00777                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
209 CONTRERAS OCASIO,             05/17/18   Employees Retirement           16662                 $ 57,000.00 CONTRERAS OCASIO,     06/27/18   Employees Retirement           99420           $ 57,000.00
    MARIA                                    System of the Government of                                      MARIA                            System of the Government of
    URB RINCON ESPANOL                       the Commonwealth of Puerto                                       URB. RINCON ESPANOL              the Commonwealth of Puerto
    B2 CALLE 1                               Rico                                                             B2 CALLE 1                       Rico
    TRUJILLO ALTO, PR                        17 BK 03566-LTS                                                  TRUJILLO ALTO, PR                17 BK 03566-LTS
    00976                                                                                                     00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
210 COOPERATIVA A/C               06/23/18   Employees Retirement           50730                   $ 4,587.55 COOPERATIVA A/C      06/23/18   Employees Retirement           50835            $ 4,587.55
    CUPEY ALTO                               System of the Government of                                       CUPEY ALTO                      System of the Government of
    RR 17 BUZON 11100                        the Commonwealth of Puerto                                        RR 17 BUZON 11100               the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                              SAN JUAN, PR 00926              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
211 COOPERATIVA DE                06/25/18   Employees Retirement           50458                   $ 8,624.18 COOPERATIVA DE       06/25/18   Employees Retirement           53224            $ 8,624.18
    AHORRO Y CREDITO                         System of the Government of                                       AHORRO Y CREDITO                System of the Government of
    CAPARRA                                  the Commonwealth of Puerto                                        CAPARRA                         the Commonwealth of Puerto
    CAPARRACOOP                              Rico                                                              CAPARRACOOP                     Rico
    P.O. BOX 6416                            17 BK 03566-LTS                                                   P.O. BOX 6416                   17 BK 03566-LTS
    BAYAMON, PR 00960-                                                                                         BAYAMON, PR 00960-
    5416                                                                                                       5416

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 41 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 43 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
212 COOPERATIVA DE                06/26/18   Employees Retirement           52321                   $ 8,372.38 COOPERATIVA DE       06/26/18   Employees Retirement           52519           $ 8,372.38
    AHORRO Y CREDITO                         System of the Government of                                       AHORRO Y CREDITO                System of the Government of
    CAPARRA                                  the Commonwealth of Puerto                                        CAPARRA                         the Commonwealth of Puerto
    CAPARRACOOP                              Rico                                                              CAPARRACOOP                     Rico
    P.O. BOX 6416                            17 BK 03566-LTS                                                   PO BOX 6416                     17 BK 03566-LTS
    BAYAMON, PR 00960-                                                                                         BAYAMON, PR 00960-
    5416                                                                                                       5416

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
213 COOPERATIVA DE                06/27/18   Employees Retirement           56520                   $ 3,895.33 COOPERATIVA DE       06/27/18   Employees Retirement           58821           $ 3,895.33
    AHORRO Y CREDITO                         System of the Government of                                       AHORRO Y CREDITO                System of the Government of
    CUPEY ALTO                               the Commonwealth of Puerto                                        CUPEY ALTO                      the Commonwealth of Puerto
    COOP. A/C CUPEY ALTO                     Rico                                                              JIMENEZ BREA &                  Rico
    PO BOX 6416                              17 BK 03566-LTS                                                   ASOCIADOS, PSC.                 17 BK 03566-LTS
    BAYAMON, PR 00960-                                                                                         NESTOR DAVID
    5416                                                                                                       ZAMORA SANTOS,
                                                                                                               ATTORNEY
                                                                                                               P.O. BOX 6416
                                                                                                               BAYAMON, PR 00960-
                                                                                                               5416

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
214 COOPERATIVA DE                06/28/18   Employees Retirement           70537                $ 11,628.88* COOPERATIVA DE        06/28/18   Employees Retirement           75286          $ 11,628.88
    AHORRO Y CREDITO DE                      System of the Government of                                      AHORRO Y CREDITO DE              System of the Government of
    EMPLEADOS DE LA                          the Commonwealth of Puerto                                       EMPLEADOS DE LA                  the Commonwealth of Puerto
    AUTORIDAD DE                             Rico                                                             AUTORIDAD DE                     Rico
    ENERGIA ELECTRICA                        17 BK 03566-LTS                                                  ENERGIA ELECTRICA                17 BK 03566-LTS
    COOPAEE                                                                                                   COOPAEE
    C/O JIMENEZ BREA &                                                                                        PO BOX 6416
    ASSOCIADOS, PSC.                                                                                          BAYAMON, PR 00960-
    ATTN: NESTOR DAVID                                                                                        5416
    ZAMORA SANTOS,
    ATTORNEY
    PO BOX 6416
    BAYAMON, PR 00960-
    5416

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 42 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 44 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
215 CORDERO DIANA,                06/29/18   Employees Retirement           144879                $ 27,352.01 CORDERO DIANA,          06/29/18   Employees Retirement           149916          $ 27,352.01
    MARIA T.                                 System of the Government of                                      MARIA T.                           System of the Government of
    PMB 1351 C/ PARIS 243                    the Commonwealth of Puerto                                       PMB 1351 C/PARIS 243               the Commonwealth of Puerto
    SAN JUAN, PR 00917                       Rico                                                             SAN JUAN, PR 00917                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
216 CORDERO LOPEZ, ELSIE          07/06/18   Employees Retirement           147408               $ 18,000.00* CORDERO LOPEZ, ELSIE    07/06/18   Employees Retirement           157568         $ 18,000.00*
    HC-04 BOX 17054                          System of the Government of                                      HC-04 BOX 17054                    System of the Government of
    LARES, PR 00669                          the Commonwealth of Puerto                                       LARES, PR 00669                    the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
217 CORDERO MANGUAL,              06/28/18   Employees Retirement           60574                $ 11,538.45* CORDERO MANGUAL,        06/28/18   Employees Retirement           63553          $ 11,538.45*
    NYDIA E.                                 System of the Government of                                      NYDIA E.                           System of the Government of
    PMB DEPT. 300                            the Commonwealth of Puerto                                       PMB DEPT. 300                      the Commonwealth of Puerto
    HC 01 BOX 29030                          Rico                                                             HC 01 BOX 29030                    Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
218 CORDERO ROMERO,               06/20/18   Employees Retirement           44848                 $ 78,040.00 CORDERO ROMERO,         06/20/18   Employees Retirement           44888           $ 78,040.00
    MAYRA E                                  System of the Government of                                      MAYRA E                            System of the Government of
    HC 1 BOX 22000                           the Commonwealth of Puerto                                       HC 1 BOX 22000                     the Commonwealth of Puerto
    CAGUAS, PR 00725                         Rico                                                             CAGUAS, PR 00725-8905              Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
219 CORDOVA NOVOA, LUIS           07/03/18   Employees Retirement           108585             Undetermined* CORDOVA NOVOA, LUIS      07/03/18   Employees Retirement           121444       Undetermined*
    O                                        System of the Government of                                     O                                   System of the Government of
    PO BOX 149                               the Commonwealth of Puerto                                      PO BOX 149                          the Commonwealth of Puerto
    BAJADERO, PR 00616                       Rico                                                            BAJADERO, PR 00616                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
220 CORIANO VILLEGAS,             06/29/18   Employees Retirement           154887               $ 63,674.87* CORIANO VILLEGAS,       06/29/18   Employees Retirement           120202         $ 63,674.87*
    LUZ                                      System of the Government of                                      LUZ                                System of the Government of
    URB FLAMBOYAN                            the Commonwealth of Puerto                                       URB FLAMBOYAN                      the Commonwealth of Puerto
    GARDENS                                  Rico                                                             GARDENS                            Rico
    B 21 CALLE 4                             17 BK 03566-LTS                                                  B 21 CALLE 4                       17 BK 03566-LTS
    BAYAMON, PR 00959                                                                                         BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 43 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 45 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
221 CORREA BERMUDEZ,              06/28/18   Employees Retirement           60441                 $ 78,611.65 CORREA BERMUDEZ,       07/03/18   Employees Retirement           120435         $ 78,611.65
    FERNANDO                                 System of the Government of                                      FERNANDO                          System of the Government of
    URB EXT. SAN JOSE                        the Commonwealth of Puerto                                       URB. EXT SAN JOSE                 the Commonwealth of Puerto
    III GG-4 CALLE 12                        Rico                                                             III GG-4 CALLE 12                 Rico
    SABANA GRANDE, PR                        17 BK 03566-LTS                                                  BUZON 717                         17 BK 03566-LTS
    00637                                                                                                     SABANA GRANDE, PR
                                                                                                              00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
222 CORREA BERMUDEZ,              06/28/18   Employees Retirement           63721                 $ 78,611.65 CORREA BERMUDEZ,       07/03/18   Employees Retirement           120435         $ 78,611.65
    FERNANDO                                 System of the Government of                                      FERNANDO                          System of the Government of
    URB. EXT. SAN JOSE                       the Commonwealth of Puerto                                       URB. EXT SAN JOSE                 the Commonwealth of Puerto
    III GG-4 CALLE 12                        Rico                                                             III GG-4 CALLE 12                 Rico
    BUZON 717                                17 BK 03566-LTS                                                  BUZON 717                         17 BK 03566-LTS
    SABANA GRANDE, PR                                                                                         SABANA GRANDE, PR
    00637                                                                                                     00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
223 CORREA CASTRO,                03/23/18   Employees Retirement            4360                 $ 46,769.92 CORREA CASTRO,         03/23/18   Employees Retirement           4375           $ 46,769.92
    MARIBEL                                  System of the Government of                                      MARIBEL                           System of the Government of
    URB EDUARDO J                            the Commonwealth of Puerto                                       URB COUNTRY CLUB                  the Commonwealth of Puerto
    SALDAÐA                                  Rico                                                             GY 18 CALLE 259                   Rico
    D-39 CALLE LAS MARIA                     17 BK 03566-LTS                                                  CAROLINA, PR 00982                17 BK 03566-LTS
    CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
224 CORREA CASTRO,                03/23/18   Employees Retirement            4376                 $ 46,769.92 CORREA CASTRO,         03/23/18   Employees Retirement           4375           $ 46,769.92
    MARIBEL                                  System of the Government of                                      MARIBEL                           System of the Government of
    COUNTRY CLUB                             the Commonwealth of Puerto                                       URB COUNTRY CLUB                  the Commonwealth of Puerto
    GY 18 CALLE 259                          Rico                                                             GY 18 CALLE 259                   Rico
    CAROLINA, PR 00918                       17 BK 03566-LTS                                                  CAROLINA, PR 00982                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
225 CORREA VELAZQUEZ,             06/29/18   Employees Retirement           84939                 $ 4,000.00* CORREA VELAZQUEZ,      06/29/18   Employees Retirement           76980          $ 4,000.00*
    SARELL M                                 System of the Government of                                      SARELL M                          System of the Government of
    URB SANTA ELENA                          the Commonwealth of Puerto                                       URB SANTA ELENA                   the Commonwealth of Puerto
    H3 UCAR                                  Rico                                                             H3 UCAR                           Rico
    GUAYANILLA, PR 00656                     17 BK 03566-LTS                                                  GUAYANILLA, PR 00656              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 44 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                     Exhibit A - Schedule of Claims - English Page 46 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
226 CORTIJO SUAREZ,               06/26/18   Employees Retirement           36443                $ 25,000.00* CORTIJO SUAREZ,           06/26/18   Employees Retirement           42825         $ 25,000.00*
    YAJAIRA                                  System of the Government of                                      YAJAIRA                              System of the Government of
    URB. COSTA AZUL                          the Commonwealth of Puerto                                       URB. COSTA AZUL                      the Commonwealth of Puerto
    L3 CALLE 19                              Rico                                                             L3 CALLE 19                          Rico
    GUAYAMA, PR 00784                        17 BK 03566-LTS                                                  GUAYAMA, PR 00784                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
227 COSTA PEREZ,                  06/28/18   Employees Retirement           112041               $ 75,000.00* COSTA PEREZ,              06/28/18   Employees Retirement           122910        $ 75,000.00*
    OSVALDO                                  System of the Government of                                      OSVALDO                              System of the Government of
    JARD COUNTRY CLUB                        the Commonwealth of Puerto                                       JARD COUNTRY CLUB                    the Commonwealth of Puerto
    C1 AR4                                   Rico                                                             C1 AR4                               Rico
    CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
228 COSTAS GONZALEZ,              07/03/18   Employees Retirement           101407                $ 64,327.36 COSTAS GONZALEZ,          07/03/18   Employees Retirement           145760         $ 64,327.36
    MARIA T                                  System of the Government of                                      MARIA T                              System of the Government of
    URB MARIANI                              the Commonwealth of Puerto                                       URB MARIANI                          the Commonwealth of Puerto
    7642 CALLE DR MANUEL                     Rico                                                             7642 CALLE DR MANUEL                 Rico
    Z GANDIA                                 17 BK 03566-LTS                                                  Z GANDIA                             17 BK 03566-LTS
    PONCE, PR 00717-0236                                                                                      PONCE, PR 00717-0236

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
229 COSTAS VAZQUEZ,               06/25/18   Employees Retirement           49503                $ 55,566.19* COSTAS VAZQUEZ,           06/25/18   Employees Retirement           53627         $ 55,566.19*
    DELIA C                                  System of the Government of                                      DELIA C                              System of the Government of
    5 CALLE VERONA                           the Commonwealth of Puerto                                       C VERONA 5 URB VILLA                 the Commonwealth of Puerto
    SAN JUAN, PR 00924                       Rico                                                             CAPRI                                Rico
                                             17 BK 03566-LTS                                                  SAN JUAN, PR 00924-4038              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
230 COTTO ALAMO,                  06/26/18   Employees Retirement           97576                 $ 51,000.00 COTTO ALAMO,              06/26/18   Employees Retirement           135235         $ 51,000.00
    ORLANDO                                  System of the Government of                                      ORLANDO                              System of the Government of
    PARQUE ECUESTRE N67                      the Commonwealth of Puerto                                       PARQUE ECUESTRE N67                  the Commonwealth of Puerto
    CALLE MADRILENA                          Rico                                                             CALLE MADRILENA                      Rico
    CAROLINA, PR 00987                       17 BK 03566-LTS                                                  CAROLINA, PR 00987                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 45 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 47 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
231 COTTO ALAMO, WANDA            06/26/18   Employees Retirement           91665                $ 120,000.00 COTTO ALAMO, WANDA     06/26/18   Employees Retirement           112844        $ 120,000.00
    I.                                       System of the Government of                                      I.                                System of the Government of
    PARQUE ENCUESTRE                         the Commonwealth of Puerto                                       PARQUE ENCUESTRE                  the Commonwealth of Puerto
    G-61 CALLE DULCE                         Rico                                                             G-61 CALLE DULCE                  Rico
    SUENO                                    17 BK 03566-LTS                                                  SUENO                             17 BK 03566-LTS
    CAROLINA, PR 00987-                                                                                       CAROLINA, PR 00987-
    0000                                                                                                      0000

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
232 CRESPO VALLE, JIMMIE          05/29/18   Employees Retirement           17963                $ 55,884.03* CRESPO VALLE, JIMMIE   05/29/18   Employees Retirement           24931         $ 55,884.03*
    8 CALLE VALLE                            System of the Government of                                      8 CALLE VALLE                     System of the Government of
    HERMOSO                                  the Commonwealth of Puerto                                       HERMOSO                           the Commonwealth of Puerto
    AGUADA, PR 00602                         Rico                                                             AGUADA, PR 00602                  Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
233 CRUZ ACOSTA,                  06/28/18   Employees Retirement           114076                $ 75,000.00 CRUZ ACOSTA,           06/28/18   Employees Retirement           124765         $ 75,000.00
    MADELYN                                  System of the Government of                                      MADELYN                           System of the Government of
    HC 03 BOX 27510                          the Commonwealth of Puerto                                       HC 03 BOX 27510                   the Commonwealth of Puerto
    LAJAS, PR 00667                          Rico                                                             LAJAS, PR 00667                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
234 CRUZ ALONSO, SHEILA           06/29/18   Employees Retirement           94490                 $ 22,737.56 CRUZ ALONSO, SHEILA    06/29/18   Employees Retirement           94460          $ 22,737.56
    CALLE 28 V-14                            System of the Government of                                      CALLE 28 V-14                     System of the Government of
    URBANIZACIÓN                             the Commonwealth of Puerto                                       URBANIZACIÓN                      the Commonwealth of Puerto
    METRÓPOLIS                               Rico                                                             METRÓPOLIS                        Rico
    CAROLINA, PR 00987                       17 BK 03566-LTS                                                  CAROLINA, PR 00987                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
235 CRUZ CABEZA,                  04/25/18   Employees Retirement            6855                 $ 77,564.76 CRUZ CABEZA,           05/10/18   Employees Retirement           11567          $ 77,564.76
    VERONICA                                 System of the Government of                                      VERONICA                          System of the Government of
    VILLA FONTANA                            the Commonwealth of Puerto                                       VILLA FONTANA                     the Commonwealth of Puerto
    2 RL 174 VIA 7                           Rico                                                             2 RL 174 VIA 7                    Rico
    CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 46 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 48 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
236 CRUZ CANDELARIO,              06/29/18   Employees Retirement           75390              Undetermined* CRUZ CANDELARIO,         06/29/18   Employees Retirement           91108        Undetermined*
    OCTAVIO                                  System of the Government of                                     OCTAVIO                             System of the Government of
    PO BOX 1247                              the Commonwealth of Puerto                                      PO BOX 1247                         the Commonwealth of Puerto
    SALINAS, PR 00751-1247                   Rico                                                            SALINAS, PR 00751                   Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
237 CRUZ GONZALEZ,                06/28/18   Employees Retirement           70511                 $ 30,000.00 CRUZ GONZALEZ,          06/28/18   Employees Retirement           73680           $ 30,000.00
    EMERALDO                                 System of the Government of                                      EMERALDO                           System of the Government of
    VILLA FONTANA VIA 51                     the Commonwealth of Puerto                                       URB VILLA FONTANA                  the Commonwealth of Puerto
    4DS 14                                   Rico                                                             VIA 51 4 D S 14                    Rico
    CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
238 CRUZ KUILAN,                  06/29/18   Employees Retirement           101430                $ 32,352.99 CRUZ KUILAN,            07/02/18   Employees Retirement           124072          $ 32,352.99
    ROBERTO                                  System of the Government of                                      ROBERTO                            System of the Government of
    PO BOX 569                               the Commonwealth of Puerto                                       PO BOX 569                         the Commonwealth of Puerto
    SABANA SECA, PR 00952                    Rico                                                             SABANA SECA, PR 00952              Rico
    -0569                                    17 BK 03566-LTS                                                  -0569                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
239 CRUZ RIVERA, JOSE E.          06/05/18   Employees Retirement           55901                 $ 75,000.00 CRUZ RIVERA, JOSE E.    06/05/18   Employees Retirement           57037           $ 75,000.00
    426 CALLE NOGAL                          System of the Government of                                      #426 CALLE NOGAL                   System of the Government of
    FAJARDO GARDENS                          the Commonwealth of Puerto                                       FAJARDO GARDENS                    the Commonwealth of Puerto
    FAJARDO, PR 00738                        Rico                                                             FAJARDO, PR 00738                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
240 CRUZ ROSARIO,                 04/24/18   Employees Retirement            6833                 $ 31,272.83 CRUZ ROSARIO,           04/24/18   Employees Retirement           6909            $ 31,272.83
    GILBERTO                                 System of the Government of                                      GILBERTO                           System of the Government of
    PO BOX 55                                the Commonwealth of Puerto                                       PO BOX 55                          the Commonwealth of Puerto
    GUAYNABO, PR 00970                       Rico                                                             GUAYNABO, PR 00970                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
241 CRUZ ROSARIO,                 04/24/18   Employees Retirement            6972                 $ 31,272.83 CRUZ ROSARIO,           04/24/18   Employees Retirement           6987            $ 31,272.83
    GILBERTO                                 System of the Government of                                      GILBERTO                           System of the Government of
    PO BOX 55                                the Commonwealth of Puerto                                       MANSIONES REALES                   the Commonwealth of Puerto
    GUAYNABO, PR 00970                       Rico                                                             ALFONSO 13-E-31                    Rico
                                             17 BK 03566-LTS                                                  GUAYNABO, PR 00970                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 47 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 49 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
242 CRUZ SABATER,                 06/26/18   Employees Retirement           129539             Undetermined* CRUZ SABATER,           06/26/18   Employees Retirement           128503       Undetermined*
    BIENVENIDO                               System of the Government of                                     BIENVENIDO                         System of the Government of
    HC 2 BOX 9589                            the Commonwealth of Puerto                                      HC 2 BOX 9589                      the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                            JUANA DIAZ, PR 00795               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
243 CRUZ SANTIAGO,                06/15/18   Employees Retirement           66390                $ 75,000.00* CRUZ SANTIAGO,         06/15/18   Employees Retirement           75349          $ 75,000.00*
    EDWIN                                    System of the Government of                                      EDWIN                             System of the Government of
    URB BRISAS DE                            the Commonwealth of Puerto                                       URB BRISAS DE                     the Commonwealth of Puerto
    MARAVILLAS                               Rico                                                             MARAVILL                          Rico
    J 7 CALLE MARGINAL                       17 BK 03566-LTS                                                  J 7 CALLE MARGINAL                17 BK 03566-LTS
    MERCEDITA                                                                                                 PONCE, PR 00715
    PONCE, PR 00715

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
244 CRUZ VELEZ, CARMEN            06/27/18   Employees Retirement           99335              Undetermined* CRUZ VELEZ, CARMEN      06/27/18   Employees Retirement           105445       Undetermined*
    L.                                       System of the Government of                                     L.                                 System of the Government of
    PO BOX 7004 PMB 186                      the Commonwealth of Puerto                                      PO BOX 7004                        the Commonwealth of Puerto
    SAN SEBASTIAN, PR                        Rico                                                            SAN SEBASTIAN, PR                  Rico
    00685                                    17 BK 03566-LTS                                                 00685                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
245 CUEVAS ORTIZ, SYLVIA          07/05/18   Employees Retirement           156930                $ 30,000.00 CUEVAS ORTIZ, SYLVIA   07/05/18   Employees Retirement           157856          $ 30,000.00
    COMUNIDAD LAS PELA                       System of the Government of                                      COMUNIDAD LAS PELA                System of the Government of
    CALLE PARAISO -0135                      the Commonwealth of Puerto                                       EL PARAISO - 0135                 the Commonwealth of Puerto
    YAURO, PR 00698                          Rico                                                             YAUCO, PR 00698                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
246 CUEVAS PADILLA,               06/28/18   Employees Retirement           65243                $ 29,449.00* CUEVAS PADILLA,        06/29/18   Employees Retirement           80468           $ 29,449.00
    JANICE A.                                System of the Government of                                      JANICE A.                         System of the Government of
    CAMINO LAS RIBERAS                       the Commonwealth of Puerto                                       URB COLINAS DE                    the Commonwealth of Puerto
    80                                       Rico                                                             PLATA                             Rico
    TOA ALTA, PR 00953                       17 BK 03566-LTS                                                  80 CAMINO LAS                     17 BK 03566-LTS
                                                                                                              RIBERAS
                                                                                                              TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 48 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 50 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
247 DAVID ROSARIO,                05/25/18   Employees Retirement           20325              Undetermined* DAVID ROSARIO,         05/30/18   Employees Retirement           43910        Undetermined*
    TERESA                                   System of the Government of                                     TERESA                            System of the Government of
    HC 04 BOX 17814                          the Commonwealth of Puerto                                      HC 04 BOX 17814                   the Commonwealth of Puerto
    CAMUY, PR 00627-9502                     Rico                                                            BO LA SABANA                      Rico
                                             17 BK 03566-LTS                                                 CAMUY, PR 00627                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
248 DAVILA AVILA,                 06/28/18   Employees Retirement           125837             Undetermined* DAVILA AVILA,          06/28/18   Employees Retirement           132806       Undetermined*
    BRUNILDA                                 System of the Government of                                     BRUNILDA                          System of the Government of
    18 II-JJ                                 the Commonwealth of Puerto                                      18 II-JJ                          the Commonwealth of Puerto
    VEGA BAJA, PR 00693-                     Rico                                                            VEGA BAJA, PR 00693-              Rico
    5656                                     17 BK 03566-LTS                                                 5656                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
249 DAVILA CRUZ, EDNA             05/25/18   Employees Retirement           30229              Undetermined* DAVILA CRUZ, EDNA      05/25/18   Employees Retirement           43614        Undetermined*
    URB SABANA GDNS                          System of the Government of                                     URB SABANA GDNS                   System of the Government of
    1311 CALLE 28                            the Commonwealth of Puerto                                      1311 CALLE 28                     the Commonwealth of Puerto
    CAROLINA, PR 00983-                      Rico                                                            CAROLINA, PR 00983-               Rico
    2910                                     17 BK 03566-LTS                                                 2910                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
250 DAVILA SANTA,                 05/25/18   Employees Retirement           23424              Undetermined* DAVILA SANTA,          05/25/18   Employees Retirement           27409        Undetermined*
    RUBYANN                                  System of the Government of                                     RUBYANN                           System of the Government of
    URB SANTA JUANITA                        the Commonwealth of Puerto                                      URB SANTA JUANITA                 the Commonwealth of Puerto
    EC8 CALLE CEDRO S                        Rico                                                            EC 8 CALLE CEDRO SUR              Rico
    BAYAMON, PR 00956-                       17 BK 03566-LTS                                                 BAYAMON, PR 00956                 17 BK 03566-LTS
    5200

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
251 DAVILA SANTA,                 05/25/18   Employees Retirement           26683              Undetermined* DAVILA SANTA,          05/25/18   Employees Retirement           27409        Undetermined*
    RUBYANN                                  System of the Government of                                     RUBYANN                           System of the Government of
    URB SANTA JUANITA                        the Commonwealth of Puerto                                      URB SANTA JUANITA                 the Commonwealth of Puerto
    EC8 CALLE CEDRO SUR                      Rico                                                            EC 8 CALLE CEDRO SUR              Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                 BAYAMON, PR 00956                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 49 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                     Exhibit A - Schedule of Claims - English Page 51 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
252 DE JESUS COLON, JOSE          06/28/18   Employees Retirement           71346                $ 120,811.60 DE JESUS COLON, JOSE     06/29/18   Employees Retirement           144426         $ 120,811.60
    ANTONIO                                  System of the Government of                                      ANTONIO                             System of the Government of
    P.O. BOX 1416                            the Commonwealth of Puerto                                       P.O. BOX 1416                       the Commonwealth of Puerto
    SANTA ISABEL, PR 00757                   Rico                                                             SANTA ISABEL, PR 00757              Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
253 DE JESUS ESTRADA,             06/29/18   Employees Retirement           153202             Undetermined* DE JESUS ESTRADA,         06/29/18   Employees Retirement           154619       Undetermined*
    JORGE                                    System of the Government of                                     JORGE                                System of the Government of
    HC-9 BOX 61898                           the Commonwealth of Puerto                                      HC-9 BOX 61898                       the Commonwealth of Puerto
    CAPUAS, PR 00725                         Rico                                                            CAGUAS, PR 00725-9258                Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
254 DE JESUS ORTIZ,               05/29/18   Employees Retirement           39524               $ 153,350.00* DE JESUS ORTIZ,          05/29/18   Employees Retirement           39532         $ 153,350.00*
    ZULMA                                    System of the Government of                                      ZULMA                               System of the Government of
    AGUSTIN STAHL                            the Commonwealth of Puerto                                       AGUSTIN STHAL                       the Commonwealth of Puerto
    CALLE B 19                               Rico                                                             19 CALLE B                          Rico
    BAYAMON, PR 00956                        17 BK 03566-LTS                                                  BAYAMON, PR 00956                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
255 DE JESUS RAMOS,               07/02/18   Employees Retirement           100365                $ 31,324.73 DE JESUS RAMOS,          07/02/18   Employees Retirement           115844          $ 31,324.73
    PEGGY ANN                                System of the Government of                                      PEGGY ANN                           System of the Government of
    URB. SANTA ELVIRA                        the Commonwealth of Puerto                                       URB. SANTA ELVIRA                   the Commonwealth of Puerto
    J-24 CALLE SANTA                         Rico                                                             J-24 CALLE SANTA                    Rico
    LUCIA                                    17 BK 03566-LTS                                                  LUCIA                               17 BK 03566-LTS
    CAGUAS, PR 00726                                                                                          CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
256 DE JESUS, JESUS               06/27/18   Employees Retirement           56239                   $ 4,251.53 DE JESUS, JESUS         06/27/18   Employees Retirement           55209            $ 4,251.53
    MARQUEZ                                  System of the Government of                                       MARQUEZ                            System of the Government of
    CALLE CROTON V-814                       the Commonwealth of Puerto                                        V-814 CROTON LOIZA                 the Commonwealth of Puerto
    LOIZA VALLEY                             Rico                                                              VALLEY                             Rico
    CANOVANAS, PR 00729                      17 BK 03566-LTS                                                   CANOVANAS, PR 00729                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 50 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 52 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
257 DE LA PAZ ORTIZ,              06/21/18   Employees Retirement           38994                $ 61,372.65* DE LA PAZ ORTIZ,       06/21/18   Employees Retirement           46534          $ 61,372.65
    EDITH                                    System of the Government of                                      EDITH                             System of the Government of
    URB.FLORAL PARK                          the Commonwealth of Puerto                                       URB. FLORAL PARK                  the Commonwealth of Puerto
    190 CALLE JULIA                          Rico                                                             190 CALLE JULIA                   Rico
    SAN JUAN, PR 00917                       17 BK 03566-LTS                                                  SAN JUAN, PR 00917                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
258 DEL CORDERO                   05/29/18   Employees Retirement           24707                 $ 26,000.00 DEL CORDERO            05/29/18   Employees Retirement           26179          $ 26,000.00
    MALDONADO, MARIA                         System of the Government of                                      MALDONADO, MARIA                  System of the Government of
    VILLAS DE LOIZA                          the Commonwealth of Puerto                                       VILLAS DE LOIZA                   the Commonwealth of Puerto
    D34 CALLE 2                              Rico                                                             D34 CALLE 2                       Rico
    CANOVANAS, PR 00729-                     17 BK 03566-LTS                                                  CANOVANAS, PR 00729-              17 BK 03566-LTS
    4220                                                                                                      4220

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
259 DEL VALLE ECHEVARR,           04/16/18   Employees Retirement            7553                 $ 70,846.74 DEL VALLE ECHEVARR,    04/16/18   Employees Retirement           7555           $ 70,846.74
    SONIA NOEMI                              System of the Government of                                      SONIA NOEMI                       System of the Government of
    URB FERNANDEZ                            the Commonwealth of Puerto                                       URB FERNANDEZ                     the Commonwealth of Puerto
    16 CALLE KENNEDY                         Rico                                                             16 CALLE KENNEDY                  Rico
    CIDRA, PR 00739                          17 BK 03566-LTS                                                  CIDRA, PR 00739                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
260 DEL VALLE JIMENEZ,            07/24/18   Employees Retirement           158841                $ 18,000.00 DEL VALLE JIMENEZ,     07/25/18   Employees Retirement           114162         $ 18,000.00
    JUAN ANIBAL                              System of the Government of                                      JUAN ANIBAL                       System of the Government of
    HC - 04 BOX 17054                        the Commonwealth of Puerto                                       HC-04 BOX 17054                   the Commonwealth of Puerto
    LARES, PR 00669                          Rico                                                             LARES, PR 00669                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
261 DEL VALLE MOJICA,             06/01/18   Employees Retirement           20003                 $ 17,879.00 DEL VALLE MOJICA,      06/01/18   Employees Retirement           30033          $ 17,879.00
    MARIBEL                                  System of the Government of                                      MARIBEL                           System of the Government of
    HC-02 15050                              the Commonwealth of Puerto                                       HC-02 15050                       the Commonwealth of Puerto
    CAROLINA, PR 00985                       Rico                                                             CAROLINA, PR 00985                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 51 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 53 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
262 DEL VALLE                     06/27/18   Employees Retirement           58204              Undetermined* DEL VALLE               06/27/18   Employees Retirement           69732        Undetermined*
    VELAZQUEZ, ENID L.                       System of the Government of                                     VELAZQUEZ, ENID L.                 System of the Government of
    URB. VILLA NEVAREZ                       the Commonwealth of Puerto                                      URB. VILLA NEVAREZ                 the Commonwealth of Puerto
    CALLE 11 #1028                           Rico                                                            CALLE 11 #1028                     Rico
    SAN JUAN, PR 00927                       17 BK 03566-LTS                                                 SAN JUAN, PR 00926                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
263 DELGADO DIAZ, LEIDA           06/29/18   Employees Retirement           76377                 $ 63,000.00 DELGADO DIAZ, LEIDA    06/29/18   Employees Retirement           90415           $ 63,000.00
    LYMARI                                   System of the Government of                                      LYMARI                            System of the Government of
    VILLA BLANCA PMB 724                     the Commonwealth of Puerto                                       VILLA BLANCA PMB 724              the Commonwealth of Puerto
    20 AVE LUIS MUNOZ                        Rico                                                             20 AVE LUIS MUNOZ                 Rico
    MARIN                                    17 BK 03566-LTS                                                  MARIN                             17 BK 03566-LTS
    CAGUAS, PR 00725                                                                                          CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
264 DELGADO PEREZ,                06/27/18   Employees Retirement           55030                 $ 89,346.68 DELGADO PEREZ,         07/03/18   Employees Retirement           149149          $ 89,346.68
    CYNTHIA B.                               System of the Government of                                      CYNTHIA B.                        System of the Government of
    P.O. BOX 5                               the Commonwealth of Puerto                                       PO BOX 5                          the Commonwealth of Puerto
    LAJAS, PR 00667                          Rico                                                             LAJAS, PR 00667                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
265 DELGADO ROSADO,               06/15/18   Employees Retirement           73397                 $ 20,451.04 DELGADO ROSADO,        06/15/18   Employees Retirement           91041          $ 20,451.04*
    GABRIEL                                  System of the Government of                                      GABRIEL                           System of the Government of
    F6 URB. O`NEILL                          the Commonwealth of Puerto                                       URB. O'NEILL                      the Commonwealth of Puerto
    MANATI, PR 00674                         Rico                                                             CALLE F #6                        Rico
                                             17 BK 03566-LTS                                                  MANATI, PR 00674                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
266 DELVALLE, ANABELLE            06/28/18   Employees Retirement           70221                 $ 56,298.25 DELVALLE, ANABELLE     06/28/18   Employees Retirement           70896           $ 56,298.25
    2256 CANERIDGE TRAIL                     System of the Government of                                      2256 CANERIDGE TRAIL              System of the Government of
    SW                                       the Commonwealth of Puerto                                       SW                                the Commonwealth of Puerto
    MARIETTA, GA 30064                       Rico                                                             MARIETTA, GA 30064-               Rico
                                             17 BK 03566-LTS                                                  4363                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 52 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 54 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
267 DIAZ CARRASQUILLO,            06/29/18   Employees Retirement           85709                $ 100,000.00 DIAZ CARRASQUILLO,      06/29/18   Employees Retirement           122162         $ 100,000.00
    PEDRO                                    System of the Government of                                      PEDRO                              System of the Government of
    PO BOX 2000                              the Commonwealth of Puerto                                       RICARDO DIAZ SOTO,                 the Commonwealth of Puerto
    CAGUAS, PR 00726-2000                    Rico                                                             ESQ.                               Rico
                                             17 BK 03566-LTS                                                  PO BOX 2000                        17 BK 03566-LTS
                                                                                                              CAGUAS, PR 00726-2000

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
268 DIAZ CORDERO,                 05/30/18   Employees Retirement           18729                $ 57,342.79* DIAZ CORDERO,           06/13/18   Employees Retirement           50072           $ 57,342.79
    HERIBERTO                                System of the Government of                                      HERIBERTO                          System of the Government of
    PO BOX 914                               the Commonwealth of Puerto                                       PO BOX 914                         the Commonwealth of Puerto
    TRUJILLO ALTO, PR                        Rico                                                             TRUJILLO ALTO, PR                  Rico
    00977                                    17 BK 03566-LTS                                                  00977                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
269 DIAZ DIAZ, MARIBEL            07/05/18   Employees Retirement           121338             Undetermined* DIAZ DIAZ, MARIBEL       07/05/18   Employees Retirement           156674       Undetermined*
    PO BOX 141754                            System of the Government of                                     PO BOX 141754                       System of the Government of
    ARECIBO, PR 00614                        the Commonwealth of Puerto                                      ARECIBO, PR 00614                   the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
270 DIAZ ESQUILIN,                06/29/18   Employees Retirement           80068                 $ 21,830.66 DIAZ ESQUILIN,          06/29/18   Employees Retirement           130246          $ 21,830.66
    WALESKA                                  System of the Government of                                      WALESKA                            System of the Government of
    PO BOX 8847                              the Commonwealth of Puerto                                       PO BOX 8847                        the Commonwealth of Puerto
    HUMACAO, PR 00792                        Rico                                                             HUMACAO, PR 00792                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
271 DIAZ FLORES, LILLIAN          06/30/18   Employees Retirement           104663                $ 50,000.00 DIAZ FLORES, LILLIAN    07/03/18   Employees Retirement           102846         $ 50,000.00*
    E.                                       System of the Government of                                      E.                                 System of the Government of
    P.O. BOX 311                             the Commonwealth of Puerto                                       APARTADO 311                       the Commonwealth of Puerto
    PATILLAS, PR 00723                       Rico                                                             PATILLAS, PR 00723                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
272 DIAZ RAMIREZ,                 03/16/18   Employees Retirement            3115                 $ 53,277.41 DIAZ RAMIREZ,           03/16/18   Employees Retirement           3136            $ 53,277.41
    ADALBERTO                                System of the Government of                                      ADALBERTO                          System of the Government of
    PO BOX 8933                              the Commonwealth of Puerto                                       PO BOX 8933                        the Commonwealth of Puerto
    CAROLINA, PR 00988                       Rico                                                             CAROLINA, PR 00988                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 53 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 55 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
273 DIAZ RAMIREZ,                 03/16/18   Employees Retirement            3124                 $ 53,277.41 DIAZ RAMIREZ,           03/16/18   Employees Retirement           3125            $ 53,277.41
    ADALBERTO                                System of the Government of                                      ADALBERTO                          System of the Government of
    PO BOX 8933                              the Commonwealth of Puerto                                       PLAZA CAROLINA                     the Commonwealth of Puerto
    PLAZA CAROLINA                           Rico                                                             STATION                            Rico
    STATION                                  17 BK 03566-LTS                                                  PO BOX 8933                        17 BK 03566-LTS
    CAROLINA, PR 00988-                                                                                       CAROLINA, PR 00988
    8933

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
274 DIAZ RAMIREZ,                 03/16/18   Employees Retirement            3135                 $ 53,277.41 DIAZ RAMIREZ,           03/16/18   Employees Retirement           3136            $ 53,277.41
    ADALBERTO                                System of the Government of                                      ADALBERTO                          System of the Government of
    PLAZA CAROLINA                           the Commonwealth of Puerto                                       PO BOX 8933                        the Commonwealth of Puerto
    STATION                                  Rico                                                             CAROLINA, PR 00988                 Rico
    PO BOX 8933                              17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    CAROLINA, PR 00988

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
275 DIAZ RIVEIRO, LUIS A          05/24/18   Employees Retirement           19755                 $ 31,815.00 DIAZ RIVEIRO, LUIS A    05/25/18   Employees Retirement           41310           $ 31,815.00
    URB SANTA MARIA                          System of the Government of                                      URB SANTA MARIA                    System of the Government of
    G 29 CALLE 7                             the Commonwealth of Puerto                                       G 29 CALLE 7                       the Commonwealth of Puerto
    SAN GERMAN, PR 00683                     Rico                                                             SAN GERMAN, PR 00683               Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
276 DIAZ RIVERA,                  06/28/18   Employees Retirement           74113              Undetermined* DIAZ RIVERA,             06/29/18   Employees Retirement           77169        Undetermined*
    GILBERTO                                 System of the Government of                                     GILBERTO                            System of the Government of
    HC-01 BOX 26984                          the Commonwealth of Puerto                                      HC-01 BOX 26984                     the Commonwealth of Puerto
    CAGUAS, PR 00725                         Rico                                                            CAGUAS, PR 00725                    Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
277 DIAZ, ANIBAL                  06/29/18   Employees Retirement           129453             Undetermined* DIAZ, ANIBAL             07/05/18   Employees Retirement           155031       Undetermined*
    PO BOX 378                               System of the Government of                                     P.O. BOX 378                        System of the Government of
    COROZAL, PR 00783-0378                   the Commonwealth of Puerto                                      COROZAL, PR 00783-0378              the Commonwealth of Puerto
                                             Rico                                                                                                Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 54 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                            Desc:
                                                     Exhibit A - Schedule of Claims - English Page 56 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME          FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
278 DIAZ-SALGADO,                 06/04/18   Employees Retirement           18796                $ 20,178.74* DIAZ-SALGADO,        06/04/18   Employees Retirement           31684          $ 20,178.74*
    ELIZABETH                                System of the Government of                                      ELIZABETH                       System of the Government of
    ROOSELVELT 102                           the Commonwealth of Puerto                                       ROOSELVET 102                   the Commonwealth of Puerto
    URB. CASA BLANCA                         Rico                                                             CASA BLANCA                     Rico
    TOA ALTA, PR 00953                       17 BK 03566-LTS                                                  TOA ALTA, PR 00953              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
279 DORTA DORTA, ANA L            07/12/18   Employees Retirement           119737                $ 48,413.01 DORTA DORTA, ANA L   07/02/18   Employees Retirement           152554          $ 48,413.01
    HC 05 BOX 92578                          System of the Government of                                      HC 05 BOX 92578                 System of the Government of
    ARECIBO, PR 00612                        the Commonwealth of Puerto                                       ARECIBO, PR 00612               the Commonwealth of Puerto
                                             Rico                                                                                             Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
280 ENCARNACION                   06/29/18   Employees Retirement           75147                 $ 45,698.39 ENCARNACION          06/29/18   Employees Retirement           80488           $ 45,698.39
    CASTRO, JAIME E.                         System of the Government of                                      CASTRO, JAIME E.                System of the Government of
    VIA 25 GL-16 VILLA                       the Commonwealth of Puerto                                       VIA 25 GL-16                    the Commonwealth of Puerto
    FONTANA                                  Rico                                                             VILLA FONTANA                   Rico
    CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
281 ENCARNACION                   06/28/18   Employees Retirement           119098                $ 18,000.00 ENCARNACION          06/28/18   Employees Retirement           144700          $ 18,000.00
    MARTINEZ, MILAGROS                       System of the Government of                                      MARTINEZ, MILAGROS              System of the Government of
    RR 3 BOX 3447                            the Commonwealth of Puerto                                       RR3 BOX 3447                    the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                             SAN JUAN, PR 00926              Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
282 ESCALERA ESCALER ,            06/13/18   Employees Retirement           50105               $ 113,806.32* ESCALERA ESCALER ,   06/13/18   Employees Retirement           59804         $ 113,806.32*
    MARGARITA                                System of the Government of                                      MARGARITA                       System of the Government of
    HC 1 BOX 7527                            the Commonwealth of Puerto                                       HC 1 BOX 7527                   the Commonwealth of Puerto
    LOIZA, PR 00772                          Rico                                                             LOIZA, PR 00772                 Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
283 ESCALERA RIVERA,              06/27/18   Employees Retirement           53107                 $ 47,878.80 ESCALERA RIVERA,     06/27/18   Employees Retirement           59957           $ 47,878.80
    LENIZ                                    System of the Government of                                      LENIZ                           System of the Government of
    HC-02 BOX 8251                           the Commonwealth of Puerto                                       HC-02 BOX 8251                  the Commonwealth of Puerto
    JAYUYA, PR 00664                         Rico                                                             JAYUYA, PR 00664                Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 55 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                     Exhibit A - Schedule of Claims - English Page 57 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
284 ESTRADA AYALA,                05/29/18   Employees Retirement           35926                $ 40,107.84* ESTRADA AYALA,            05/29/18   Employees Retirement           36096         $ 40,107.84*
    JARIER                                   System of the Government of                                      JARIER                               System of the Government of
    HC 1 BOX 2657                            the Commonwealth of Puerto                                       HC 1 BOX 2657                        the Commonwealth of Puerto
    LOIZA, PR 00772                          Rico                                                             LOIZA                                Rico
                                             17 BK 03566-LTS                                                  SAN JUAN, PR 00772-9707              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
285 ESTRADA SILVA, RAUL           05/25/18   Employees Retirement           21462                 $ 43,019.62 ESTRADA SILVA, RAUL       05/31/18   Employees Retirement           29786          $ 43,019.62
    J                                        System of the Government of                                      J                                    System of the Government of
    URB VILLA LISSETTE                       the Commonwealth of Puerto                                       URB VILLA LISSETTE                   the Commonwealth of Puerto
    A6 CALLE BENITEZ                         Rico                                                             A6 CALLE BENITEZ                     Rico
    GUAYNABO, PR 00969                       17 BK 03566-LTS                                                  GUAYNABO, PR 00969                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
286 ESTRADA SILVA, RAUL           05/29/18   Employees Retirement           28155                 $ 43,019.62 ESTRADA SILVA, RAUL       05/31/18   Employees Retirement           29786          $ 43,019.62
    J                                        System of the Government of                                      J                                    System of the Government of
    URB VILLA LISSETTE                       the Commonwealth of Puerto                                       URB VILLA LISSETTE                   the Commonwealth of Puerto
    A6 CALLE BENITEZ                         Rico                                                             A6 CALLE BENITEZ                     Rico
    GUAYNABO, PR 00969                       17 BK 03566-LTS                                                  GUAYNABO, PR 00969                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
287 ESTRELLA VEGA, LUZ D          06/29/18   Employees Retirement           126505               $ 61,791.90* ESTRELLA VEGA, LUZ D      06/29/18   Employees Retirement           139913         $ 61,791.90
    HC 06 BOX 10736                          System of the Government of                                      HC 06 BOX 10736                      System of the Government of
    GUAYNABO, PR 00971                       the Commonwealth of Puerto                                       GUAYNABO, PR 00971                   the Commonwealth of Puerto
                                             Rico                                                                                                  Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
288 FEBUS CANCEL,                 06/29/18   Employees Retirement           78879                 $ 75,000.00 FEBUS CANCEL,             06/29/18   Employees Retirement           146311        $ 75,000.00*
    VIVIANA                                  System of the Government of                                      VIVIANA                              System of the Government of
    T189 CALLE 21 URB.                       the Commonwealth of Puerto                                       T-189 C/21 BELLA VISTA               the Commonwealth of Puerto
    BELLA VISTA                              Rico                                                             GARDENS                              Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                  BAYAMOM, PR 00957                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 56 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                     Exhibit A - Schedule of Claims - English Page 58 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
289 FEBUS DE JESUS,               06/15/18   Employees Retirement           70305                $ 75,000.00* FEBUS DE JESUS,          06/15/18   Employees Retirement           71931          $ 75,000.00*
    ROSELISA                                 System of the Government of                                      ROSELISA                            System of the Government of
    URB LAS DELICIAS                         the Commonwealth of Puerto                                       URB LAS DELICIAS                    the Commonwealth of Puerto
    3325 CALLE ANTONIA                       Rico                                                             3325 CALLE ANTONIA                  Rico
    SAEZ                                     17 BK 03566-LTS                                                  SAEZ                                17 BK 03566-LTS
    PONCE, PR 00728-3910                                                                                      PONCE, PR 00728-3910

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
290 FELICIANO IRIZARRY,           04/23/18   Employees Retirement            8059              Undetermined* FELICIANO IRIZARRY,       04/23/18   Employees Retirement           8076         Undetermined*
    ADAN                                     System of the Government of                                     ADAN                                 System of the Government of
    PO BOX 561136                            the Commonwealth of Puerto                                      PO BOX 561136                        the Commonwealth of Puerto
    GUAYANILLA, PR 00656                     Rico                                                            GUAYANILLA, PR 00656                 Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
291 FELICIER ROSARIO,             06/27/18   Employees Retirement           55273                $ 79,906.29* FELICIER ROSARIO,        06/28/18   Employees Retirement           62847           $ 79,906.29
    CARMEN E.                                System of the Government of                                      CARMEN E.                           System of the Government of
    COND TORRES DE                           the Commonwealth of Puerto                                       COND TORRES DE                      the Commonwealth of Puerto
    CERVANTES A                              Rico                                                             CERVANTES A                         Rico
    240 CALLE 49 APT 610-A                   17 BK 03566-LTS                                                  240 CALLE 49 APT 610-A              17 BK 03566-LTS
    SAN JUAN, PR 00924                                                                                        SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
292 FELIX LAUREANO, JUAN          06/27/18   Employees Retirement           64727                 $ 75,000.00 FELIX LAUREANO, JUAN     06/28/18   Employees Retirement           115494          $ 75,000.00
    COND. SAN FRANCISCO                      System of the Government of                                      SANTIAGO IGLESIAS                   System of the Government of
    TORRE A, APT. 76                         the Commonwealth of Puerto                                       1785 AVE PAZ GRANELA                the Commonwealth of Puerto
    BAYAMON, PR 00959                        Rico                                                             RIO PIEDRAS, PR 00921               Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
293 FELIX RODRÍGUEZ,              05/14/18   Employees Retirement           14806                 $ 29,000.00 FELIX RODRÍGUEZ,         05/29/18   Employees Retirement           25775           $ 29,000.00
    MARAIDA I.                               System of the Government of                                      MARAIDA I.                          System of the Government of
    HC 11 BOX 48941                          the Commonwealth of Puerto                                       HC 11 BOX 48941                     the Commonwealth of Puerto
    CAGUAS, PR 00725                         Rico                                                             CAGUAS, PR 00725                    Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 57 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                     Exhibit A - Schedule of Claims - English Page 59 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
294 FELIX TORRES, EDGAR           05/21/18   Employees Retirement           18126              Undetermined* FELIX TORRES, EDGAR       05/25/18   Employees Retirement           26673        Undetermined*
    C-5 CALLE 9                              System of the Government of                                     URB JARDINES DE                      System of the Government of
    GUAYAMA, PR 00784                        the Commonwealth of Puerto                                      GUAMANI                              the Commonwealth of Puerto
                                             Rico                                                            C5 CALLE 9                           Rico
                                             17 BK 03566-LTS                                                 GUAYAMA, PR 00784                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
295 FERMAINT RODRIGUEZ,           06/28/18   Employees Retirement           124888             Undetermined* FERMAINT RODRIGUEZ,       06/28/18   Employees Retirement           130989       Undetermined*
    GEORGINA                                 System of the Government of                                     GEORGINA                             System of the Government of
    SECT LA PLAYITA                          the Commonwealth of Puerto                                      SECT LA PLAYITA                      the Commonwealth of Puerto
    225 CALLEJON                             Rico                                                            225 CALLEJON                         Rico
    CAROLINA                                 17 BK 03566-LTS                                                 CAROLINA                             17 BK 03566-LTS
    SAN JUAN, PR 00915-2413                                                                                  SAN JUAN, PR 00915-2413

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
296 FERNANDEZ                     06/27/18   Employees Retirement           99402              Undetermined* FERNANDEZ                 06/27/18   Employees Retirement           107422       Undetermined*
    FERNANDEZ, CARMEN                        System of the Government of                                     FERNANDEZ, CARMEN                    System of the Government of
    IRIS                                     the Commonwealth of Puerto                                      IRIS                                 the Commonwealth of Puerto
    APT. 1193                                Rico                                                            APT. 1193                            Rico
    CAROLINA, PR 00986                       17 BK 03566-LTS                                                 CAROLINA, PR 00986                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
297 FERNANDEZ GARCIA,             05/30/18   Employees Retirement           29081                $ 100,000.00 FERNANDEZ GARCIA,        05/30/18   Employees Retirement           29120          $ 100,000.00
    ZULMA LUZ                                System of the Government of                                      ZULMA LUZ                           System of the Government of
    URB. VISTAS DEL                          the Commonwealth of Puerto                                       URB. VISTAS DEL                     the Commonwealth of Puerto
    BOSQUE                                   Rico                                                             BOSQUE SEC                          Rico
    SECCION BOSQUE DE                        17 BK 03566-LTS                                                  BOSQUE FLORES # 67                  17 BK 03566-LTS
    LAS FLORES #67                                                                                            C/GERBERA
    BAYAMON, PR 00956                                                                                         BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
298 FERNANDEZ ORTIZ,              06/29/18   Employees Retirement           76056                 $ 75,000.00 FERNANDEZ ORTIZ,         06/29/18   Employees Retirement           144877          $ 75,000.00
    JANNETTE                                 System of the Government of                                      JANNETTE                            System of the Government of
    BUZON 19 CALLE                           the Commonwealth of Puerto                                       CALLE ESTEBAN CRUZ                  the Commonwealth of Puerto
    ESTEBAN CRUZ                             Rico                                                             BUZON #19                           Rico
    URB. SANTA JUANITA                       17 BK 03566-LTS                                                  SANTA JUANITA                       17 BK 03566-LTS
    BAYAMON, PR 00956                                                                                         BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 58 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                            Desc:
                                                     Exhibit A - Schedule of Claims - English Page 60 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
299 FERNANDEZ                     05/22/18   Employees Retirement           29312                 $ 70,000.00 FERNANDEZ            05/22/18   Employees Retirement           37375           $ 70,000.00
    RODRIGUEZ, BRENDA                        System of the Government of                                      RODRIGUEZ, BRENDA               System of the Government of
    HC 3 BOX 12222                           the Commonwealth of Puerto                                       HC 1 BOX 12222                  the Commonwealth of Puerto
    CAROLINA, PR 00987-                      Rico                                                             CAROLINA, PR 00985              Rico
    9602                                     17 BK 03566-LTS                                                                                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
300 FERNANDEZ                     05/22/18   Employees Retirement           31178                 $ 70,000.00 FERNANDEZ            05/22/18   Employees Retirement           37375           $ 70,000.00
    RODRIGUEZ, BRENDA                        System of the Government of                                      RODRIGUEZ, BRENDA               System of the Government of
    HC 3 BOX 12222                           the Commonwealth of Puerto                                       HC 1 BOX 12222                  the Commonwealth of Puerto
    CAROLINA, PR 00987-                      Rico                                                             CAROLINA, PR 00985              Rico
    9602                                     17 BK 03566-LTS                                                                                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
301 FERREIRA LOPEZ,               06/07/18   Employees Retirement           61440              Undetermined* FERREIRA LOPEZ,       06/07/18   Employees Retirement           88216        Undetermined*
    NANCY                                    System of the Government of                                     NANCY                            System of the Government of
    HC 6 BOX 10102                           the Commonwealth of Puerto                                      HC 6 BOX 10102                   the Commonwealth of Puerto
    GUAYNABO, PR 00971                       Rico                                                            GUAYNABO, PR 00971               Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
302 FERREIRA LOPEZ,               06/07/18   Employees Retirement           87567              Undetermined* FERREIRA LOPEZ,       06/07/18   Employees Retirement           88216        Undetermined*
    NANCY                                    System of the Government of                                     NANCY                            System of the Government of
    HC 6 BOX 10102                           the Commonwealth of Puerto                                      HC 6 BOX 10102                   the Commonwealth of Puerto
    GUAYNABO, PR 00971                       Rico                                                            GUAYNABO, PR 00971               Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
303 FIGUEROA BELTRAN,             06/29/18   Employees Retirement           74820                 $ 75,000.00 FIGUEROA BELTRAN,    06/29/18   Employees Retirement           152823          $ 75,000.00
    SANTOS JAVIER                            System of the Government of                                      SANTOS JAVIER                   System of the Government of
    URB. LOS ALMENDROS                       the Commonwealth of Puerto                                       URB. LOS ALMENDROS              the Commonwealth of Puerto
    CALLE1 D7                                Rico                                                             C/1 D-7                         Rico
    JUNCOS, PR 00777                         17 BK 03566-LTS                                                  JUNCOS, PR 00777                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
304 FIGUEROA BELTRAN,             07/05/18   Employees Retirement           155548                $ 75,000.00 FIGUEROA BELTRAN,    06/29/18   Employees Retirement           152823          $ 75,000.00
    SANTOS JAVIER                            System of the Government of                                      SANTOS JAVIER                   System of the Government of
    URB. LOS ALMENDROS                       the Commonwealth of Puerto                                       URB. LOS ALMENDROS              the Commonwealth of Puerto
    C/1 D-7                                  Rico                                                             C/1 D-7                         Rico
    JUNCOS, PR 00777                         17 BK 03566-LTS                                                  JUNCOS, PR 00777                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 59 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 61 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
305 FIGUEROA CARRION,             06/05/18   Employees Retirement           28255                 $ 55,000.00 FIGUEROA CARRION,     06/14/18   Employees Retirement           66244           $ 55,000.00
    ISRAEL                                   System of the Government of                                      ISRAEL                           System of the Government of
    PO BOX 1392                              the Commonwealth of Puerto                                       BOX 1392                         the Commonwealth of Puerto
    CANOVANAS, PR 00729                      Rico                                                             CANOVANAS, PR 00729              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
306 FIGUEROA CUEVAS,              05/29/18   Employees Retirement           32643              Undetermined* FIGUEROA CUEVAS,       05/29/18   Employees Retirement           33641        Undetermined*
    LUIS M                                   System of the Government of                                     LUIS M                            System of the Government of
    452 CALLE BUCARE                         the Commonwealth of Puerto                                      URB LOS ARBOLES                   the Commonwealth of Puerto
    RIO GRANDE, PR 00745                     Rico                                                            452 CALLE BUCARE                  Rico
                                             17 BK 03566-LTS                                                 RIO GRANDE, PR 00745              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
307 FIGUEROA CUEVAS,              05/29/18   Employees Retirement           33338              Undetermined* FIGUEROA CUEVAS,       05/29/18   Employees Retirement           33641        Undetermined*
    LUIS M                                   System of the Government of                                     LUIS M                            System of the Government of
    URB LOS ARBOLES                          the Commonwealth of Puerto                                      URB LOS ARBOLES                   the Commonwealth of Puerto
    452 CALLE BUCARE                         Rico                                                            452 CALLE BUCARE                  Rico
    RIO GRANDE, PR 00745                     17 BK 03566-LTS                                                 RIO GRANDE, PR 00745              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
308 FIGUEROA ILDEFONSO,           06/27/18   Employees Retirement           53438              Undetermined* FIGUEROA ILDEFONSO,    06/27/18   Employees Retirement           54035        Undetermined*
    ABIGAIL                                  System of the Government of                                     ABIGAIL                           System of the Government of
    URB VILLA                                the Commonwealth of Puerto                                      URB VILLA                         the Commonwealth of Puerto
    GUADALUPE                                Rico                                                            GUADALUPE                         Rico
    CC19 CALLE 23                            17 BK 03566-LTS                                                 CC19 CALLE 23                     17 BK 03566-LTS
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
309 FIGUEROA MELENDEZ,            06/28/18   Employees Retirement           66288              Undetermined* FIGUEROA MELENDEZ,     07/03/18   Employees Retirement           139112       Undetermined*
    VIANGERIS                                System of the Government of                                     VIANGERIS                         System of the Government of
    REPARTO VALENCIA                         the Commonwealth of Puerto                                      REPARTO VALENCIA                  the Commonwealth of Puerto
    AH-5 CALLE 9                             Rico                                                            AH- 5 CALLE 9                     Rico
    BAYAMON, PR 00959                        17 BK 03566-LTS                                                 BAYAMON, PR 00959                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 60 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                            Desc:
                                                     Exhibit A - Schedule of Claims - English Page 62 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
310 FIGUEROA MORALES,             06/27/18   Employees Retirement           54596                 $ 59,281.78 FIGUEROA MORALES,    06/28/18   Employees Retirement           63057           $ 59,281.78
    MIGUEL E.                                System of the Government of                                      MIGUEL E.                       System of the Government of
    URB. JARDINES DE                         the Commonwealth of Puerto                                       URB. JARDINES DE                the Commonwealth of Puerto
    LAFAYETTE CALLE G-                       Rico                                                             LAFAYETTE                       Rico
    D10                                      17 BK 03566-LTS                                                  CALLE GD 10                     17 BK 03566-LTS
    ARROYO, PR 00714                                                                                          ARROYO, PR 00714

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
311 FIGUEROA ORSINI,              06/06/18   Employees Retirement           35290                 $ 13,522.31 FIGUEROA ORSINI,     06/06/18   Employees Retirement           51469           $ 13,522.31
    AILEEN                                   System of the Government of                                      AILEEN                          System of the Government of
    RR 02 BOX 3302                           the Commonwealth of Puerto                                       RR 2 BOX 3302                   the Commonwealth of Puerto
    ANASCO, PR 00610                         Rico                                                             AÑASCO, PR 00610                Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
312 FIGUEROA ORSINI,              06/06/18   Employees Retirement           42460                 $ 13,522.31 FIGUEROA ORSINI,     06/06/18   Employees Retirement           51469           $ 13,522.31
    AILEEN                                   System of the Government of                                      AILEEN                          System of the Government of
    RR 2 BOX 3302                            the Commonwealth of Puerto                                       RR 2 BOX 3302                   the Commonwealth of Puerto
    AÑASCO, PR 00610-9300                    Rico                                                             AÑASCO, PR 00610                Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
313 FIGUEROA ORSINI,              06/06/18   Employees Retirement           49079                 $ 13,522.31 FIGUEROA ORSINI,     06/06/18   Employees Retirement           51469           $ 13,522.31
    AILEEN                                   System of the Government of                                      AILEEN                          System of the Government of
    RR 02 BOX 3302                           the Commonwealth of Puerto                                       RR 2 BOX 3302                   the Commonwealth of Puerto
    ANASCO, PR 00610                         Rico                                                             AÑASCO, PR 00610                Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
314 FIGUEROA PEREZ,               03/08/18   Employees Retirement            1572              Undetermined* FIGUEROA PEREZ,       03/08/18   Employees Retirement           1737         Undetermined*
    ACISCLO                                  System of the Government of                                     ACISCLO                          System of the Government of
    PO BOX 523                               the Commonwealth of Puerto                                      PO BOX 523                       the Commonwealth of Puerto
    PENUELAS, PR 00624-                      Rico                                                            PENUELAS, PR 00624-              Rico
    0523                                     17 BK 03566-LTS                                                 0523                             17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 61 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 63 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
315 FIGUEROA PEREZ,               03/08/18   Employees Retirement            1666              Undetermined* FIGUEROA PEREZ,        03/08/18   Employees Retirement           1737         Undetermined*
    ACISCLO                                  System of the Government of                                     ACISCLO                           System of the Government of
    PO BOX 523                               the Commonwealth of Puerto                                      PO BOX 523                        the Commonwealth of Puerto
    PENUELAS, PR 00624-                      Rico                                                            PENUELAS, PR 00624-               Rico
    0523                                     17 BK 03566-LTS                                                 0523                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
316 FIGUEROA RESTO,               05/25/18   Employees Retirement           22350                $ 55,165.68* FIGUEROA RESTO,       05/30/18   Employees Retirement           44925          $ 55,165.68*
    IRAIDA                                   System of the Government of                                      IRAIDA                           System of the Government of
    URB. LOS ANGELES                         the Commonwealth of Puerto                                       URB. LOS ANGELES                 the Commonwealth of Puerto
    45 CALLE                                 Rico                                                             45 CALLE                         Rico
    ANDROMEDAS                               17 BK 03566-LTS                                                  ANDROMEDAS                       17 BK 03566-LTS
    CAROLINA, PR 00979                                                                                        CAROLINA, PR 00979

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
317 FIGUEROA RIOS,                06/28/18   Employees Retirement           111511             Undetermined* RODRIGUEZ RIVERA,      06/28/18   Employees Retirement           130064       Undetermined*
    MILDRED Y                                System of the Government of                                     MANUEL A.                         System of the Government of
    37 BDA BORINQUEN                         the Commonwealth of Puerto                                      37 BDA BORINQUEN                  the Commonwealth of Puerto
    VILLALBA, PR 00766                       Rico                                                            VILLALBA, PR 00766                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
318 FIGUEROA RODRIGUEZ,           05/29/18   Employees Retirement           39676              Undetermined* FIGUEROA RODRIGUEZ,    05/29/18   Employees Retirement           41644        Undetermined*
    IRIS M                                   System of the Government of                                     IRIS M                            System of the Government of
    CALLE 22 AA-8 VISTA                      the Commonwealth of Puerto                                      URB VISTA AZUL                    the Commonwealth of Puerto
    AZUL                                     Rico                                                            AA 8 CALLE 22                     Rico
    ARECIBO, PR 00612                        17 BK 03566-LTS                                                 ARECIBO, PR 00612                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
319 FIGUEROA VELAZQUEZ,           06/27/18   Employees Retirement           49338                 $ 70,000.00 FIGUEROA VELAZQUEZ,   06/27/18   Employees Retirement           56043           $ 70,000.00
    GLORY I.                                 System of the Government of                                      GLORY I.                         System of the Government of
    APARTADO 776                             the Commonwealth of Puerto                                       APARTADO 776                     the Commonwealth of Puerto
    PATILLAS, PR 00723                       Rico                                                             PATILLAS, PR 00723               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 62 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 64 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
320 FIRPO PEREZ, YARITZA          07/03/18   Employees Retirement           102017                $ 23,892.75 FIRPO PEREZ, YARITZA   07/06/18   Employees Retirement           140178          $ 23,892.75
    HC-4 BOX 48588                           System of the Government of                                      HC-4 BOX 48588                    System of the Government of
    AGUADILLA, PR 00603                      the Commonwealth of Puerto                                       AGUADLILLA, PR 00603              the Commonwealth of Puerto
                                             Rico                                                                                               Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
321 FLECHA BURGOS,                05/15/18   Employees Retirement           14162                $ 230,000.00 FLECHA BURGOS,         06/05/18   Employees Retirement           47321         $ 230,000.00*
    MARIELL                                  System of the Government of                                      MARIELL                           System of the Government of
    356 CALLE HORIZONTE                      the Commonwealth of Puerto                                       356 CALLE HORIZONTE               the Commonwealth of Puerto
    URB. PALACIOS DEL                        Rico                                                             URB. PALACIOS DEL                 Rico
    SOL                                      17 BK 03566-LTS                                                  SOL                               17 BK 03566-LTS
    HUMACAO, PR 00791                                                                                         HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
322 FLORES FLORES,                06/29/18   Employees Retirement           104728               $ 51,529.00* FLORES FLORES,         06/29/18   Employees Retirement           129935         $ 51,529.00*
    AMARILYS                                 System of the Government of                                      AMARILYS                          System of the Government of
    PO BOX 177                               the Commonwealth of Puerto                                       PO BOX 177                        the Commonwealth of Puerto
    COMERIO, PR 00782                        Rico                                                             COMERÍO, PR 00782                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
323 FLORES GONZALEZ,              07/03/18   Employees Retirement           104878              $ 151,000.00* FLORES GONZALEZ,       07/03/18   Employees Retirement           104994        $ 151,000.00*
    YAZMIN                                   System of the Government of                                      YAZMIN                            System of the Government of
    COND. PAISAJES DEL                       the Commonwealth of Puerto                                       COND. PAISAJES DEL                the Commonwealth of Puerto
    ESCORIAL                                 Rico                                                             ESCORIAL                          Rico
    902120 BLVD MEDIA                        17 BK 03566-LTS                                                  902120 BLVD MEDIA                 17 BK 03566-LTS
    LUNA                                                                                                      LUNA
    CAROLINA, PR 00987                                                                                        CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
324 FLORES RIOS, VANESSA          05/30/18   Employees Retirement           26945                $ 75,000.00* FLORES RIOS, VANESSA   05/30/18   Employees Retirement           29162          $ 75,000.00*
    URB COUNTRY CLUB                         System of the Government of                                      CALLE LLAUSETINA 971              System of the Government of
    971 CALLE LLAUSETINA                     the Commonwealth of Puerto                                       URB. COUNTRY CLUB                 the Commonwealth of Puerto
    SAN JUAN, PR 00924                       Rico                                                             SAN JUAN, PR 00924                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 63 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 65 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
325 FLORES RIOS, VANESSA          05/30/18   Employees Retirement           29066                $ 75,000.00* FLORES RIOS, VANESSA   05/30/18   Employees Retirement           29162         $ 75,000.00*
    971 CALLE LLAUSETINA                     System of the Government of                                      CALLE LLAUSETINA 971              System of the Government of
    SAN JUAN, PR 00924                       the Commonwealth of Puerto                                       URB. COUNTRY CLUB                 the Commonwealth of Puerto
                                             Rico                                                             SAN JUAN, PR 00924                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
326 FLORES RIOS, VANESSA          05/30/18   Employees Retirement           29072                $ 75,000.00* FLORES RIOS, VANESSA   05/30/18   Employees Retirement           29162         $ 75,000.00*
    971 CALLE LLAUSETINA                     System of the Government of                                      CALLE LLAUSETINA 971              System of the Government of
    URB. COUNTRY CLUB                        the Commonwealth of Puerto                                       URB. COUNTRY CLUB                 the Commonwealth of Puerto
    SAN JUAN, PR 00924                       Rico                                                             SAN JUAN, PR 00924                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
327 FLORES RIOS, VANESSA          05/30/18   Employees Retirement           29109                $ 75,000.00* FLORES RIOS, VANESSA   05/30/18   Employees Retirement           29162         $ 75,000.00*
    CALLE LLAUSETINA 971                     System of the Government of                                      CALLE LLAUSETINA 971              System of the Government of
    URB. COUNTRY CLUB                        the Commonwealth of Puerto                                       URB. COUNTRY CLUB                 the Commonwealth of Puerto
    SAN JUAN, PR 00924                       Rico                                                             SAN JUAN, PR 00924                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
328 FLORES ROSA, JOSE A           06/05/18   Employees Retirement           55963                 $ 75,000.00 FLORES ROSA, JOSE A    06/05/18   Employees Retirement           55967          $ 75,000.00
    HC 2 BOX 6044                            System of the Government of                                      HC 2 BOX 6044                     System of the Government of
    BO SABANA                                the Commonwealth of Puerto                                       BO SABANA                         the Commonwealth of Puerto
    LUQUILLO, PR 00773-                      Rico                                                             LUQUILLO, PR 00773-               Rico
    9731                                     17 BK 03566-LTS                                                  9731                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
329 FONSECA RIVERA, LIZ           06/05/18   Employees Retirement           48140                 $ 16,352.32 FONSECA RIVERA, LIZ    06/05/18   Employees Retirement           48265          $ 16,352.32
    A.                                       System of the Government of                                      A.                                System of the Government of
    URB SANTA ELENA                          the Commonwealth of Puerto                                       URB SANTA ELENA                   the Commonwealth of Puerto
    73 CALLE 7                               Rico                                                             73 CALLE 7                        Rico
    YABUCOA, PR 00767                        17 BK 03566-LTS                                                  YABUCOA, PR 00767                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
330 FONSECA RIVERA, LIZ           06/05/18   Employees Retirement           48177                 $ 16,352.32 FONSECA RIVERA, LIZ    06/05/18   Employees Retirement           48265          $ 16,352.32
    A.                                       System of the Government of                                      A.                                System of the Government of
    URB.SANTA ELENA                          the Commonwealth of Puerto                                       URB SANTA ELENA                   the Commonwealth of Puerto
    73 CALLE 7                               Rico                                                             73 CALLE 7                        Rico
    YABUCOA, PR 00767                        17 BK 03566-LTS                                                  YABUCOA, PR 00767                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 64 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 66 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
331 FONTAN OLIVO, LUIS A.         06/29/18   Employees Retirement           136893                $ 60,732.87 FONTAN OLIVO, LUIS A.   06/29/18   Employees Retirement           148767          $ 60,732.87
    URB LAS LOMAS                            System of the Government of                                      URB LAS LOMAS                      System of the Government of
    C21 S O 795                              the Commonwealth of Puerto                                       C21 S O 795                        the Commonwealth of Puerto
    SAN JUAN, PR 00921                       Rico                                                             SAN JUAN, PR 00921                 Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
332 FORTES BERRIOS,               06/28/18   Employees Retirement           70507                $ 21,060.63* FORTES BERRIOS,         06/28/18   Employees Retirement           73239          $ 21,060.63*
    EMANUEL                                  System of the Government of                                      EMANUEL                            System of the Government of
    VILLA PRADES                             the Commonwealth of Puerto                                       VILLA PRADES                       the Commonwealth of Puerto
    706 CALLE FRANCISCO                      Rico                                                             706 CALLE FRANCISCO                Rico
    CORTES                                   17 BK 03566-LTS                                                  CORTES                             17 BK 03566-LTS
    SAN JUAN, PR 00924                                                                                        SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
333 FRANCO HERNANDEZ,             06/05/18   Employees Retirement           46808              Undetermined* FRANCO HERNANDEZ,        06/05/18   Employees Retirement           48032        Undetermined*
    ALIDA O                                  System of the Government of                                     ALIDA O                             System of the Government of
    158-19 CALLE 423                         the Commonwealth of Puerto                                      VILLA CAROLINA                      the Commonwealth of Puerto
    CAROLINA, PR 00985                       Rico                                                            15819 CALLE 423                     Rico
                                             17 BK 03566-LTS                                                 CAROLINA, PR 00985                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
334 FRANCO HERNANDEZ,             06/05/18   Employees Retirement           47799              Undetermined* FRANCO HERNANDEZ,        06/05/18   Employees Retirement           48032        Undetermined*
    ALIDA O                                  System of the Government of                                     ALIDA O                             System of the Government of
    VILLA CAROLINA                           the Commonwealth of Puerto                                      VILLA CAROLINA                      the Commonwealth of Puerto
    15819 CALLE 423                          Rico                                                            15819 CALLE 423                     Rico
    CAROLINA, PR 00985                       17 BK 03566-LTS                                                 CAROLINA, PR 00985                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
335 FRED ORLANDO,                 06/28/18   Employees Retirement           112632             Undetermined* FRED ORLANDO,            06/28/18   Employees Retirement           119267       Undetermined*
    YOLANDA                                  System of the Government of                                     YOLANDA                             System of the Government of
    URB. VALLE CASTRO                        the Commonwealth of Puerto                                      URB. VALLE COSTERO                  the Commonwealth of Puerto
    3839 CA. ALGAS                           Rico                                                            3839                                Rico
    SANTA ISABEL, PR 00757                   17 BK 03566-LTS                                                 CA. ALGAS                           17 BK 03566-LTS
                                                                                                             SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 65 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 67 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
336 FUENTES BENITEZ, ANA          06/29/18   Employees Retirement           150231             Undetermined* FUENTES BENITEZ, ANA     06/29/18   Employees Retirement           150537       Undetermined*
    M.                                       System of the Government of                                     M.                                  System of the Government of
    URB. VILLA CAROLINA                      the Commonwealth of Puerto                                      URB VILLA CAROLINA                  the Commonwealth of Puerto
    CALLE 79 BLOQ. 111 # 24                  Rico                                                            CALLE 79 BLOQ. 111 #24              Rico
    CAROLINA, PR 00985                       17 BK 03566-LTS                                                 CAROLINA, PR 00985                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
337 FUENTES ORTEGA, ANA           06/28/18   Employees Retirement           59649                 $ 65,706.59 FUENTES ORTEGA, ANA     06/28/18   Employees Retirement           60660           $ 65,706.59
    C                                        System of the Government of                                      C                                  System of the Government of
    BARRIO CEDRO ARRIBA                      the Commonwealth of Puerto                                       BARRIO CEDRO ARRIBA                the Commonwealth of Puerto
    HC73 BOX 5023                            Rico                                                             HC73 BOX 5023                      Rico
    NARANJITO, PR 00719                      17 BK 03566-LTS                                                  NARANJITO, PR 00719                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
338 FUENTES SANTOS,               05/24/18   Employees Retirement           20261                 $ 75,000.00 FUENTES SANTOS,         05/29/18   Employees Retirement           47010           $ 75,000.00
    CARLOS M.                                System of the Government of                                      CARLOS M.                          System of the Government of
    HC 01 BOX 5178                           the Commonwealth of Puerto                                       HC 01 BOX 5178                     the Commonwealth of Puerto
    LOIZA, PR 00772                          Rico                                                             LOIZA, PR 00772                    Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
339 GALAN REYES, DELIRYS          07/03/18   Employees Retirement           129605                $ 11,166.49 GALAN REYES, DELIRYS    07/03/18   Employees Retirement           133552          $ 11,166.49
    MILAGRO                                  System of the Government of                                      MILAGRO                            System of the Government of
    URB. COLIMAR 2                           the Commonwealth of Puerto                                       URB. COLIMAR                       the Commonwealth of Puerto
    RAFAEL HERNANDEZ                         Rico                                                             2 RAFAEL HERNANDEZ                 Rico
    GUAYNABO, PR 00969                       17 BK 03566-LTS                                                  GUAYNABO, PR 00969                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
340 GALINDEZ MORALES,             06/27/18   Employees Retirement           49537              Undetermined* GALINDEZ MORALES,        06/27/18   Employees Retirement           55628        Undetermined*
    AUREA E                                  System of the Government of                                     AUREA E                             System of the Government of
    CALLE PARIS 243                          the Commonwealth of Puerto                                      243 CALLE PARIS                     the Commonwealth of Puerto
    P.O. BOX 1423                            Rico                                                            APT 1423                            Rico
    SAN JUAN, PR 00917                       17 BK 03566-LTS                                                 SAN JUAN, PR 00917                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 66 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                    Exhibit A - Schedule of Claims - English Page 68 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
341 GARAY LOPEZ,                 07/06/18   Employees Retirement           150305                $ 84,870.49 GARAY LOPEZ,          07/06/18   Employees Retirement           151255          $ 84,870.49
    ELISABET                                System of the Government of                                      ELISABET                         System of the Government of
    HC 3 BOX 16036                          the Commonwealth of Puerto                                       URB BRISAS DE                    the Commonwealth of Puerto
    AGUAS BUENAS, PR                        Rico                                                             PALMASOLA                        Rico
    00703                                   17 BK 03566-LTS                                                  CALLE 3 D7                       17 BK 03566-LTS
                                                                                                             AGUAS BUENAS, PR
                                                                                                             00703

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
342 GARCIA COTTO, AUREA          06/27/18   Employees Retirement           54446                 $ 75,000.00 GARCIA COTTO, AUREA   06/28/18   Employees Retirement           65517           $ 75,000.00
    E.                                      System of the Government of                                      E.                               System of the Government of
    PO BOX 61                               the Commonwealth of Puerto                                       PO BOX 61                        the Commonwealth of Puerto
    CIDRA, PR 00739                         Rico                                                             CIDRA, PR 00739                  Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
343 GARCIA CRUZ,                 06/29/18   Employees Retirement           137155             Undetermined* GARCIA CRUZ,           06/29/18   Employees Retirement           151644       Undetermined*
    ANTONIA                                 System of the Government of                                     ANTONIA                           System of the Government of
    30 BALDORIOTY DE                        the Commonwealth of Puerto                                      30 BALDORIOTY DE                  the Commonwealth of Puerto
    CASTRO ST.                              Rico                                                            CASTRO ST                         Rico
    CIDRA, PR 00739                         17 BK 03566-LTS                                                 CIDRA, PR 00739                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
344 GARCIA CRUZ,                 05/25/18   Employees Retirement           17868                 $ 50,280.65 GARCIA CRUZ,          05/25/18   Employees Retirement           22220           $ 50,280.65
    JEANETTE                                System of the Government of                                      JEANETTE                         System of the Government of
    REPARTO VALENCIA                        the Commonwealth of Puerto                                       REPARTO VALENCIA                 the Commonwealth of Puerto
    C/12, AJ-13                             Rico                                                             C12 AJ 13                        Rico
    BAYAMON, PR 00959                       17 BK 03566-LTS                                                  BAYAMON, PR 00959                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
345 GARCIA CRUZ,                 06/28/18   Employees Retirement           119320             Undetermined* GARCIA CRUZ,           06/28/18   Employees Retirement           165330       Undetermined*
    MARGARITA                               System of the Government of                                     MARGARITA                         System of the Government of
    G-14 CALLE 9 URB.                       the Commonwealth of Puerto                                      G-14 CALLE 9 URB.                 the Commonwealth of Puerto
    VILLA DEL CARMEN                        Rico                                                            VILLA DEL CARMEN                  Rico
    CIDRA, PR 00739                         17 BK 03566-LTS                                                 CIDRA, PR 00739                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 67 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 69 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
346 GARCIA CRUZ,                  06/28/18   Employees Retirement           144539             Undetermined* GARCIA CRUZ,            06/28/18   Employees Retirement           145812       Undetermined*
    MARGARITA                                System of the Government of                                     MARGARITA                          System of the Government of
    G-14 CALLE 9 VILLA                       the Commonwealth of Puerto                                      G-14 CALLE 9                       the Commonwealth of Puerto
    DEL CARMEN                               Rico                                                            URB.VILLA DEL                      Rico
    CIDRA, PR 00739                          17 BK 03566-LTS                                                 CARMEN                             17 BK 03566-LTS
                                                                                                             CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
347 GARCIA FLORES, ROSE           06/29/18   Employees Retirement           85247              Undetermined* GARCIA FLORES, ROSE     06/29/18   Employees Retirement           91508        Undetermined*
    MARIE                                    System of the Government of                                     MARIE                              System of the Government of
    HC 10 BOX 49382                          the Commonwealth of Puerto                                      HC 10 BOX 49382                    the Commonwealth of Puerto
    CAGUAS, PR 00725                         Rico                                                            CAGUAS, PR 00725                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
348 GARCIA MORALES, JOSE          06/27/18   Employees Retirement           42551                 $ 47,328.35 GARCIA MORALES, JOSE   06/29/18   Employees Retirement           121776         $ 47,328.35*
    I.                                       System of the Government of                                      I.                                System of the Government of
    HC-04 BOX 4061                           the Commonwealth of Puerto                                       HC-04 BOX 4061                    the Commonwealth of Puerto
    HUMACAO, PR 00791-                       Rico                                                             HUMACAO, PR 00791-                Rico
    9504                                     17 BK 03566-LTS                                                  9504                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
349 GARCIA RIVERA,                05/09/18   Employees Retirement           12563              Undetermined* GARCIA RIVERA,          05/09/18   Employees Retirement           12648        Undetermined*
    ENIBETH                                  System of the Government of                                     ENIBETH                            System of the Government of
    HC01 BOX 9182                            the Commonwealth of Puerto                                      PO BOX 2160                        the Commonwealth of Puerto
    CANOVANAS, PR 00729                      Rico                                                            CANOVANAS, PR 00729                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
350 GARCIA RIVERA,                05/18/18   Employees Retirement           11832                $ 62,187.34* GARCIA RIVERA,         05/22/18   Employees Retirement           18025          $ 62,187.34*
    VICTOR                                   System of the Government of                                      VICTOR                            System of the Government of
    727 CALLE CONCEPCION                     the Commonwealth of Puerto                                       727 CALLE CONCEPCION              the Commonwealth of Puerto
    VERA                                     Rico                                                             VERA                              Rico
    MOCA, PR 00676                           17 BK 03566-LTS                                                  MOCA, PR 00676                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 68 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 70 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
351 GARCIA RIVERA,                05/18/18   Employees Retirement           14498                $ 62,187.34* GARCIA RIVERA,         05/22/18   Employees Retirement           18025         $ 62,187.34*
    VICTOR                                   System of the Government of                                      VICTOR                            System of the Government of
    727 CALLE CONCEPCION                     the Commonwealth of Puerto                                       727 CALLE CONCEPCION              the Commonwealth of Puerto
    VERA                                     Rico                                                             VERA                              Rico
    MOCA, PR 00676                           17 BK 03566-LTS                                                  MOCA, PR 00676                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
352 GARCIA SANTOS,                05/30/18   Employees Retirement           30058                 $ 20,000.00 GARCIA SANTOS,         05/30/18   Employees Retirement           30071          $ 20,000.00
    TAMARIS                                  System of the Government of                                      TAMARIS                           System of the Government of
    D 32 CALLE 6                             the Commonwealth of Puerto                                       URB SANTA JUANA 2                 the Commonwealth of Puerto
    URB SANTA JUANA 2                        Rico                                                             D 32 CALLE 6                      Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
353 GARCIA SCHMIDT,               06/29/18   Employees Retirement           132310               $ 43,041.49* GARCIA SCHMIDT,        06/29/18   Employees Retirement           137874         $ 43,041.49
    LILLIAM                                  System of the Government of                                      LILLIAM                           System of the Government of
    HC 01 BOX 4798                           the Commonwealth of Puerto                                       HC 1 BOX 4798                     the Commonwealth of Puerto
    HATO REY, PR 00795                       Rico                                                             JUANA DIAZ, PR 00795              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
354 GARCIA SCHMIDT,               06/29/18   Employees Retirement           135691                $ 43,041.49 GARCIA SCHMIDT,        06/29/18   Employees Retirement           137874         $ 43,041.49
    LILLIAM                                  System of the Government of                                      LILLIAM                           System of the Government of
    HC 01 BOX 4798                           the Commonwealth of Puerto                                       HC 1 BOX 4798                     the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                             JUANA DIAZ, PR 00795              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
355 GARCIA TORRES, EMMA           06/26/18   Employees Retirement           39965                $ 68,931.79* GARCIA TORRES, EMMA    06/26/18   Employees Retirement           50543         $ 68,931.79*
    IRIS                                     System of the Government of                                      IRIS                              System of the Government of
    V3 #14 FERNANDO                          the Commonwealth of Puerto                                       V3 #14 FERNANDO                   the Commonwealth of Puerto
    GOMEZ                                    Rico                                                             GOMEZ                             Rico
    LAS LOMAS                                17 BK 03566-LTS                                                  LAS LOMAS                         17 BK 03566-LTS
    SAN JUAN, PR 00921                                                                                        SAN JUAN, PR 00921

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 69 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                            Desc:
                                                     Exhibit A - Schedule of Claims - English Page 71 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME          FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
356 GARCIA VDA, FLORA             04/24/18   Employees Retirement            7943              Undetermined* GARCIA VDA, FLORA     04/24/18   Employees Retirement           8134         Undetermined*
    URB COUNTRY CLUB                         System of the Government of                                     URB COUNTRY CLUB                 System of the Government of
    NE6 CALLE 448                            the Commonwealth of Puerto                                      NE6 CALLE 448                    the Commonwealth of Puerto
    CAROLINA, PR 00982-                      Rico                                                            CAROLINA, PR 00982-              Rico
    1922                                     17 BK 03566-LTS                                                 1922                             17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
357 GARCIA VELEZ,                 05/29/18   Employees Retirement           26520              Undetermined* GARCIA VELEZ,         06/08/18   Employees Retirement           56162        Undetermined*
    MILDRED YOLANDA                          System of the Government of                                     MILDRED YOLANDA                  System of the Government of
    HC 02 BOX 3028                           the Commonwealth of Puerto                                      HC 02 BOX 3028                   the Commonwealth of Puerto
    SABANA HOYOS, PR                         Rico                                                            SABANA HOYOS, PR                 Rico
    00688                                    17 BK 03566-LTS                                                 00688                            17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
358 GIL NIEVES, JUAN R            04/27/18   Employees Retirement            8575                 $ 56,034.66 GIL NIEVES, JUAN R   04/27/18   Employees Retirement           9354            $ 56,034.66
    LOS DOMINICOS                            System of the Government of                                      HC 46 BOX 6010                  System of the Government of
    K 201 CALLE SAN                          the Commonwealth of Puerto                                       DORADO, PR 00646                the Commonwealth of Puerto
    REYMUNDO                                 Rico                                                                                             Rico
    BAYAMON, PR 00957-                       17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    5902

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
359 GIL NIEVES, JUAN R            06/01/18   Employees Retirement           65083                $ 56,034.66* GIL NIEVES, JUAN R   04/27/18   Employees Retirement           9354            $ 56,034.66
    HC-46 BOX 6010                           System of the Government of                                      HC 46 BOX 6010                  System of the Government of
    BO. MAGUAYO                              the Commonwealth of Puerto                                       DORADO, PR 00646                the Commonwealth of Puerto
    DORADO, PR 00646                         Rico                                                                                             Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
360 GOMEZ HUERTAS,                06/19/18   Employees Retirement           42247              Undetermined* GOMEZ HUERTAS,        06/19/18   Employees Retirement           44722        Undetermined*
    OMAYRA                                   System of the Government of                                     OMAYRA                           System of the Government of
    HC 02 BOX 13597                          the Commonwealth of Puerto                                      HC 02 BOX 13597                  the Commonwealth of Puerto
    GURABO, PR 00778                         Rico                                                            GURABO, PR 00778                 Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 70 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 72 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
361 GOMEZ HUERTAS,                06/19/18   Employees Retirement           44717              Undetermined* GOMEZ HUERTAS,          06/19/18   Employees Retirement           44722        Undetermined*
    OMAYRA                                   System of the Government of                                     OMAYRA                             System of the Government of
    HC 02 BOX 13597                          the Commonwealth of Puerto                                      HC 02 BOX 13597                    the Commonwealth of Puerto
    GURABO, PR 00778                         Rico                                                            GURABO, PR 00778                   Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
362 GONZALEZ CORTES,              05/25/18   Employees Retirement           18893              Undetermined* GONZALEZ CORTES,        05/25/18   Employees Retirement           21318        Undetermined*
    DALIA                                    System of the Government of                                     DALIA                              System of the Government of
    VILLA SERENA                             the Commonwealth of Puerto                                      VILLA SERENA                       the Commonwealth of Puerto
    C3 CANARIO                               Rico                                                            C3 CANARIO                         Rico
    ARECIBO, PR 00612                        17 BK 03566-LTS                                                 ARECIBO, PR 00612                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
363 GONZALEZ DEL VALLE,           06/28/18   Employees Retirement           124075                $ 18,000.00 GONZALEZ DEL VALLE,    06/28/18   Employees Retirement           62228           $ 18,000.00
    GERARDO                                  System of the Government of                                      GERARDO                           System of the Government of
    HC-10 BOX 49372                          the Commonwealth of Puerto                                       HC-10 BOX 49372                   the Commonwealth of Puerto
    CAGUAS, PR 00725                         Rico                                                             CAGUAS, PR 00725                  Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
364 GONZALEZ GONZALEZ,            07/02/18   Employees Retirement           148596             Undetermined* GONZALEZ GONZALEZ,      07/02/18   Employees Retirement           153593       Undetermined*
    CHRISTIAN G.                             System of the Government of                                     CHRISTIAN G.                       System of the Government of
    HC 30 BOX 32369                          the Commonwealth of Puerto                                      HC 30 BOX 32369                    the Commonwealth of Puerto
    SAN LORENZO, PR 00754                    Rico                                                            SAN LORENZO, PR 00754              Rico
                                             17 BK 03566-LTS                                                 -9722                              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
365 GONZALEZ GONZALEZ,            05/25/18   Employees Retirement           21168              Undetermined* GONZALEZ GONZALEZ,      06/05/18   Employees Retirement           57649        Undetermined*
    YOLANDA                                  System of the Government of                                     YOLANDA                            System of the Government of
    HC 1 BOX 4716                            the Commonwealth of Puerto                                      HC 1 BOX 4716                      the Commonwealth of Puerto
    BO PILETAS                               Rico                                                            BO PILETAS                         Rico
    LARES, PR 00669                          17 BK 03566-LTS                                                 LARES, PR 00669                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 71 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 73 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
366 GONZALEZ GONZALEZ,            05/29/18   Employees Retirement           39548                $ 52,354.34* GONZALEZ GONZALEZ,      05/29/18   Employees Retirement           44945          $ 52,354.34*
    ZORAIDA                                  System of the Government of                                      ZORAIDA                            System of the Government of
    BOX 3910                                 the Commonwealth of Puerto                                       PO BOX 3910                        the Commonwealth of Puerto
    BAYAMON GARDEN                           Rico                                                             BAYAMON GARDENS                    Rico
    STA.                                     17 BK 03566-LTS                                                  STATION                            17 BK 03566-LTS
    BAYAMON, PR 00958                                                                                         BAYAMON, PR 00958

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
367 GONZALEZ GONZALEZ,            05/29/18   Employees Retirement           40433                $ 52,354.34* GONZALEZ GONZALEZ,      05/29/18   Employees Retirement           44945          $ 52,354.34*
    ZORAIDA                                  System of the Government of                                      ZORAIDA                            System of the Government of
    PO BOX 3910                              the Commonwealth of Puerto                                       PO BOX 3910                        the Commonwealth of Puerto
    BAYAMON GARDENS                          Rico                                                             BAYAMON GARDENS                    Rico
    STATION                                  17 BK 03566-LTS                                                  STATION                            17 BK 03566-LTS
    BAYAMON, PR 00958                                                                                         BAYAMON, PR 00958

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
368 GONZALEZ HERRERA,             06/28/18   Employees Retirement           119992               $ 45,044.89* GONZALEZ HERRERA,       06/28/18   Employees Retirement           152808         $ 45,044.89*
    CALIXTA                                  System of the Government of                                      CALIXTA                            System of the Government of
    HC - 4 12676                             the Commonwealth of Puerto                                       HC-4 12676                         the Commonwealth of Puerto
    RIO GRANDES, PR 00745                    Rico                                                             RIO GRANDES, PR 00745              Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
369 GONZALEZ JORGE,               05/28/18   Employees Retirement           25867                $ 200,000.00 GONZALEZ JORGE,         05/29/18   Employees Retirement           38806          $ 200,000.00
    MAYRA L.                                 System of the Government of                                      MAYRA L.                           System of the Government of
    URB BUENA VISTA                          the Commonwealth of Puerto                                       URB BUENA VISTA                    the Commonwealth of Puerto
    1215 CALLE CALMA                         Rico                                                             1215 CALLE CALMA                   Rico
    PONCE, PR 00717                          17 BK 03566-LTS                                                  PONCE, PR 00717                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
370 GONZALEZ                      06/06/18   Employees Retirement           74078              Undetermined* GONZALEZ                 06/06/18   Employees Retirement           78779        Undetermined*
    JUSTINIANO, HECTOR L                     System of the Government of                                     JUSTINIANO, HECTOR L                System of the Government of
    H C 37 BOX 7548                          the Commonwealth of Puerto                                      H C 37 BOX 7548                     the Commonwealth of Puerto
    GUANICA, PR 00653                        Rico                                                            GUANICA, PR 00653                   Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 72 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                    Exhibit A - Schedule of Claims - English Page 74 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
371 GONZALEZ MARIN,              06/26/18   Employees Retirement           95748               $ 237,210.01* GONZALEZ MARIN,       06/26/18   Employees Retirement           97397         $ 237,210.01*
    MANUELA                                 System of the Government of                                      MANUELA                          System of the Government of
    URB CUPEY GARDENS                       the Commonwealth of Puerto                                       CALLE 1 C-6 CUPEY                the Commonwealth of Puerto
    C6 CALLE 1                              Rico                                                             GARDENS RIO PIEDRAS              Rico
    SAN JUAN, PR 00926                      17 BK 03566-LTS                                                  PR                               17 BK 03566-LTS
                                                                                                             SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
372 GONZALEZ MARIN,              06/26/18   Employees Retirement           97131               $ 237,210.01* GONZALEZ MARIN,       06/26/18   Employees Retirement           97397         $ 237,210.01*
    MANUELA                                 System of the Government of                                      MANUELA                          System of the Government of
    URB CUPEY GARDENS                       the Commonwealth of Puerto                                       CALLE 1 C-6 CUPEY                the Commonwealth of Puerto
    C 6 CALLE 1                             Rico                                                             GARDENS RIO PIEDRAS              Rico
    SAN JUAN, PR 00926                      17 BK 03566-LTS                                                  PR                               17 BK 03566-LTS
                                                                                                             SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
373 GONZALEZ MARTINEZ,           06/28/18   Employees Retirement           64632                $ 112,448.87 GONZALEZ MARTINEZ,    06/28/18   Employees Retirement           69530          $ 112,448.87
    IRMA                                    System of the Government of                                      IRMA                             System of the Government of
    COND PASEO DEGETAU                      the Commonwealth of Puerto                                       COND PASEO DEGETAU               the Commonwealth of Puerto
    APT 403                                 Rico                                                             APT 403                          Rico
    CAGUAS, PR 00726                        17 BK 03566-LTS                                                  CAGUAS, PR 00726                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
374 GONZALEZ ORTIZ,              06/20/18   Employees Retirement           39528                 $ 74,298.30 GONZALEZ ORTIZ,       06/20/18   Employees Retirement           44777           $ 74,298.30
    SONIA N                                 System of the Government of                                      SONIA N                          System of the Government of
    HATO TEJAS                              the Commonwealth of Puerto                                       HATO TEJAS                       the Commonwealth of Puerto
    BZN 205 CALLE ARENA                     Rico                                                             BZN 205 CALLE ARENA              Rico
    BAYAMON, PR 00960                       17 BK 03566-LTS                                                  BAYAMON, PR 00960                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
375 GONZALEZ ORTIZ,              06/18/18   Employees Retirement           43820                 $ 74,298.30 GONZALEZ ORTIZ,       06/20/18   Employees Retirement           44777           $ 74,298.30
    SONIA N                                 System of the Government of                                      SONIA N                          System of the Government of
    HATO TEJAS                              the Commonwealth of Puerto                                       HATO TEJAS                       the Commonwealth of Puerto
    BZN 205 CALLE ARENA                     Rico                                                             BZN 205 CALLE ARENA              Rico
    BAYAMON, PR 00960                       17 BK 03566-LTS                                                  BAYAMON, PR 00960                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 73 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                     Exhibit A - Schedule of Claims - English Page 75 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
376 GONZALEZ RAMOS,               05/28/18   Employees Retirement           16617                 $ 78,093.10 GONZALEZ RAMOS,           05/28/18   Employees Retirement           23568          $ 78,093.10*
    BENJAMIN                                 System of the Government of                                      BENJAMIN                             System of the Government of
    URB COSTA BRAVA                          the Commonwealth of Puerto                                       URB COSTA BRAVA                      the Commonwealth of Puerto
    166 CALLE LARIMAR                        Rico                                                             193 CALLE ZIRCONIA                   Rico
    ISABELA, PR 00662                        17 BK 03566-LTS                                                  ISABELA, PR 00662                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
377 GONZALEZ RIVAS,               05/21/18   Employees Retirement           14608                $ 114,389.95 GONZALEZ RIVAS,           05/29/18   Employees Retirement           37407          $ 114,389.95
    MAYRA I.                                 System of the Government of                                      MAYRA I.                             System of the Government of
    VERDE LUZ                                the Commonwealth of Puerto                                       VERDE LUZ                            the Commonwealth of Puerto
    APT. 201 TORRE A                         Rico                                                             APT. 201 TORRE A                     Rico
    VEGA ALTA, PR 00692                      17 BK 03566-LTS                                                  VEGA ALTA, PR 00692                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
378 GONZALEZ RIVERA,              06/13/18   Employees Retirement           41385                 $ 61,932.52 GONZALEZ RIVERA,          06/20/18   Employees Retirement           78528           $ 61,932.52
    BETTY                                    System of the Government of                                      BETTY                                System of the Government of
    PO BOX 40615                             the Commonwealth of Puerto                                       PO BOX 40615                         the Commonwealth of Puerto
    SAN JUAN, PR 00940-0615                  Rico                                                             SAN JUAN, PR 00940-0615              Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
379 GONZALEZ RIVERA,              05/29/18   Employees Retirement           26895              Undetermined* GONZALEZ RIVERA,           07/06/18   Employees Retirement           159478       Undetermined*
    NATIVIDAD                                System of the Government of                                     NATIVIDAD                             System of the Government of
    HC 01 BOX 7425                           the Commonwealth of Puerto                                      HC 01 - BOX 7425                      the Commonwealth of Puerto
    CARRIZALEZ                               Rico                                                            CARRICALES                            Rico
    HATILLO, PR 00659-7343                   17 BK 03566-LTS                                                 HATILLO, PR 00659-7343                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
380 GONZALEZ RIVERA,              04/16/18   Employees Retirement            5205              Undetermined* GONZALEZ RIVERA,           04/16/18   Employees Retirement           7466         Undetermined*
    OSCAR G                                  System of the Government of                                     OSCAR G                               System of the Government of
    299 CALLE URAYON                         the Commonwealth of Puerto                                      299 CALLE URAYON                      the Commonwealth of Puerto
    CAROLINA, PR 00985                       Rico                                                            CAROLINA, PR 00985                    Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
381 GONZALEZ RIVERA,              04/05/18   Employees Retirement            6311              Undetermined* GONZALEZ RIVERA,           04/27/18   Employees Retirement           9148         Undetermined*
    RAQUEL                                   System of the Government of                                     RAQUEL                                System of the Government of
    9 ACE RD APT 412                         the Commonwealth of Puerto                                      PO BOX 367378                         the Commonwealth of Puerto
    BUTLER, NJ 07405-1385                    Rico                                                            SAN JUAN, PR 00936-7378               Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 74 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 76 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
382 GONZALEZ RODRIGUEZ,           06/24/18   Employees Retirement           47242                $ 78,245.40* GONZALEZ RODRIGUEZ,     06/25/18   Employees Retirement           49392          $ 78,245.40*
    LAUTHELIN                                System of the Government of                                      LAUTHELIN                          System of the Government of
    URB BRISAS DE LAUREL                     the Commonwealth of Puerto                                       URB BRISAS DE LAUREL               the Commonwealth of Puerto
    413 CALLE DIAMANTE                       Rico                                                             413 DIAMANTE                       Rico
    COTO LAUREL, PR 00780                    17 BK 03566-LTS                                                  COTO LAUREL, PR 00780              17 BK 03566-LTS
    -2216                                                                                                     -2216

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
383 GONZALEZ RODRIGUEZ,           04/20/18   Employees Retirement            7936              Undetermined* GONZALEZ RODRIGUEZ,      07/16/18   Employees Retirement           159194       Undetermined*
    YANESSA                                  System of the Government of                                     YANESSA                             System of the Government of
    RR 03 BOX 9602                           the Commonwealth of Puerto                                      RR03 BOX 9602                       the Commonwealth of Puerto
    TOA ALTA, PR 00953                       Rico                                                            TOA ALTA, PR 00953                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
384 GONZALEZ SAEZ, OLGA           06/28/18   Employees Retirement           108462               $ 48,911.57* GONZALEZ SAEZ, OLGA     06/28/18   Employees Retirement           130953         $ 48,911.57*
    4148 CALLE CAIMITO                       System of the Government of                                      URB ESTANCIAS DEL                  System of the Government of
    COTO LAUREL, PR 00780                    the Commonwealth of Puerto                                       LAUREL                             the Commonwealth of Puerto
    -2264                                    Rico                                                             4148 CALLE CAIMITO                 Rico
                                             17 BK 03566-LTS                                                  COTO LAUREL, PR 00780              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
385 GONZALEZ SAEZ, OLGA           06/28/18   Employees Retirement           126090               $ 48,911.57* GONZALEZ SAEZ, OLGA     06/28/18   Employees Retirement           130953         $ 48,911.57*
    4148 CALLE CAIMITO                       System of the Government of                                      URB ESTANCIAS DEL                  System of the Government of
    COTO LAUREL, PR 00780                    the Commonwealth of Puerto                                       LAUREL                             the Commonwealth of Puerto
                                             Rico                                                             4148 CALLE CAIMITO                 Rico
                                             17 BK 03566-LTS                                                  COTO LAUREL, PR 00780              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
386 GONZALEZ SANCHEZ,             06/29/18   Employees Retirement           91974                 $ 4,010.93* GONZALEZ SANCHEZ,       07/02/18   Employees Retirement           106272          $ 4,010.93*
    FRANCHESKA M.                            System of the Government of                                      FRANCHESKA M.                      System of the Government of
    URB. JARDINES DE                         the Commonwealth of Puerto                                       URB. JARDINES DE                   the Commonwealth of Puerto
    CATAÑO                                   Rico                                                             CATAÑO                             Rico
    Y-57 CALLE 11                            17 BK 03566-LTS                                                  Y-57 CALLE 11                      17 BK 03566-LTS
    CATAÑO, PR 00962                                                                                          CATAÑO, PR 00962

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 75 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 77 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
387 GONZALEZ SANTOS,              04/27/18   Employees Retirement            8138                 $ 47,215.92 GONZALEZ SANTOS,      04/27/18   Employees Retirement           9536           $ 47,215.92
    MADELYN                                  System of the Government of                                      MADELYN                          System of the Government of
    URB COUNTRY CLUB                         the Commonwealth of Puerto                                       URB COUNTRY CLUB                 the Commonwealth of Puerto
    JWE9 CALLE 227B                          Rico                                                             JWE9 CALLE 242A                  Rico
    CAROLINA, PR 00982                       17 BK 03566-LTS                                                  CAROLINA, PR 00982-              17 BK 03566-LTS
                                                                                                              2718

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
388 GONZALEZ SANTOS,              04/27/18   Employees Retirement            9348                 $ 47,215.92 GONZALEZ SANTOS,      04/27/18   Employees Retirement           9536           $ 47,215.92
    MADELYN                                  System of the Government of                                      MADELYN                          System of the Government of
    COUNTRY CLUB                             the Commonwealth of Puerto                                       URB COUNTRY CLUB                 the Commonwealth of Puerto
    242 JW E-9                               Rico                                                             JWE9 CALLE 242A                  Rico
    CAROLINA, PR 00982                       17 BK 03566-LTS                                                  CAROLINA, PR 00982-              17 BK 03566-LTS
                                                                                                              2718

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
389 GONZALEZ SOTO,                05/15/18   Employees Retirement           16516                $ 11,858.62* GONZALEZ SOTO,        05/15/18   Employees Retirement           112331        $ 11,858.62*
    YAITZA                                   System of the Government of                                      YAITZA                           System of the Government of
    PO BOX 1138                              the Commonwealth of Puerto                                       PO BOX 1138                      the Commonwealth of Puerto
    MOCA, PR 00676                           Rico                                                             MOCA, PR 00676                   Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
390 GONZALEZ TORRES,              05/17/18   Employees Retirement           16647                $ 95,220.90* GONZALEZ TORRES,      05/17/18   Employees Retirement           39790          $ 95,220.90
    IVONNE J                                 System of the Government of                                      IVONNE J                         System of the Government of
    EXT VILLAS DE LOIZA                      the Commonwealth of Puerto                                       EXT VILLAS DE LOIZA              the Commonwealth of Puerto
    KH 13 CALLE 41                           Rico                                                             KH 13 CALLE 41                   Rico
    CANOVANAS, PR 00729                      17 BK 03566-LTS                                                  CANOVANAS, PR 00729              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
391 GONZALEZ TORRES,              05/17/18   Employees Retirement           17821                $ 95,220.90* GONZALEZ TORRES,      05/17/18   Employees Retirement           39790          $ 95,220.90
    IVONNE J                                 System of the Government of                                      IVONNE J                         System of the Government of
    KH 13 CALLE 41                           the Commonwealth of Puerto                                       EXT VILLAS DE LOIZA              the Commonwealth of Puerto
    CANOVANAS, PR 00729                      Rico                                                             KH 13 CALLE 41                   Rico
                                             17 BK 03566-LTS                                                  CANOVANAS, PR 00729              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 76 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                     Exhibit A - Schedule of Claims - English Page 78 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
392 GONZALEZ TORRES,              05/17/18   Employees Retirement           19070                 $ 95,220.90 GONZALEZ TORRES,          05/17/18   Employees Retirement           39790           $ 95,220.90
    IVONNE J                                 System of the Government of                                      IVONNE J                             System of the Government of
    EXT. VILLAS DE LOIZA                     the Commonwealth of Puerto                                       EXT VILLAS DE LOIZA                  the Commonwealth of Puerto
    KH-13 CALLE 41                           Rico                                                             KH 13 CALLE 41                       Rico
    CANOVANAS, PR 00729                      17 BK 03566-LTS                                                  CANOVANAS, PR 00729                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
393 GONZALEZ TORRES,              06/28/18   Employees Retirement           117488             Undetermined* GONZALEZ TORRES,           06/28/18   Employees Retirement           125794       Undetermined*
    RAMON                                    System of the Government of                                     RAMON                                 System of the Government of
    SANTA ELENA                              the Commonwealth of Puerto                                      SANTA ELENA                           the Commonwealth of Puerto
    G 17 CALLE 6                             Rico                                                            G 17 CALLE 6                          Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                 BAYAMON, PR 00957                     17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
394 GONZALEZ VARGAS,              06/27/18   Employees Retirement           54163                 $ 75,000.00 GONZALEZ VARGAS,          07/02/18   Employees Retirement           114194          $ 75,000.00
    WANDA                                    System of the Government of                                      WANDA                                System of the Government of
    HC 03 BOX 13606                          the Commonwealth of Puerto                                       HC 03 BOX 13606                      the Commonwealth of Puerto
    UTUADO, PR 00645-9728                    Rico                                                             UTUADO, PR 00641-9728                Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
395 GONZALEZ                      06/22/18   Employees Retirement           35783                 $ 63,601.00 GONZALEZ                  06/27/18   Employees Retirement           79072           $ 63,601.00
    VELAZQUEZ, EVELYN J                      System of the Government of                                      VELAZQUEZ, EVELYN J                  System of the Government of
    URB SANTA CLARA H-7                      the Commonwealth of Puerto                                       URB SANTA CLARA                      the Commonwealth of Puerto
    CALLE ANAMU                              Rico                                                             H-7 CALLE ANAMU                      Rico
    GUAYNABO, PR 00969                       17 BK 03566-LTS                                                  GUAYNABO, PR 00969                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
396 GONZALEZ VELEZ, JIM           07/03/18   Employees Retirement           99388                   $ 5,000.00 GONZALEZ VELEZ, JIM      07/03/18   Employees Retirement           121501           $ 5,000.00
    E.                                       System of the Government of                                       E.                                  System of the Government of
    406 L AVE. NOEL                          the Commonwealth of Puerto                                        406 L AVE. NOEL                     the Commonwealth of Puerto
    ESTRADA                                  Rico                                                              ESTRADA                             Rico
    ISABELA, PR 00662-3216                   17 BK 03566-LTS                                                   ISABELA, PR 00662-3216              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 77 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                     Exhibit A - Schedule of Claims - English Page 79 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
397 GONZALEZ VELEZ, JIM           07/03/18   Employees Retirement           114935                $ 5,000.00* GONZALEZ VELEZ, JIM      07/03/18   Employees Retirement           121501           $ 5,000.00
    E.                                       System of the Government of                                      E.                                  System of the Government of
    406 L AVE. NOEL                          the Commonwealth of Puerto                                       406 L AVE. NOEL                     the Commonwealth of Puerto
    ESTRADA                                  Rico                                                             ESTRADA                             Rico
    ISABELA, PR 00662-3216                   17 BK 03566-LTS                                                  ISABELA, PR 00662-3216              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
398 GRACIANI FIGUEROA,            05/15/18   Employees Retirement           15684                 $ 55,200.20 GRACIANI FIGUEROA,       05/15/18   Employees Retirement           16502          $ 55,200.20*
    NORMA                                    System of the Government of                                      NORMA                               System of the Government of
    URB JARDINES DE                          the Commonwealth of Puerto                                       URB JARDS COUNTRY                   the Commonwealth of Puerto
    COUNTRY CLUB BX32                        Rico                                                             CLUB                                Rico
    CALLE 129                                17 BK 03566-LTS                                                  BX 32 CALLE 129                     17 BK 03566-LTS
    CAROLINA, PR 00983                                                                                        CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
399 GRAJALES CARDONA,             06/28/18   Employees Retirement           113839             Undetermined* GRAJALES CARDONA,         06/28/18   Employees Retirement           115210       Undetermined*
    JORGE                                    System of the Government of                                     JORGE                                System of the Government of
    PO BOX 3805                              the Commonwealth of Puerto                                      URB. VILLA GRAJALES                  the Commonwealth of Puerto
    AGUADILLA, PR 00605                      Rico                                                            PO BOX 3805                          Rico
                                             17 BK 03566-LTS                                                 AGUADILLA, PR 00605                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
400 GUADALUPE BERRIOS,            06/29/18   Employees Retirement           77370                 $ 47,979.06 GUADALUPE BERRIOS,       06/29/18   Employees Retirement           83815          $ 47,979.06*
    MAYRA                                    System of the Government of                                      MAYRA                               System of the Government of
    PARCELAS HILL                            the Commonwealth of Puerto                                       MAYRA GUADALUPE                     the Commonwealth of Puerto
    BROTHERS                                 Rico                                                             BERRIOS                             Rico
    603 CALLE 15                             17 BK 03566-LTS                                                  PARCELAS HILL                       17 BK 03566-LTS
    SAN JUAN, PR 00924                                                                                        BROTHERS
                                                                                                              603 CALLE 15
                                                                                                              SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
401 GUADALUPE COLON,              06/27/18   Employees Retirement           54676                 $ 30,000.00 GUADALUPE COLON,         06/27/18   Employees Retirement           55841           $ 30,000.00
    AIDA M.                                  System of the Government of                                      AIDA M.                             System of the Government of
    HC-61 BOX 4474                           the Commonwealth of Puerto                                       HC-61 BOX 4474                      the Commonwealth of Puerto
    TRUJILLO ALTO, PR                        Rico                                                             TRUJILLO ALTO, PR                   Rico
    00976                                    17 BK 03566-LTS                                                  00976                               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 78 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                     Exhibit A - Schedule of Claims - English Page 80 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
402 GUADALUPE DELGADO,            07/03/18   Employees Retirement           101054             Undetermined* GUADALUPE DELGADO,         07/09/18   Employees Retirement           164403       Undetermined*
    JOSE R.                                  System of the Government of                                     JOSE R.                               System of the Government of
    RR-02K29A BO.                            the Commonwealth of Puerto                                      RR-02K29A BO.                         the Commonwealth of Puerto
    BAYAMON PARC.                            Rico                                                            BAYAMON PARC.                         Rico
    GANDARAS 2                               17 BK 03566-LTS                                                 GANDARAS 2                            17 BK 03566-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
403 GUADALUPE DIAZ,               05/29/18   Employees Retirement           21616                $ 75,000.00* GUADALUPE DIAZ,           06/04/18   Employees Retirement           31687          $ 75,000.00*
    ROSAURA                                  System of the Government of                                      ROSAURA                              System of the Government of
    2DA EXT. COUNTRY                         the Commonwealth of Puerto                                       2DA EXT COUNTRY                      the Commonwealth of Puerto
    CLUB                                     Rico                                                             CLUB                                 Rico
    1169 CALLE TRINIDAD                      17 BK 03566-LTS                                                  1169 CALLE TRINIDAD                  17 BK 03566-LTS
    PADILLA                                                                                                   PADILLA
    SAN JUAN, PR 00924                                                                                        SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
404 GUBECOOP                      06/12/18   Employees Retirement           37298                 $ 11,811.33 GUBECOOP                  06/12/18   Employees Retirement           48568          $ 11,811.33*
    PO BOX 41235                             System of the Government of                                      PO BOX 41235                         System of the Government of
    SAN JUAN, PR 00940-1235                  the Commonwealth of Puerto                                       SAN JUAN, PR 00940-1235              the Commonwealth of Puerto
                                             Rico                                                                                                  Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
405 GUILLAMA ROMAN,               06/27/18   Employees Retirement           58544                 $ 62,572.42 GUILLAMA ROMAN,           06/27/18   Employees Retirement           45613           $ 62,572.42
    DENISSE MORAIMA                          System of the Government of                                      DENISSE MORAIMA                      System of the Government of
    HC-04 BOX 18191                          the Commonwealth of Puerto                                       HC-04 BOX 18191                      the Commonwealth of Puerto
    CAMUY, PR 00627                          Rico                                                             CAMUY, PR 00627                      Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
406 GUTIERREZ FRED,               06/26/18   Employees Retirement           52792                 $ 45,130.72 GUTIERREZ FRED,           07/02/18   Employees Retirement           117575          $ 45,130.72
    MARIA A.                                 System of the Government of                                      MARIA A.                             System of the Government of
    PO BOX 6236                              the Commonwealth of Puerto                                       PO BOX 6236                          the Commonwealth of Puerto
    MARINA STATION                           Rico                                                             MARINA STATION                       Rico
    MAYAGUEZ, PR 00681                       17 BK 03566-LTS                                                  MAYAGUEZ, PR 00681                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 79 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                     Exhibit A - Schedule of Claims - English Page 81 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
407 GUZMAN CINTRON,               07/03/18   Employees Retirement           153969               $ 61,000.00* GUZMAN CINTRON,          07/03/18   Employees Retirement           154020         $ 61,000.00*
    LESVIA J.                                System of the Government of                                      LESVIA J.                           System of the Government of
    URB. VALLES DE                           the Commonwealth of Puerto                                       GG-25 CALLE 24                      the Commonwealth of Puerto
    GUAYAMA                                  Rico                                                             URB. VALLES DE                      Rico
    GG 25 CALLE 24                           17 BK 03566-LTS                                                  GUAYAMA                             17 BK 03566-LTS
    GUAYAMA, PR 00784                                                                                         GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
408 GUZMAN GARCIA,                06/28/18   Employees Retirement           115189                $ 22,000.00 GUZMAN GARCIA,           06/29/18   Employees Retirement           83891           $ 22,000.00
    IVETTE                                   System of the Government of                                      IVETTE                              System of the Government of
    URB. VILLA AUXERRE                       the Commonwealth of Puerto                                       URB. VILLA AUXERRE                  the Commonwealth of Puerto
    110                                      Rico                                                             110                                 Rico
    SAN GERMAN, PR 00683                     17 BK 03566-LTS                                                  SAN GERMAN, PR 00683                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
409 GUZMAN GARCIA,                06/28/18   Employees Retirement           118844                  $ 6,000.00 GUZMAN GARCIA,          06/29/18   Employees Retirement           82725           $ 6,000.00*
    IVETTE                                   System of the Government of                                       IVETTE                             System of the Government of
    URB. VILLA AUXERRE                       the Commonwealth of Puerto                                        URB. VILLA AUXERRE                 the Commonwealth of Puerto
    110                                      Rico                                                              110                                Rico
    SAN GERMÁN, PR 00683                     17 BK 03566-LTS                                                   SAN GERMÁN, PR 00683               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
410 HANCE FEBRES,                 06/29/18   Employees Retirement           71401                 $ 16,577.20 HANCE FEBRES,            06/29/18   Employees Retirement           89620           $ 16,577.20
    JOHANA                                   System of the Government of                                      JOHANA                              System of the Government of
    PO BOX 374                               the Commonwealth of Puerto                                       PO BOX 374                          the Commonwealth of Puerto
    CANOVANAS, PR 00729-                     Rico                                                             CANOVANAS, PR 00729-                Rico
    0374                                     17 BK 03566-LTS                                                  0374                                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
411 HEREDIA CRUZ, MARIA           05/25/18   Employees Retirement           31826              Undetermined* HEREDIA CRUZ, MARIA       05/25/18   Employees Retirement           31834        Undetermined*
    RR 7 BOX 6956                            System of the Government of                                     RR 7 BOX 6956                        System of the Government of
    SAN JUAN, PR 00926-9109                  the Commonwealth of Puerto                                      SAN JUAN, PR 00926-9109              the Commonwealth of Puerto
                                             Rico                                                                                                 Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 80 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 82 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
412 HERNANDEZ ACOSTA,             06/27/18   Employees Retirement           58086                 $ 72,774.58 HERNANDEZ ACOSTA,     07/06/18   Employees Retirement           161889          $ 72,774.58
    JUAN RAMON                               System of the Government of                                      JUAN RAMON                       System of the Government of
    PO BOX 1024                              the Commonwealth of Puerto                                       PO BOX 1024                      the Commonwealth of Puerto
    LAJAS, PR 00667                          Rico                                                             LAJAS, PR 00667                  Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
413 HERNANDEZ ACOSTA,             07/03/18   Employees Retirement           153998               $ 42,845.00* HERNANDEZ ACOSTA,     07/03/18   Employees Retirement           162738         $ 42,845.00*
    WALESKA                                  System of the Government of                                      WALESKA                          System of the Government of
    HC-7 BOX 32961                           the Commonwealth of Puerto                                       HC-7 BOX 32961                   the Commonwealth of Puerto
    HATILLO, PR 00659                        Rico                                                             HATILLO, PR 00659                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
414 HERNANDEZ                     06/22/18   Employees Retirement           96102                $ 91,872.42* HERNANDEZ             06/22/18   Employees Retirement           81376          $ 91,872.42*
    CARRASQUILLO, AIDA                       System of the Government of                                      CARRASQUILLO, AIDA               System of the Government of
    URB VILLA DEL REY 4                      the Commonwealth of Puerto                                       VILLA DEL REY                    the Commonwealth of Puerto
    HH-38 CALLE 15                           Rico                                                             HH 38 CALLE 15                   Rico
    CAGUAS, PR 00727                         17 BK 03566-LTS                                                  CAGUAS, PR 00727                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
415 HERNANDEZ COLON,              05/29/18   Employees Retirement           26961              Undetermined* HERNANDEZ COLON,       05/29/18   Employees Retirement           27979        Undetermined*
    JERANFEL                                 System of the Government of                                     JERANFEL                          System of the Government of
    PO BOX. 371939                           the Commonwealth of Puerto                                      P O BOX 371939                    the Commonwealth of Puerto
    CAYEY, PR 00737-1939                     Rico                                                            CAYEY, PR 00737-1939              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
416 HERNANDEZ COLON,              05/29/18   Employees Retirement           41707              Undetermined* HERNANDEZ COLON,       06/14/18   Employees Retirement           83001        Undetermined*
    JOHANNA M                                System of the Government of                                     JOHANNA M                         System of the Government of
    URBANIZACION VILLA                       the Commonwealth of Puerto                                      URB VILLA LOS SANTO               the Commonwealth of Puerto
    LOS SANTOS                               Rico                                                            CALLE 14 LASACC-12                Rico
    CALLE 14, CASA CC12                      17 BK 03566-LTS                                                 ARECIBO, PR 00612                 17 BK 03566-LTS
    ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 81 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                            Desc:
                                                     Exhibit A - Schedule of Claims - English Page 83 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
417 HERNANDEZ COLON,              06/29/18   Employees Retirement           68689                 $ 75,123.00 HERNANDEZ COLON,     06/30/18   Employees Retirement           102961         $ 75,123.00
    NEREIDA                                  System of the Government of                                      NEREIDA                         System of the Government of
    URB. ALTURA VILLA                        the Commonwealth of Puerto                                       URB. ALTURAS VILLA              the Commonwealth of Puerto
    DEL REY                                  Rico                                                             DEL REY                         Rico
    F54 CALLE CHIPRE                         17 BK 03566-LTS                                                  CALLE CHIPRE F54                17 BK 03566-LTS
    CAGUAS, PR 00725                                                                                          CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
418 HERNANDEZ COLON,              03/10/18   Employees Retirement            2390                $ 52,175.07* HERNANDEZ COLON,     03/15/18   Employees Retirement           3043           $ 52,175.07
    ROBERTO                                  System of the Government of                                      ROBERTO                         System of the Government of
    COND PARQUE                              the Commonwealth of Puerto                                       HC 02 BOX 14562                 the Commonwealth of Puerto
    TERRALINDA                               Rico                                                             CAROLINA, PR 00984              Rico
    SUITE 806                                17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    TRUJILLO ALTO, PR
    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
419 HERNANDEZ COLON,              03/15/18   Employees Retirement            2911                $ 52,175.07* HERNANDEZ COLON,     03/15/18   Employees Retirement           3043           $ 52,175.07
    ROBERTO                                  System of the Government of                                      ROBERTO                         System of the Government of
    HC 2 BOX 14562                           the Commonwealth of Puerto                                       HC 02 BOX 14562                 the Commonwealth of Puerto
    CAROLINA, PR 00987                       Rico                                                             CAROLINA, PR 00984              Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
420 HERNANDEZ COLON,              03/15/18   Employees Retirement            3033                $ 52,175.07* HERNANDEZ COLON,     03/15/18   Employees Retirement           3043           $ 52,175.07
    ROBERTO                                  System of the Government of                                      ROBERTO                         System of the Government of
    HC-02 BOX 14562                          the Commonwealth of Puerto                                       HC 02 BOX 14562                 the Commonwealth of Puerto
    CAROLINA, PR 00987                       Rico                                                             CAROLINA, PR 00984              Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
421 HERNANDEZ CRESPO,             03/27/18   Employees Retirement            5000                 $ 66,000.00 HERNANDEZ CRESPO,    03/27/18   Employees Retirement           5089           $ 66,000.00
    WILDA                                    System of the Government of                                      WILDA                           System of the Government of
    EXT LA INMACULADA                        the Commonwealth of Puerto                                       EXT LA INMACULADA               the Commonwealth of Puerto
    F17 CALLE                                Rico                                                             CALLE GOLONDRINA                Rico
    GOLONDRINA                               17 BK 03566-LTS                                                  F17                             17 BK 03566-LTS
    TOA BAJA, PR 00949                                                                                        TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 82 of 98
                                      Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                    Exhibit A - Schedule of Claims - English Page 84 of 99

                                                                             Thirty-First Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT               NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
422 HERNANDEZ CRESPO,            03/27/18   Employees Retirement            5004                 $ 66,000.00 HERNANDEZ CRESPO,      03/27/18   Employees Retirement           5089           $ 66,000.00
    WILDA                                   System of the Government of                                      WILDA                             System of the Government of
    URB EXT LA                              the Commonwealth of Puerto                                       EXT LA INMACULADA                 the Commonwealth of Puerto
    INMACULADA                              Rico                                                             CALLE GOLONDRINA                  Rico
    F17 CALLE                               17 BK 03566-LTS                                                  F17                               17 BK 03566-LTS
    GOLONDRINA                                                                                               TOA BAJA, PR 00949
    TOA BAJA, PR 00949

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
423 HERNANDEZ MARRERO,           05/22/18   Employees Retirement           17298                $ 50,000.00* HERNANDEZ MARRERO,     05/22/18   Employees Retirement           17801         $ 50,000.00*
    MADELINE                                System of the Government of                                      MADELINE                          System of the Government of
    ALTURAS DE RIO                          the Commonwealth of Puerto                                       ALTURAS DE RIO                    the Commonwealth of Puerto
    GRANDE                                  Rico                                                             GRANDE                            Rico
    K482 CALLE 10                           17 BK 03566-LTS                                                  K482 CALLE 10                     17 BK 03566-LTS
    RIO GRANDE, PR 00745                                                                                     RIO GRANDE, PR 00745

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
424 HERNANDEZ MENDEZ,            04/01/18   Employees Retirement            5097                 $ 13,391.54 HERNANDEZ MENDEZ,      04/02/18   Employees Retirement           4903          $ 13,391.54*
    ANA Y                                   System of the Government of                                      ANA Y                             System of the Government of
    PO BOX 356                              the Commonwealth of Puerto                                       PO BOX 356                        the Commonwealth of Puerto
    MOCA, PR 00676                          Rico                                                             MOCA, PR 00676                    Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
425 HERNANDEZ MERCADO,           05/25/18   Employees Retirement           19336                 $ 48,000.00 HERNANDEZ MERCADO,     05/25/18   Employees Retirement           20390          $ 48,000.00
    BETHZAIDA                               System of the Government of                                      BETHZAIDA                         System of the Government of
    PO BOX 1931                             the Commonwealth of Puerto                                       PO BOX 1931                       the Commonwealth of Puerto
    ISABELA, PR 00662                       Rico                                                             ISABELA, PR 00662                 Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
426 HERNANDEZ ORTIZ,             11/06/18   Employees Retirement           167906                $ 10,000.00 HERNANDEZ ORTIZ,       11/06/18   Employees Retirement           167907         $ 10,000.00
    GLADYS M                                System of the Government of                                      GLADYS M                          System of the Government of
    7 MARGINAL BO                           the Commonwealth of Puerto                                       #7 MARGINAL BO                    the Commonwealth of Puerto
    MAGINAS                                 Rico                                                             MAGINAS                           Rico
    SABANA GRANDE, PR                       17 BK 03566-LTS                                                  SABANA GRANDE, PR                 17 BK 03566-LTS
    00637                                                                                                    00637

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 83 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 85 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
427 HERNANDEZ PEREZ,              06/26/18   Employees Retirement           96433                $ 61,718.72* HERNANDEZ PEREZ,       07/03/18   Employees Retirement           125200        $ 61,718.72*
    EVELYN                                   System of the Government of                                      EVELYN                            System of the Government of
    VICTORIA STATION PO                      the Commonwealth of Puerto                                       VICTORIA STATION PO               the Commonwealth of Puerto
    BOX 740                                  Rico                                                             BOX 740                           Rico
    AGUADILLA, PR 00605                      17 BK 03566-LTS                                                  AGUADILLA, PR 00605               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
428 HERNANDEZ PINET,              05/23/18   Employees Retirement           23201                 $ 35,303.56 HERNANDEZ PINET,       05/23/18   Employees Retirement           29057          $ 35,303.56
    YESENIA                                  System of the Government of                                      YESENIA                           System of the Government of
    PO BOX 1126                              the Commonwealth of Puerto                                       ALT DE RIO GRANDE                 the Commonwealth of Puerto
    RIO GRANDE, PR 00745                     Rico                                                             E69 CALLE 14D                     Rico
                                             17 BK 03566-LTS                                                  RIO GRANDE, PR 00745              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
429 HERNANDEZ PINET,              05/23/18   Employees Retirement           25399                $ 35,303.56* HERNANDEZ PINET,       05/23/18   Employees Retirement           29057          $ 35,303.56
    YESENIA                                  System of the Government of                                      YESENIA                           System of the Government of
    ALTURAS DE RIO                           the Commonwealth of Puerto                                       ALT DE RIO GRANDE                 the Commonwealth of Puerto
    GRANDE                                   Rico                                                             E69 CALLE 14D                     Rico
    E69 CALLE 14D                            17 BK 03566-LTS                                                  RIO GRANDE, PR 00745              17 BK 03566-LTS
    RIO GRANDE, PR 00745-
    5128

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
430 HERNANDEZ PINET,              05/23/18   Employees Retirement           28260                 $ 35,303.56 HERNANDEZ PINET,       05/23/18   Employees Retirement           29057          $ 35,303.56
    YESENIA                                  System of the Government of                                      YESENIA                           System of the Government of
    ALTURAS DE RIO                           the Commonwealth of Puerto                                       ALT DE RIO GRANDE                 the Commonwealth of Puerto
    GRANDE                                   Rico                                                             E69 CALLE 14D                     Rico
    E 69 CALLE 14 D                          17 BK 03566-LTS                                                  RIO GRANDE, PR 00745              17 BK 03566-LTS
    RIO GRANDE, PR 00745

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
431 HERNANDEZ RAMIREZ,            06/29/18   Employees Retirement           92447                 $ 60,000.00 HERNANDEZ RAMIREZ,     06/29/18   Employees Retirement           98471          $ 60,000.00
    ANTHONY                                  System of the Government of                                      ANTHONY                           System of the Government of
    SAN ANTONIO                              the Commonwealth of Puerto                                       URB SAN ANTONIO                   the Commonwealth of Puerto
    1557 CALLE DAMASCO                       Rico                                                             1557 CALLE DAMASCO                Rico
    PONCE, PR 00728                          17 BK 03566-LTS                                                  PONCE, PR 00728                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 84 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 86 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
432 HERNANDEZ RAMOS,              06/28/18   Employees Retirement           119784             Undetermined* HERNANDEZ RAMOS,       06/28/18   Employees Retirement           123115       Undetermined*
    CARMEN M                                 System of the Government of                                     CARMEN M                          System of the Government of
    PO BOX 468                               the Commonwealth of Puerto                                      PO BOX 468                        the Commonwealth of Puerto
    CIDRA, PR 00739                          Rico                                                            CIDRA, PR 00739                   Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
433 HERNANDEZ RUIZ,               05/29/18   Employees Retirement           24206                 $ 21,124.28 HERNANDEZ RUIZ,       05/29/18   Employees Retirement           25051           $ 21,124.28
    TATIANA                                  System of the Government of                                      TATIANA                          System of the Government of
    HC 69 BOX 16167                          the Commonwealth of Puerto                                       HC 69 BOX 16167                  the Commonwealth of Puerto
    BAYAMON, PR 00956-                       Rico                                                             BAYAMON, PR 00956                Rico
    9523                                     17 BK 03566-LTS                                                                                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
434 HERNANDEZ SOSA, LUZ           06/29/18   Employees Retirement           146436                $ 96,330.64 HERNANDEZ SOSA, LUZ   06/29/18   Employees Retirement           153579          $ 96,330.64
    E                                        System of the Government of                                      E                                System of the Government of
    235 CALLE MALAGUETA                      the Commonwealth of Puerto                                       URB LOS                          the Commonwealth of Puerto
    GURABO, PR 00778                         Rico                                                             FLAMBOYANES                      Rico
                                             17 BK 03566-LTS                                                  235 CALLE MALAGUETA              17 BK 03566-LTS
                                                                                                              GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
435 HERNANDEZ VALLE,              06/29/18   Employees Retirement           135032                $ 7,200.00* HERNANDEZ VALLE,      06/29/18   Employees Retirement           144559          $ 7,200.00*
    NILDA                                    System of the Government of                                      NILDA                            System of the Government of
    31-34 CALLE 39                           the Commonwealth of Puerto                                       31-34 CALLE 39                   the Commonwealth of Puerto
    URBANIZACION                             Rico                                                             BAYAMON, PR 00957                Rico
    MIRAFLORES                               17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
436 HERNANDEZ VALLE,              06/29/18   Employees Retirement           141786                $ 1,200.00* HERNANDEZ VALLE,      06/29/18   Employees Retirement           165768          $ 1,200.00*
    NILDA                                    System of the Government of                                      NILDA                            System of the Government of
    31-34 CALLE 39                           the Commonwealth of Puerto                                       31-34 CALLE 39                   the Commonwealth of Puerto
    URB.MIRATLORES                           Rico                                                             URBANIZACION                     Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                  MIRAFLORES                       17 BK 03566-LTS
                                                                                                              BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 85 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                     Exhibit A - Schedule of Claims - English Page 87 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
437 HERRERA ARRUFAT,              06/26/18   Employees Retirement           40362                 $ 75,000.00 HERRERA ARRUFAT,          06/26/18   Employees Retirement           42008          $ 75,000.00
    DEDORAH                                  System of the Government of                                      DEDORAH                              System of the Government of
    CALLE 14 A10                             the Commonwealth of Puerto                                       CALLE 14 A 10                        the Commonwealth of Puerto
    URB.VILLA HUMACAO                        Rico                                                             URBANIZACIÓN VILLA                   Rico
    HUMACAO, PR 00791                        17 BK 03566-LTS                                                  HUMACAO                              17 BK 03566-LTS
                                                                                                              HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
438 HERRERA RODRIGUEZ,            06/26/18   Employees Retirement           50139                 $ 51,521.00 HERRERA RODRIGUEZ,        07/02/18   Employees Retirement           99751          $ 51,521.00
    NEREIDA                                  System of the Government of                                      NEREIDA                              System of the Government of
    URB. JARDINES                            the Commonwealth of Puerto                                       URB. JARDINES                        the Commonwealth of Puerto
    METROPOLITANOS                           Rico                                                             METROPOLITANOS                       Rico
    959 CALLE MARCONI                        17 BK 03566-LTS                                                  959 CALLE MARCONI                    17 BK 03566-LTS
    APT.6                                                                                                     APT. 6
    SAN JUAN, PR 00927                                                                                        SAN JUAN, PR 00927

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
439 HIRALDO HANCE,                05/25/18   Employees Retirement           22161                $ 46,000.00* HIRALDO HANCE,            06/13/18   Employees Retirement           59702          $ 46,000.00
    MARIBEL                                  System of the Government of                                      MARIBEL                              System of the Government of
    CONDOMINIO SAN JOSE                      the Commonwealth of Puerto                                       CONDOMINIO SAN JOSE                  the Commonwealth of Puerto
    EDIF. 4 APT. 9                           Rico                                                             EDIF. 4 APT. 9                       Rico
    CALLE CECILIA 399                        17 BK 03566-LTS                                                  CALLE CECILIA 399                    17 BK 03566-LTS
    SAN JUAN, PR 00923-1669                                                                                   SAN JUAN, PR 00923-1669

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
440 HUERTAS COLON,                05/29/18   Employees Retirement           27456                $ 49,290.00* HUERTAS COLON,            05/29/18   Employees Retirement           28401         $ 49,290.00*
    LORNA                                    System of the Government of                                      LORNA                                System of the Government of
    URB MANSION DEL                          the Commonwealth of Puerto                                       URB MANSION DEL                      the Commonwealth of Puerto
    NORTE NC 24 CAMINO                       Rico                                                             NORTE                                Rico
    LOS ABADES                               17 BK 03566-LTS                                                  NC 24 CAMINO LOS                     17 BK 03566-LTS
    TOA BAJA, PR 00949                                                                                        ABADES
                                                                                                              TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
441 IRIZARRY GONZALEZ,            05/02/18   Employees Retirement           10036                $ 16,100.41* IRIZARRY GONZALEZ,        05/02/18   Employees Retirement           10123         $ 16,100.41*
    CARLOS                                   System of the Government of                                      CARLOS                               System of the Government of
    HC 2 BOX 7098                            the Commonwealth of Puerto                                       HC 2 BOX 7098                        the Commonwealth of Puerto
    ADJUNTAS, PR 00601                       Rico                                                             ADJUNTAS, PR 00601                   Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 86 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                Desc:
                                                     Exhibit A - Schedule of Claims - English Page 88 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
442 IRIZARRY MATOS,               06/29/18   Employees Retirement           120892             Undetermined* IRIZARRY MATOS,           06/29/18   Employees Retirement           129313       Undetermined*
    MARISOL                                  System of the Government of                                     MARISOL                              System of the Government of
    STAR LIGHT EL DENEB                      the Commonwealth of Puerto                                      STARLIGHT C/DENED                    the Commonwealth of Puerto
    4545                                     Rico                                                            4545                                 Rico
    PONCE, PR 00717                          17 BK 03566-LTS                                                 PONCE, PR 00717                      17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
443 IRIZARRY MEDINA,              06/21/18   Employees Retirement           41344                   $ 5,270.00 IRIZARRY MEDINA,        06/27/18   Employees Retirement           55607            $ 5,270.00
    DAVID                                    System of the Government of                                       DAVID                              System of the Government of
    PO BOX 1544                              the Commonwealth of Puerto                                        P.O. BOX 1544                      the Commonwealth of Puerto
    JAYUYA, PR 00664                         Rico                                                              SANTA BARBARA                      Rico
                                             17 BK 03566-LTS                                                   SECTOR EL PARAISO                  17 BK 03566-LTS
                                                                                                               JAYUYA, PR 00664-2544

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
444 IRIZARRY RIVERA,              06/28/18   Employees Retirement           67373                 $ 75,000.00 IRIZARRY RIVERA,         07/06/18   Employees Retirement           130030          $ 75,000.00
    VIRGINIA                                 System of the Government of                                      VIRGINIA                            System of the Government of
    CALLE NOGAL BF-9                         the Commonwealth of Puerto                                       CALLE NOGAL BF - 9                  the Commonwealth of Puerto
    VALLE ARRIBA                             Rico                                                             VALLE ARRIBA                        Rico
    CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
445 IRIZARRY VAZQUEZ,             06/29/18   Employees Retirement           131235             Undetermined* GUZMAN NEGRON,            06/29/18   Employees Retirement           147506       Undetermined*
    JOSE                                     System of the Government of                                     ROBERTO ANGEL                        System of the Government of
    PO BOX 1029                              the Commonwealth of Puerto                                      CALLE LUCHETTI #21                   the Commonwealth of Puerto
    PENUELAS, PR 00624                       Rico                                                            VILLALBA, PR 00766                   Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
446 IRIZARRY VAZQUEZ,             06/29/18   Employees Retirement           137677             Undetermined* GUZMAN NEGRON,            06/29/18   Employees Retirement           147506       Undetermined*
    JOSE                                     System of the Government of                                     ROBERTO ANGEL                        System of the Government of
    PO BOX 1029                              the Commonwealth of Puerto                                      CALLE LUCHETTI #21                   the Commonwealth of Puerto
    PENUELAS, PR 00624                       Rico                                                            VILLALBA, PR 00766                   Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 87 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                  Desc:
                                                     Exhibit A - Schedule of Claims - English Page 89 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
447 JACKSON TORRES,               05/24/18   Employees Retirement           29454                $ 42,000.00* JACKSON TORRES,            05/24/18   Employees Retirement           31413          $ 42,000.00*
    SAMUEL                                   System of the Government of                                      SAMUEL                                System of the Government of
    1416 C/CRISTO REY                        the Commonwealth of Puerto                                       URB GUADALUPE                         the Commonwealth of Puerto
    PONCE, PR 00730                          Rico                                                             1416 CALLE CRISTO REY                 Rico
                                             17 BK 03566-LTS                                                  PONCE, PR 00730                       17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
448 JIMENEZ ALAMEDA,              06/29/18   Employees Retirement           84038               $ 100,410.56* JIMENEZ ALAMEDA,           07/24/18   Employees Retirement           109252         $ 100,410.56
    VILMA W.                                 System of the Government of                                      VILMA W.                              System of the Government of
    A-30 ALMENDRA ST                         the Commonwealth of Puerto                                       A-30 ALMENDRA                         the Commonwealth of Puerto
    URBANIZACION LOMAS                       Rico                                                             LOMAS VERDES                          Rico
    VERDES                                   17 BK 03566-LTS                                                  BAYAMON, PR 00956-                    17 BK 03566-LTS
    BAYAMON, PR 00956                                                                                         3269

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
449 JIMENEZ DIPINI,               05/25/18   Employees Retirement           29769                 $ 39,910.11 JIMENEZ DIPINI,            05/25/18   Employees Retirement           48757            $ 39,910.11
    LYMARI                                   System of the Government of                                      LYMARI                                System of the Government of
    913 C/ ANTONIO DE LOS                    the Commonwealth of Puerto                                       CALLE LOS ALPES #205                  the Commonwealth of Puerto
    REYES                                    Rico                                                             EXT. EL COMANDANTE                    Rico
    SAN JUAN, PR 00924                       17 BK 03566-LTS                                                  CAROLINA, PR 00982                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
450 JIMENEZ MALDONADO,            05/22/18   Employees Retirement           18215                $ 51,688.74* JIMENEZ MALDONADO,         05/22/18   Employees Retirement           18695          $ 51,688.74*
    ANGEL                                    System of the Government of                                      ANGEL                                 System of the Government of
    P.O. BOX 190216                          the Commonwealth of Puerto                                       PO BOX 190216                         the Commonwealth of Puerto
    SAN JUAN, PR 00919                       Rico                                                             SAN JUAN, PR 00919-0216               Rico
                                             17 BK 03566-LTS                                                                                        17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
451 JUAN PÉREZ-COLÓN ET           06/29/18   Employees Retirement           103034              $ 1,469,956.00 JUAN PÉREZ-COLÓN ET       06/29/18   Employees Retirement           104175       $ 1,469,956.00*
    AL (324 PLAINTIFFS)                      System of the Government of                                       AL (324 PLAINTIFFS)                  System of the Government of
    COLLECTIVELY (THE                        the Commonwealth of Puerto                                        COLLECTIVELY (THE                    the Commonwealth of Puerto
    "PÉREZ-COLÓN                             Rico                                                              "PÉREZ-COLÓN                         Rico
    PLAINTIFF GROUP")                        17 BK 03566-LTS                                                   PLAINTIFF GROUP")                    17 BK 03566-LTS
    CIVIL CASE NUM. K                                                                                          CIVIL CASE NUM. K
    AC1990-0487                                                                                                AC1990-0487
    LCDA. IVONNE                                                                                               LCDA. IVONNE
    GONZÁLEZ-MORALES                                                                                           GONZÁLEZ-MORALES
    PO BOX 9021828                                                                                             PO BOX 9021828
    SAN JUAN, PR 00902-1828                                                                                    SAN JUAN, PR 00902-1828

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                             Page 88 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 90 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
452 JUSINO DE MORALES,            03/26/18   Employees Retirement            2678              Undetermined* JUSINO DE MORALES,     03/26/18   Employees Retirement           4138         Undetermined*
    NILSA M                                  System of the Government of                                     NILSA M                           System of the Government of
    URB CAMINO DEL MAR                       the Commonwealth of Puerto                                      URB CAMINO DEL MAR                the Commonwealth of Puerto
    9542 CALLE PLAZA DEL                     Rico                                                            9542 CALLE PLAZA DEL              Rico
    MAR                                      17 BK 03566-LTS                                                 MAR                               17 BK 03566-LTS
    TOA BAJA, PR 00949                                                                                       TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
453 KARMAN AIDA, AIDA E           05/25/18   Employees Retirement           21599              Undetermined* KARMAN AIDA, AIDA E    05/25/18   Employees Retirement           22131        Undetermined*
    COND. GARDEN HILLS                       System of the Government of                                     15 CALLE MIRAMONTE                System of the Government of
    TOWER                                    the Commonwealth of Puerto                                      APTO. 402                         the Commonwealth of Puerto
    15 CALLE MIRAMONTE                       Rico                                                            GUAYNABO, PR 00966-               Rico
    APTO. 402                                17 BK 03566-LTS                                                 2030                              17 BK 03566-LTS
    GUAYNABO, PR 00966-
    2030

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
454 KHAN KHANAM, LEENA            06/25/18   Employees Retirement           40639                 $ 98,184.40 KHAN KHANAM, LEENA    07/02/18   Employees Retirement           136311          $ 98,184.40
    FERDOUS                                  System of the Government of                                      FERDOUS                          System of the Government of
    G3 CALLE EUCALIPTO                       the Commonwealth of Puerto                                       COLINAS DE CUPEY                 the Commonwealth of Puerto
    COLINAS DE CUPEY                         Rico                                                             3G CALLE EUCALIPTO               Rico
    SAN JUAN, PR 00926                       17 BK 03566-LTS                                                  SAN JUAN, PR 00926               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
455 LABOY ARCE, ANEIDA            06/27/18   Employees Retirement           54594              Undetermined* LABOY ARCE, ANEIDA     06/28/18   Employees Retirement           138822       Undetermined*
    JOHN F KENNEDY 18                        System of the Government of                                     JOHN F KENNEDY 18                 System of the Government of
    ADJUNTAS, PR 00601                       the Commonwealth of Puerto                                      ADJUNTAS, PR 00601                the Commonwealth of Puerto
                                             Rico                                                                                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
456 LABOY RODRIGUEZ,              05/25/18   Employees Retirement           18884                 $ 55,000.00 LABOY RODRIGUEZ,      05/29/18   Employees Retirement           34354           $ 55,000.00
    FABIAN                                   System of the Government of                                      FABIAN                           System of the Government of
    HC3 BOX 12521                            the Commonwealth of Puerto                                       HC 3 BOX 12521                   the Commonwealth of Puerto
    YABUCOA, PR 00767                        Rico                                                             YABUCOA, PR 00767                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 89 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 91 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
457 LARA DERIEUX,                 06/29/18   Employees Retirement           86967                $ 72,771.86* LARA DERIEUX,         06/29/18   Employees Retirement           142745         $ 72,771.86*
    IVONNE                                   System of the Government of                                      IVONNE                           System of the Government of
    CALLE 2 C-13                             the Commonwealth of Puerto                                       C-13 CALLE 2                     the Commonwealth of Puerto
    SANTA MONICA                             Rico                                                             BAYAMON, PR 00957                Rico
    BAYAMON, PR 00957                        17 BK 03566-LTS                                                                                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
458 LARACUENTE                    06/15/18   Employees Retirement           40794                $ 60,301.88* LARACUENTE            07/03/18   Employees Retirement           53715          $ 60,301.88*
    SANCHEZ, ANGEL                           System of the Government of                                      SANCHEZ, ANGEL                   System of the Government of
    R-6 BUZON 9738                           the Commonwealth of Puerto                                       R-6 BUZON 9738                   the Commonwealth of Puerto
    SAN JUAN, PR 00926                       Rico                                                             SAN JUAN, PR 00926               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
459 LATIMER RIVERA,               06/28/18   Employees Retirement           118675             Undetermined* LATIMER RIVERA,        06/28/18   Employees Retirement           146283       Undetermined*
    CLARA                                    System of the Government of                                     CLARA                             System of the Government of
    CARRT.848 KM 3 H-6                       the Commonwealth of Puerto                                      CARRT 848 KM 3 H 6                the Commonwealth of Puerto
    CAROLINA, PR 00957                       Rico                                                            CAROLINA, PR 00957                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
460 LAUREANO GARCIA,              06/06/18   Employees Retirement           31517                 $ 16,014.89 LAUREANO GARCIA,      06/13/18   Employees Retirement           61572           $ 16,014.89
    ABRAHAM                                  System of the Government of                                      ABRAHAM                          System of the Government of
    HC 645 BOX 6526                          the Commonwealth of Puerto                                       HC 645 BOX 6526                  the Commonwealth of Puerto
    TRUJILLO ALTO, PR                        Rico                                                             TRUJILLO ALTO, PR                Rico
    00976                                    17 BK 03566-LTS                                                  00976                            17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
461 LEBRON RIVERA,                05/25/18   Employees Retirement           22571                $ 16,000.00* LEBRON RIVERA,        06/13/18   Employees Retirement           50080           $ 16,000.00
    CARLOS JAVIER                            System of the Government of                                      CARLOS JAVIER                    System of the Government of
    CALLE TOLEDO 123                         the Commonwealth of Puerto                                       CALLE TOLEDO 123                 the Commonwealth of Puerto
    URB. ESTANCIAS DE                        Rico                                                             URB ESTANCIAS DE                 Rico
    TORTUGUERO                               17 BK 03566-LTS                                                  TORTUGUERO                       17 BK 03566-LTS
    VEGA BAJA, PR 00693                                                                                       VEGA BAJA, PR 00693

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 90 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                            Desc:
                                                     Exhibit A - Schedule of Claims - English Page 92 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
462 LEBRON SANCHEZ,               06/29/18   Employees Retirement           93070                $ 250,788.57 LEBRON SANCHEZ,      06/29/18   Employees Retirement           94161          $ 250,788.57
    LILLIAN                                  System of the Government of                                      LILLIAN                         System of the Government of
    LOS COLOBOS PARK                         the Commonwealth of Puerto                                       CALLE OLMO #1003                the Commonwealth of Puerto
    1003 CALLE OLMO                          Rico                                                             LOS COLOBOS PARK                Rico
    CAROLINA, PR 00987                       17 BK 03566-LTS                                                  CAROLINA, PR 00987              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
463 LEON AMARO, GLENDA            07/06/18   Employees Retirement           145038             Undetermined* LEON AMARO, GLENDA    06/29/18   Employees Retirement           84846        Undetermined*
    E.                                       System of the Government of                                     E.                               System of the Government of
    BOX 586                                  the Commonwealth of Puerto                                      BOX 586                          the Commonwealth of Puerto
    MAUNABO, PR 00707-                       Rico                                                            MAUNABO, PR 00707-               Rico
    0000                                     17 BK 03566-LTS                                                 0000                             17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
464 LEON CARTAGENA,               06/27/18   Employees Retirement           106826                $ 4,767.32* LEON CARTAGENA,      06/29/18   Employees Retirement           78038            $ 4,767.32
    JESSICA                                  System of the Government of                                      JESSICA                         System of the Government of
    PO BOX 370741                            the Commonwealth of Puerto                                       PO BOX 370741                   the Commonwealth of Puerto
    CAYEY, PR 00737                          Rico                                                             CAYEY, PR 00737                 Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
465 LEON VAZQUEZ,                 06/29/18   Employees Retirement           96938              Undetermined* LEON VAZQUEZ,         06/29/18   Employees Retirement           166686       Undetermined*
    HIPOLITA                                 System of the Government of                                     HIPOLITA                         System of the Government of
    3-C 56 DALMACIA                          the Commonwealth of Puerto                                      3-C 56 DALMACIA                  the Commonwealth of Puerto
    URB. VILLA DEL REY                       Rico                                                            URB. VILLA DEL REY               Rico
    CAGUAS, PR 00727                         17 BK 03566-LTS                                                 CAGUAS, PR 00727                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
466 LIMERY DONES,                 05/23/18   Employees Retirement           19360              Undetermined* LIMERY DONES,         05/23/18   Employees Retirement           19459        Undetermined*
    MARITZA                                  System of the Government of                                     MARITZA                          System of the Government of
    RR 6 BOX 7150                            the Commonwealth of Puerto                                      HB-13 CALLE ELIZA                the Commonwealth of Puerto
    TOA ALTA, PR 00953                       Rico                                                            TABAREZ                          Rico
                                             17 BK 03566-LTS                                                 7MA SECCION,                     17 BK 03566-LTS
                                                                                                             LEVITTOWN
                                                                                                             TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 91 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 93 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                  NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
467 LIMERY DONES,                 05/23/18   Employees Retirement           19412              Undetermined* LIMERY DONES,           05/23/18   Employees Retirement           19459        Undetermined*
    MARITZA                                  System of the Government of                                     MARITZA                            System of the Government of
    HB-13 CALLE ELIZA                        the Commonwealth of Puerto                                      HB-13 CALLE ELIZA                  the Commonwealth of Puerto
    TABAREZ                                  Rico                                                            TABAREZ                            Rico
    7MA SECCION,                             17 BK 03566-LTS                                                 7MA SECCION,                       17 BK 03566-LTS
    LEVITTOWN                                                                                                LEVITTOWN
    TOA BAJA, PR 00949                                                                                       TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
468 LOPEZ ACEVEDO,                07/05/18   Employees Retirement           111206                $ 73,744.79 LOPEZ ACEVEDO,         07/05/18   Employees Retirement           150178          $ 73,744.79
    ALICIA                                   System of the Government of                                      ALICIA                            System of the Government of
    P.O.BOX 357                              the Commonwealth of Puerto                                       PO BOX 22592                      the Commonwealth of Puerto
    AGUADA, PR 00602-0357                    Rico                                                             SAN JUAN, PR 00931                Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
469 LOPEZ ACEVEDO,                07/05/18   Employees Retirement           111235                $ 73,744.79 LOPEZ ACEVEDO,         07/05/18   Employees Retirement           150178          $ 73,744.79
    ALICIA                                   System of the Government of                                      ALICIA                            System of the Government of
    PUERTA DEL SOL                           the Commonwealth of Puerto                                       PO BOX 22592                      the Commonwealth of Puerto
    75 JUNIN APT. 1908                       Rico                                                             SAN JUAN, PR 00931                Rico
    SAN JUAN, PR 00926                       17 BK 03566-LTS                                                                                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
470 LOPEZ AROCHE,                 05/29/18   Employees Retirement           26346                $ 46,941.63* LOPEZ AROCHE,          05/29/18   Employees Retirement           27446          $ 46,941.63*
    RAFAEL                                   System of the Government of                                      RAFAEL                            System of the Government of
    HC 5 BOX 6594                            the Commonwealth of Puerto                                       HC 5 BOX 6594                     the Commonwealth of Puerto
    AGUAS BUENAS, PR                         Rico                                                             AGUAS BUENAS, PR                  Rico
    00703                                    17 BK 03566-LTS                                                  00703                             17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
471 LOPEZ BELEN,                  06/27/18   Employees Retirement           53558                 $ 41,925.96 LOPEZ BELEN,           07/03/18   Employees Retirement           154212          $ 41,925.96
    BENJAMIN                                 System of the Government of                                      BENJAMIN                          System of the Government of
    HC-01                                    the Commonwealth of Puerto                                       HC-01 BOX 4739                    the Commonwealth of Puerto
    BOX 4739                                 Rico                                                             LAJAS, PR 00667-9032              Rico
    LAJAS, PR 00667-9032                     17 BK 03566-LTS                                                                                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 92 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                              Desc:
                                                     Exhibit A - Schedule of Claims - English Page 94 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
472 LOPEZ COLLET,                 06/28/18   Employees Retirement           61282                 $ 75,000.00 LOPEZ COLLET,          06/28/18   Employees Retirement           61647           $ 75,000.00
    ANNETTE                                  System of the Government of                                      ANNETTE                           System of the Government of
    CIPRIANO ARMENTERO                       the Commonwealth of Puerto                                       CIPRIANO ARMENTERO                the Commonwealth of Puerto
    2021 CALLE                               Rico                                                             2021 CALLE                        Rico
    ASOCIACION                               17 BK 03566-LTS                                                  ASOCIACIÓN                        17 BK 03566-LTS
    SAN JUAN, PR 00918                                                                                        SAN JUAN, PR 00936

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
473 LOPEZ COLON, VIVIAN           06/27/18   Employees Retirement           55700                $ 92,617.63* LOPEZ COLON, VIVIAN    06/29/18   Employees Retirement           91105           $ 92,617.63
    T.                                       System of the Government of                                      T.                                System of the Government of
    URB LEVITTOWN                            the Commonwealth of Puerto                                       URB LEVITTOWN                     the Commonwealth of Puerto
    LAKES                                    Rico                                                             LAKES A15                         Rico
    A15                                      17 BK 03566-LTS                                                  BLVD MONROIG 4TA.                 17 BK 03566-LTS
    BLVD MONROIG 4TA.                                                                                         SECC
    SECC                                                                                                      TOA BAJA, PR 00949
    TOA BAJA, PR 00949

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
474 LOPEZ DIAZ, MARILYN           05/29/18   Employees Retirement           43347               $ 107,278.10* LOPEZ DIAZ, MARILYN    05/29/18   Employees Retirement           43528         $ 107,278.10*
    URB. LOS ARBOLES                         System of the Government of                                      URB LOS ARBOLES                   System of the Government of
    C/ MAGA M-35                             the Commonwealth of Puerto                                       229 CALLE MAGA                    the Commonwealth of Puerto
    BUZON-229                                Rico                                                             RIO GRANDE, PR 00745              Rico
    RIO GRANDE, PR 00745                     17 BK 03566-LTS                                                                                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
475 LOPEZ GARCIA, CARLOS          05/22/18   Employees Retirement           13336                $ 38,406.78* LOPEZ GARCIA, CARLOS   05/22/18   Employees Retirement           17798          $ 38,406.78*
    J                                        System of the Government of                                      J                                 System of the Government of
    VILLA FONTANA                            the Commonwealth of Puerto                                       VILLA FONTANA                     the Commonwealth of Puerto
    MR12 VIA 18                              Rico                                                             MR12 VIA 18                       Rico
    CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
476 LOPEZ GARCIA, PEDRO           06/25/18   Employees Retirement           48455                 $ 48,891.09 LOPEZ GARCIA, PEDRO    07/05/18   Employees Retirement           114458         $ 48,891.09*
    A.                                       System of the Government of                                      A.                                System of the Government of
    PO BOX 119                               the Commonwealth of Puerto                                       PO BOX 119                        the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                             JUANA DIAZ, PR 00795              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 93 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                               Desc:
                                                     Exhibit A - Schedule of Claims - English Page 95 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
477 LOPEZ OLIVER,                 06/26/18   Employees Retirement           53659                 $ 75,000.00 LOPEZ OLIVER,           06/26/18   Employees Retirement           42813          $ 75,000.00
    AIDAMARIE                                System of the Government of                                      AIDAMARIE                          System of the Government of
    HC 01 BOX 8255                           the Commonwealth of Puerto                                       HC 01 BOX 8255                     the Commonwealth of Puerto
    HATILLO, PR 00659                        Rico                                                             HATILLO, PR 00659                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
478 LOPEZ ORTIZ, INDIRA           06/15/18   Employees Retirement           42509                 $ 62,890.56 LOPEZ ORTIZ, INDIRA     07/02/18   Employees Retirement           153093         $ 62,890.56
    2Q6 SANS SOUCI                           System of the Government of                                      SAN SOUCI                          System of the Government of
    BAYAMON, PR 00957                        the Commonwealth of Puerto                                       Q6 CALLE 2                         the Commonwealth of Puerto
                                             Rico                                                             BAYAMON, PR 00957                  Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
479 LOPEZ PAGAN, JOSE L           06/27/18   Employees Retirement           56016                 $ 47,184.92 LOPEZ PAGAN, JOSE L     06/27/18   Employees Retirement           57835          $ 47,184.92
    HC02 BOX 9710                            System of the Government of                                      HC02 BOX 9710                      System of the Government of
    GUAYNABO, PR 00971-                      the Commonwealth of Puerto                                       GUAYNABO, PR 00971-                the Commonwealth of Puerto
    9767                                     Rico                                                             9767                               Rico
                                             17 BK 03566-LTS                                                                                     17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
480 LOPEZ REYES, FELIX J.         06/27/18   Employees Retirement           37281                 $ 35,894.08 LOPEZ REYES, FELIX J.   06/27/18   Employees Retirement           55023          $ 35,894.08
    URB RIVIERAS DE                          System of the Government of                                      URB RIVIERAS DE                    System of the Government of
    CUPEY                                    the Commonwealth of Puerto                                       CUPEY                              the Commonwealth of Puerto
    G5 CALLE CORAL                           Rico                                                             G5 CALLE CORAL                     Rico
    SAN JUAN, PR 00926                       17 BK 03566-LTS                                                  SAN JUAN, PR 00926                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
481 LOPEZ RIVERA,                 06/29/18   Employees Retirement           134851                $ 35,991.34 LOPEZ RIVERA,           06/29/18   Employees Retirement           165927         $ 35,991.34
    ALBERTO                                  System of the Government of                                      ALBERTO                            System of the Government of
    AVE EDUARDO CONDE                        the Commonwealth of Puerto                                       AVE EDUARDO CONDE                  the Commonwealth of Puerto
    FINAL                                    Rico                                                             FINAL                              Rico
    410 CALLE TAMARINDO                      17 BK 03566-LTS                                                  410 CALLE TAMARINDO                17 BK 03566-LTS
    SANTURCE, PR 00915                                                                                        SANTURCE, PR 00915

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 94 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 96 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
482 LOPEZ RIVERA,                 06/29/18   Employees Retirement           144839                $ 35,991.34 LOPEZ RIVERA,         06/29/18   Employees Retirement           165927          $ 35,991.34
    ALBERTO                                  System of the Government of                                      ALBERTO                          System of the Government of
    410 CALLE TAMARINDO                      the Commonwealth of Puerto                                       AVE EDUARDO CONDE                the Commonwealth of Puerto
    SAN JUAN, PR 00915                       Rico                                                             FINAL                            Rico
                                             17 BK 03566-LTS                                                  410 CALLE TAMARINDO              17 BK 03566-LTS
                                                                                                              SANTURCE, PR 00915

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
483 LOPEZ RIVERA, JUAN            05/29/18   Employees Retirement           37935                $ 77,005.89* LOPEZ RIVERA, JUAN    06/05/18   Employees Retirement           47874          $ 77,005.89*
    RAMON                                    System of the Government of                                      RAMON                            System of the Government of
    COND. BELLO                              the Commonwealth of Puerto                                       COND. BELLO                      the Commonwealth of Puerto
    HORIZONTE                                Rico                                                             HORIZONTE                        Rico
    500 CALLE MODESTA                        17 BK 03566-LTS                                                  500 CALLE MODESTA                17 BK 03566-LTS
    APT 1010                                                                                                  APT 1010
    SAN JUAN, PR 00924                                                                                        SAN JUAN, PR 00924

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
484 LOPEZ ROSADO,                 05/23/18   Employees Retirement           16816                 $ 40,781.06 LOPEZ ROSADO,         05/23/18   Employees Retirement           37620           $ 40,781.06
    DAGMARILIS                               System of the Government of                                      DAGMARILIS                       System of the Government of
    HC 1 BOX 4723                            the Commonwealth of Puerto                                       HC 01 BOX 4723                   the Commonwealth of Puerto
    RINCON, PR 00677                         Rico                                                             RINCON, PR 00677                 Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
485 LOPEZ VELEZ,                  07/02/18   Employees Retirement           115102             Undetermined* LOPEZ VELEZ,           07/02/18   Employees Retirement           119959       Undetermined*
    BRUNILDA                                 System of the Government of                                     BRUNILDA                          System of the Government of
    HC-01 BOX 4115                           the Commonwealth of Puerto                                      HC 1 BOX 4115                     the Commonwealth of Puerto
    BO. CALLEJONES                           Rico                                                            LARES, PR 00669                   Rico
    LARES, PR 00669                          17 BK 03566-LTS                                                                                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
486 LOPEZ VELEZ,                  07/02/18   Employees Retirement           153218             Undetermined* LOPEZ VELEZ,           07/02/18   Employees Retirement           166296       Undetermined*
    BRUNILDA                                 System of the Government of                                     BRUNILDA                          System of the Government of
    HC 1 BOX 4115                            the Commonwealth of Puerto                                      HC-01 BOX 4115                    the Commonwealth of Puerto
    LARES, PR 00669                          Rico                                                            BO. CALLEJONES                    Rico
                                             17 BK 03566-LTS                                                 LARES, PR 00669                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 95 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                                 Desc:
                                                     Exhibit A - Schedule of Claims - English Page 97 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
487 LOPEZ VELEZ, VIDAL            07/02/18   Employees Retirement           74546              Undetermined* LOPEZ VELEZ, VIDAL         07/02/18   Employees Retirement           124346       Undetermined*
    HC01 BOX 4115                            System of the Government of                                     HC 01 BOX 4115                        System of the Government of
    LARES, PR 00669                          the Commonwealth of Puerto                                      BO.CALLEJONES                         the Commonwealth of Puerto
                                             Rico                                                            CARR.454 HM.3.8                       Rico
                                             17 BK 03566-LTS                                                 LARES, PR 00669                       17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
488 LOPEZ VELEZ, VIDAL            07/02/18   Employees Retirement           75430              Undetermined* LOPEZ VELEZ, VIDAL         07/02/18   Employees Retirement           112530       Undetermined*
    HC 01 BOX 4115                           System of the Government of                                     HC 01 BOX 4115                        System of the Government of
    BO.CALLEJONES                            the Commonwealth of Puerto                                      BOCALLEJONES                          the Commonwealth of Puerto
    CARR.454 HM.3.8                          Rico                                                            LARES, PR 00669                       Rico
    LARES, PR 00669                          17 BK 03566-LTS                                                                                       17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
489 LOPEZ VELEZ, VIDAL            07/02/18   Employees Retirement           102227             Undetermined* LOPEZ VELEZ, VIDAL         07/02/18   Employees Retirement           121978       Undetermined*
    HC01 BOX 4115                            System of the Government of                                     HC 01 BOX 4115                        System of the Government of
    LARES, PR 00669                          the Commonwealth of Puerto                                      BOCALLEJONES                          the Commonwealth of Puerto
                                             Rico                                                            LARES, PR 00669                       Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
490 LOPEZ VELEZ, VIDAL            07/02/18   Employees Retirement           110579             Undetermined* LOPEZ VELEZ, VIDAL         07/02/18   Employees Retirement           112530       Undetermined*
    HC01 BOX 4115                            System of the Government of                                     HC 01 BOX 4115                        System of the Government of
    LARES, PR 00669                          the Commonwealth of Puerto                                      BOCALLEJONES                          the Commonwealth of Puerto
                                             Rico                                                            LARES, PR 00669                       Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
491 LORA CORDERO,                 06/05/18   Employees Retirement           32325                $ 27,483.43* LORA CORDERO,             06/20/18   Employees Retirement           50889          $ 27,483.43*
    MIGUEL                                   System of the Government of                                      MIGUEL                               System of the Government of
    URB CAPARRA                              the Commonwealth of Puerto                                       URB CAPARRA                          the Commonwealth of Puerto
    TERRACE                                  Rico                                                             TERRACE                              Rico
    826 CALLE37 SE                           17 BK 03566-LTS                                                  826 CALLE37 SE                       17 BK 03566-LTS
    SANJUAN, PR 00921-2236                                                                                    SAN JUAN, PR 00921-2236

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 96 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                             Desc:
                                                     Exhibit A - Schedule of Claims - English Page 98 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
492 LORENZO AGRON,                04/24/18   Employees Retirement            8216              Undetermined* LORENZO AGRON,         04/24/18   Employees Retirement           8305         Undetermined*
    BRENDA L                                 System of the Government of                                     BRENDA L                          System of the Government of
    RR 1 BOX 1559                            the Commonwealth of Puerto                                      RR 1 BOX 1559                     the Commonwealth of Puerto
    ANASCO, PR 00610                         Rico                                                            ANASCO, PR 00610                  Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
493 LORENZO CORDERO,              07/16/18   Employees Retirement           119952                $ 75,000.00 LORENZO CORDERO,      07/16/18   Employees Retirement           130340          $ 75,000.00
    CARMEN                                   System of the Government of                                      CARMEN                           System of the Government of
    URB LOMAS VERDES                         the Commonwealth of Puerto                                       URB LOMAS VERDES                 the Commonwealth of Puerto
    310 CALLE JADE                           Rico                                                             310 CALLE JADE                   Rico
    MOCA, PR 00676                           17 BK 03566-LTS                                                  MOCA, PR 00676                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
494 LOZADA ORTIZ, NILDA           06/07/18   Employees Retirement           48254                 $ 14,214.00 LOZADA ORTIZ, NILDA   06/07/18   Employees Retirement           49535          $ 14,214.00*
    BOX 3444 HC-02                           System of the Government of                                      BOX 3444 HC-02                   System of the Government of
    BO QUEBRADA ARENAS                       the Commonwealth of Puerto                                       BO QUEBRADA ARENAS               the Commonwealth of Puerto
    MAUNABO, PR 00707                        Rico                                                             MAUNABO, PR 00707                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
495 LUCIANO PEREZ,                07/03/18   Employees Retirement           150299             Undetermined* LUCIANO PEREZ,         07/03/18   Employees Retirement           154552       Undetermined*
    EDGARDO                                  System of the Government of                                     EDGARDO                           System of the Government of
    HC 5 - BOX 49051                         the Commonwealth of Puerto                                      HC 5 BOX 49051                    the Commonwealth of Puerto
    VEGA BAJA, PR 00693                      Rico                                                            VEGA BAJA, PR 00693               Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
496 LUGO CASTRO, MARIO            03/14/18   Employees Retirement            2254              Undetermined* LUGO CASTRO, MARIO     03/14/18   Employees Retirement           2845         Undetermined*
    28-22 CALLE 6                            System of the Government of                                     28-22 CALLE 6                     System of the Government of
    CAROLINA, PR 00985                       the Commonwealth of Puerto                                      CAROLINA, PR 00985                the Commonwealth of Puerto
                                             Rico                                                                                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
497 LUGO RAMIREZ,                 07/06/18   Employees Retirement           145107                $ 51,000.00 LUGO RAMIREZ,         07/06/18   Employees Retirement           145914          $ 51,000.00
    DEBORAH                                  System of the Government of                                      DEBORAH                          System of the Government of
    HC 73 BOX 4866                           the Commonwealth of Puerto                                       HC 73 BOX 4866                   the Commonwealth of Puerto
    NARANJITO, PR 00719                      Rico                                                             NARANJITO, PR 00719              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 97 of 98
                                       Case:17-03283-LTS Doc#:6280-1 Filed:04/15/19 Entered:04/15/19 21:29:34                                         Desc:
                                                     Exhibit A - Schedule of Claims - English Page 99 of 99

                                                                              Thirty-First Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                             REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                  DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT               NAME         FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
498 LUGO SANTIAGO,                06/26/18   Employees Retirement           93954              Undetermined* LUGO SANTIAGO,     06/26/18   Employees Retirement           167185       Undetermined*
    CONSUELO                                 System of the Government of                                     CONSUELO                      System of the Government of
    TT - 23 CALLE 46                         the Commonwealth of Puerto                                      TT-23 CALLE 46                the Commonwealth of Puerto
    URB. JARDINES DEL                        Rico                                                            URB JARDINES DEL              Rico
    CARIBE                                   17 BK 03566-LTS                                                 CARIBE                        17 BK 03566-LTS
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
499 LUGO SANTIAGO,                06/26/18   Employees Retirement           105897             Undetermined* LUGO SANTIAGO,     06/26/18   Employees Retirement           167185       Undetermined*
    CONSUELO                                 System of the Government of                                     CONSUELO                      System of the Government of
    T T - 23 CALLE 46 URB                    the Commonwealth of Puerto                                      TT-23 CALLE 46                the Commonwealth of Puerto
    JARDINES DEL CARIBE                      Rico                                                            URB JARDINES DEL              Rico
    PONCE, PR 00728                          17 BK 03566-LTS                                                 CARIBE                        17 BK 03566-LTS
                                                                                                             PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
500 LUGO SANTIAGO,                06/26/18   Employees Retirement           128101             Undetermined* LUGO SANTIAGO,     06/26/18   Employees Retirement           167185       Undetermined*
    CONSUELO                                 System of the Government of                                     CONSUELO                      System of the Government of
    TT-23 CALLE 46                           the Commonwealth of Puerto                                      TT-23 CALLE 46                the Commonwealth of Puerto
    URB JARDINES DEL                         Rico                                                            URB JARDINES DEL              Rico
    CARIBE                                   17 BK 03566-LTS                                                 CARIBE                        17 BK 03566-LTS
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 98 of 98
